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      McCandless Group LLC and Nicholas
 7    McCandless
 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11    MCCANDLESS GROUP LLC,
                                               Case No.: 2:21-cv-02069
12
            Plaintiff,
13    v.                                       Hon. David O. Carter
14
15    THE COY COLLECTIVE, et al.,
                                               PROPOSED FOURTH AMENDED
16                                             COMPLAINT
                     Defendants.
17
18                                                 JURY TRIAL DEMANDED
      THE COY COLLECTIVE, et al.,
19
20          Counterclaimants,
21
      v.
22
23    MCCANDLESS GROUP LLC and
24    NICHOLAS MCCANDLESS,

25
            Counter-Defendants.
26
27
28


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 1          Plaintiff McCandless Group, LLC (“MG”) brings this action against The Coy
 2    Collective, Inc. (“Coy”), Jessica Bartlett (“Bartlett”), Corey Lewis (“Lewis”), Robert
 3    Hankins (“Hankins”), Thomas Drew (“Drew”), TMW Labs Inc. (“TMW Labs”) a
 4    Texas corporation, Matthew Silk (“Silk”), The Sheth Sangreal Foundation
 5    (“Sangreal”) a Texas 501(c)3 corporation, Andrew Geller (“Geller”), Juan Pablo
 6    Lopez (“Lopez”) in his individual capacity as Director of TMW Labs Inc., and DOES
 7    1-10 (all together, the “Defendants”) and alleges as follows:
 8                               NATURE OF THE ACTION
 9          1.     MG is a victim of business partners who gained Plaintiff’s trust before
10    stabbing it in the back. Certain Defendants (Coy, Bartlett, Lewis and Drew) entered
11    into a business relationship with MG, signing nondisclosure agreements and/or
12    confidentiality clauses, ostensibly to cooperate and grow their businesses together.
13    However, this was never Defendants’ plan, as they always had the intent of learning
14    about MG’s technology, business model, processes, techniques, and strategies in
15    order to steal them and use them for themselves. Defendants took MG’s methods
16    and information obtained through their false pretense of cooperation and instead
17    started their own competing business, Coy, to subsume MG. Later, Defendants Coy,
18    Bartlett, Lewis and Drew, acting in concert, transferred Plaintiff’s technology trade
19    secrets to Defendants TMW Labs, which is owned, operated and/or controlled by
20    Defendants Silk, Geller, Sangreal and Lopez all of whom were acting in concert to
21    deprive Plaintiff of the benefit of his trade secrets causing millions of dollars in
22    economic damage.
23                                          PARTIES
24          2.     Plaintiff McCandless Group, LLC is a limited liability company
25    organized under the laws of Florida with its principal place of business in Miami,
26    Florida. McCandless Group, LLC creates individual websites for models and
27    influencers seeking to monetize their social media following. McCandless Group,
28    LLC creates the websites for its clients and assists them with the technical operations


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 1    of their website. In exchange, McCandless Group, LLC receives a portion of the
 2    revenue that their clients’ sites collect each month.
 3          3.     Defendant The Coy Collective, Inc. is a corporation organized under the
 4    laws of Delaware. Plaintiff is informed and believes that The Coy Collective, Inc. has
 5    its principal place of business in Texas. The Coy Collective, Inc. originally started as
 6    a purported partner with McCandless Group, LLC and utilizes the same website
 7    design, technologies, and structure pioneered by McCandless Group, LLC. The Coy
 8    Collective, Inc. began operating as a direct competitor to McCandless Group, LLC,
 9    hosting websites for models and social media influencers and in exchange receives a
10    portion of each client’s monthly revenue. It was recently determined that The Coy
11    Collective Inc. transferred its sole asset, the technological design and development
12    which is or is nearly a mirror-image of Plaintiff’s trade secret, to Defendant TMW
13    Labs which intends to conduct the same operation and/or business that would
14    compete directly with Plaintiff.
15          4.     Defendant Jessica Bartlett is an individual. Plaintiff is informed and
16    believes that Jessica Bartlett is a resident of the County of Los Angeles in the state of
17    California and is the CEO and/or President of The Coy Collective, Inc.
18          5.     Defendant Corey Lewis is an individual. Plaintiff is informed and
19    believes that Corey Lewis is a resident of the state of Texas and is acting as an agent
20    for The Coy Collective, Inc.
21          6.     Defendant Robert Hankins is an individual. Plaintiff is informed and
22    believes that Robert Hankins is a resident of the state of California and is acting as
23    an agent for The Coy Collective, Inc.
24          7.     Defendant Thomas Drew is an individual. Plaintiff is informed and
25    believes that Thomas Drew is a resident of the state of New York and is acting as an
26    agent for The Coy Collective, Inc.
27          8.     Defendant Juan Pablo Lopez is an individual. Plaintiff is informed and
28    believes that Juan Lopez is a resident of the state of Texas and is acting as the Director


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 1    for TMW Labs Inc.
 2          9.     Defendant TMW Labs Inc., is a Texas for-profit corporation and was
 3    organized on information and belief on January 10, 2023 by Defendant Matthew Silk,
 4    who is also the current Chief Financial Officer of The Coy Collective Inc.
 5          10.    Defendant Sheth Sangreal Foundation is a Texas 501(c)3 domestic
 6    nonprofit corporation, that identifies Defendant Andrew Geller as one of its
 7    Directors. On information and belief, it was organized on October 27, 2011.
 8          11.    Defendant Andrew Geller and individual. Plaintiff is informed and
 9    believes that Andrew Geller is a resident of the state of Texas and is a Director of
10    The Sheth Sangreal Foundation is an investor in The Coy Collective.
11          12.    Defendant Matthew Silk is an independent investor and was installed as
12    the Chief Executive Officer of The Coy Collective, on information and belief,
13    sometime in or around January 2022. Silk is also believed to own 30-40% interest in
14    Defendant TMW Labs Inc., organized in Texas on or about January 10, 2023.
15          13.    On information and belief, at all times mentioned herein, each defendant
16    was the agent, employee, representative, partner, subsidiary, affiliate, joint venturer,
17    or alter-ego of each of the other defendants, and in doing the things herein alleged,
18    was acting, at least in part, within the course and scope of such relationship and with
19    the knowledge, authorization, consent, and ratification of each of the other defendant.
20    Each and every defendant was acting as a single enterprise, with a single purpose,
21    such that any corporate veil is non-existent.
22          14.    Defendants and each of them worked in concert to conspire against
23    Plaintiff in order to deprive it of the value and benefit of its trade secrets at all times
24    mentioned herein.
25          15.    The true names and capacities of all defendants sued herein as Does 1
26    through 10 (the “Doe Defendants”) are unknown to Plaintiff, who therefore sues such
27    defendants by fictitious names. If necessary, Plaintiff will seek leave of Court to
28    amend this Complaint to state their true names and capacities when the same have


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 1    been ascertained. Plaintiff is informed and believes, and on that basis alleges, that the
 2    Doe Defendants direct, control, ratify, participate in, materially contribute to, profit
 3    from, induce, encourage, facilitate, and/or are the moving force behind the violations
 4    of Plaintiff’s copyrights or are otherwise liable to Plaintiff as a result of their
 5    participation in all or some of the acts set forth hereinafter. Plaintiff is further
 6    informed and believes and therefore alleges that each of the Doe Defendants was the
 7    agent of at least one of the named defendants, and in doing the things alleged in this
 8    Complaint was acting within the course and scope of such agency, and/or acted in
 9    concert with at least one of the named defendants and is jointly and severally liable
10    to Plaintiff with said named defendants.
11                              JURISDICTION AND VENUE
12          16.    This Court has subject matter jurisdiction over this action as a federal
13    question under 28 U.S.C. § 1331. This Court also has jurisdiction over the state law
14    claims pursuant to ancillary, pendant, and supplemental jurisdiction, including under
15    28 U.S.C. § 1367. This Court also has complete jurisdiction over all state claims given
16    diversity jurisdiction pursuant to 28 U.S.C. § 1332 because each defendant is
17    domiciled in a different state from the plaintiff and the amount in controversy exceeds
18    $75,000.
19          17.    This Court has personal jurisdiction over Jessica Bartlett because she is
20    domiciled in California. Jessica Bartlett also entered into at least two contracts with
21    Plaintiff when both Plaintiff and Jessica Bartlett were domiciled in California. These
22    two contracts contain California choice of law provisions. She is also an executive at
23    Coy, and she is operating multiple websites targeting residents of California. These
24    websites involve paid monthly subscriptions, and many of the subscribers are
25    believed to be California residents. These websites also contain interactive elements,
26    such as chat features.
27          18.    This Court has personal jurisdiction over The Coy Collective, Inc.
28    because it operates multiple websites targeting residents of California. These


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 1    websites involve paid monthly subscriptions, and many of the subscribers are
 2    believed to be California residents. These websites also contain interactive elements,
 3    such as chat features.
 4          19.    This Court has personal jurisdiction over Corey Lewis because he has
 5    contacts with California and has purposefully availed himself of California law.
 6    Corey Lewis entered into at least one contract with Plaintiff when Plaintiff was
 7    domiciled in California. This contract contains a California choice of law provision.
 8    In addition, Corey Lewis is, or was at all relevant times, either an executive, part
 9    owner, employee, or agent of Coy, and is involved in its business running websites,
10    and his tortious activities complained about were, in part, directly in relation to the
11    creation of these websites. These websites target residents of California and involve
12    paid monthly subscriptions, and many of the subscribers are believed to be California
13    residents. These websites also contain interactive elements, such as chat features.
14          20.    This Court has personal jurisdiction over Robert Hankins because he is
15    domiciled in Los Angeles, California. Robert Hankins also entered into at least one
16    contract with Plaintiff when both Plaintiff and Robert Hankins were domiciled in
17    California. The contract contains a California choice of law provision. In addition,
18    Robert Hankins is, or was at all relevant times, either an executive, part owner,
19    employee, or agent of Coy, and is involved in its business running websites, and his
20    tortious activities complained about below were, in part, directly in relation to the
21    creation of these websites. These websites target residents of California and involve
22    paid monthly subscriptions, and many of the subscribers are believed to be California
23    residents. These websites also contain interactive elements, such as chat features.
24          21.    This Court has personal jurisdiction over Thomas Drew because he has
25    contacts with California and has purposefully availed himself of California law.
26    Thomas Drew entered into at least one contract with Plaintiff when Plaintiff was
27    domiciled in California. This contract contains a California choice of law provision.
28    In addition, Thomas Drew is, or was at all relevant times, either an executive, part


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 1    owner, employee, or agent of Coy, and is involved in its business running websites,
 2    and his tortious activities complained about below were, in part, directly in relation
 3    to the creation of these websites. These websites target residents of California and
 4    involve paid monthly subscriptions, and many of the subscribers are believed to be
 5    California residents. These websites also contain interactive elements, such as chat
 6    features.
 7          22.    This Court has personal jurisdiction over Juan Pablo Lopez because he
 8    has contacts with California and has purposefully availed himself of California law.
 9    Juan Pablo Lopez, as Director of TMW Labs, Inc., entered into at least one contract
10    with The Coy Collective when The Coy Collective was operating its business and
11    availing itself to the jurisdiction of California. In addition, Juan Pablo Lopez is, or
12    was at all relevant times, either an executive, officer, director or part owner,
13    employee, or agent of Coy, and is involved in its business including but not limited
14    to the receipt of Coy’s misappropriated assets, and his tortious activities complained
15    about throughout were, in part, directly in relation to the creation of these websites
16    and the conspiracy to deprive Plaintiff of the benefit of its trade secrets. The Coy
17    Collective’s websites target residents of California and involve paid monthly
18    subscriptions, and many of the subscribers are believed to be California residents.
19    These websites also contain interactive elements, such as chat features and the
20    technology used for those website targeted towards California residents.
21          23.    This Court has personal jurisdiction over TMW Labs, Inc. because it
22    received the transfer of misappropriated assets from The Coy Collective which
23    operates multiple websites targeting residents of California. These websites involve
24    paid monthly subscriptions, and many of the subscribers are believed to be California
25    residents. These websites also contain interactive elements, such as chat features.
26    Furthermore, TMW Labs, Inc. is a shell corporation owned, operated and/or
27    controlled by Defendant Matthew Silk who is the current Chief Executive Officer of
28    The Coy Collective and who owes certain fiduciary duties governed under the laws


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 1    of the state of California.
 2           24.    This Court has personal jurisdiction over The Sheth Sangreal
 3    Foundation because it is an investor in, and the agent of, The Coy Collective which
 4    operates multiple websites targeting residents of California. These websites involve
 5    paid monthly subscriptions, and many of the subscribers are believed to be California
 6    residents. These websites also contain interactive elements, such as chat features.
 7    Furthermore, The Sheth Sangreal Foundation is a shell corporation owned, operated
 8    and/or controlled by Defendants Matthew Silk who is the current Chief Executive
 9    Officer of The Coy Collective and/or Andrew Geller and who owes certain fiduciary
10    duties governed under the laws of the state of California and who was the direct
11    recipient of Plaintiff’s trade secrets.
12           25.    This Court has personal jurisdiction over Andrew Geller because he has
13    contacts with California and has purposefully availed himself of California law.
14    Andrew Geller, as Director of The Sheth Sangreal Foundation, was at all relevant
15    times, either an owner, part owner, or agent of Coy, and is involved in its business
16    including but not limited to the transfer and receipt of Coy’s misappropriated assets,
17    and his tortious activities complained about throughout were, in part, directly in
18    relation to the creation of these websites and the conspiracy to deprive Plaintiff of the
19    benefit of its trade secrets. The Coy Collective’s websites target residents of
20    California and involve paid monthly subscriptions, and many of the subscribers are
21    believed to be California residents. These websites also contain interactive elements,
22    such as chat features and the technology used for those websites targeted towards
23    California residents.
24           26.    This Court has personal jurisdiction over Matthew Silk because he has
25    contacts with California and has purposefully availed himself of California law.
26    Matthew Silk, as Chief Executive Officer of The Coy Collective and owner/operator
27    of TMW Labs Inc., was at all relevant times, either an executive, officer, director,
28    owner, part owner, or agent of Coy and TMW Labs Inc., and is involved in its


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 1    business including but not limited to the transfer and receipt of Coy’s misappropriated
 2    assets, and his tortious activities complained about throughout were, in part, directly
 3    in relation to the creation of these websites and the conspiracy to deprive Plaintiff of
 4    the benefit of its trade secrets. The Coy Collective’s websites target residents of
 5    California and involve paid monthly subscriptions, and many of the subscribers are
 6    believed to be California residents. These websites also contain interactive elements,
 7    such as chat features and the technology used for those websites targeted towards
 8    California residents.
 9           27.    Venue in this judicial district is proper under 28 U.S.C. § 1391 because
10    a substantial part of the events giving rise to the underlying claims occurred in the
11    Central District of California, and the codefendants do not all reside in the same state.
12    Many of the contracts underlying this action were formed in this district while
13    Plaintiff was domiciled in this district. A substantial part of the underlying tortious
14    activity occurred in this district and its effects were felt in this district. Additionally,
15    at least one defendant is domiciled in the Central District of California.
16                          COMMON FACTUAL ALLEGATIONS
17    I.     MG’s Business
18           28.    MG was started by Nick McCandless (“Nick”) on June 23, 2014. 1 MG
19    is an innovative technology company that creates individually owned and operated
20    websites for models and social media influencers who wish to monetize their online
21    following. MG builds and hosts websites for its clients, who in turn create and provide
22    exclusive content to subscribers who pay for a monthly subscription to the individual
23    client’s website. These subscribers can then also purchase specific premium content,
24    such as photos and videos. In exchange for creating and running their clients’
25    websites, MG receives a percentage of each client’s monthly website revenue.
26
27
      1
           MG initially began as a California LLC and converted to a Florida LLC on
28
      May 18, 2020.

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 1           29.    MG’s clients run their own businesses, and set their own prices,
 2     including the monthly subscription fee for their websites. MG developed and
 3     structured the technological infrastructure to handle the billing and subscription
 4     aspects of the Clients’ websites, and it created an easy interface for its clients to be
 5     able to upload the content they create to their websites.
 6           30.    MG’s market differentiator is its ability to create individual custom
 7     websites for social media influencers and models, thereby allowing them to run their
 8     own business and promote their own brand. Competing companies, such as
 9     OnlyFans, operate under a particular company’s brand and merely have a sub-page
10     under the main overarching website and company brand. By contrast, MG’s clients
11     get to have their own URL of their choosing, set their own pricing and run their own
12     business as they see fit.2
13           31.    MG consists of a group of skilled and experienced technology experts
14     who have spent years honing their craft. The team spent over a year developing the
15     technology, the infrastructure, the business model and the processes involved that
16     make MG’s current service successful. Like many startups sailing in uncharted
17     waters, MG experienced challenges and threats to its survival. Unlike many startups,
18     MG learned and adapted.
19           32.    MG’s valuable confidential business information and trade secrets
20     include know-how and negative know-how regarding the design and structure of
21     individual websites and the technology behind those websites (the “technology
22     stack”), MG’s cost and accounting structure, MG’s revenue model, as well as
23     compilations, methods, techniques and processes with regard to the information
24
25
       2
               In addition to the unique URLs provided by MG, unlike OnlyFans, MG uses
       its own technology, customizes its websites based directly upon feedback and
26     requests by its clients, monitors and protects client content, avoids any particular
27     brand association or stigma and coaches and consults with its clients in an effort to
       help them maximize their revenue. OnlyFans, on the other hand, does nothing to
28
       assist its clients.

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 1     described above.
 2           33.    MG takes reasonable precautions to maintain the secrecy and
 3     confidentiality of its proprietary business information and trade secrets. For example,
 4     MG has all its employees and contractors sign agreements for non-disclosure, non-
 5     use, and non-competition. MG also ensures that external software developers have
 6     internal confidentiality policies 3 and utilizes data security measures, such as hosting
 7     all of its websites using secure socket layer (“SSL”), employing the latest security
 8     standards on all of its websites using Amazon Web Services (“AWS”), encrypting all
 9     source code, restricting network access using two-factor authentication, allowing
10     only approved internet protocol (“IP”) addresses access to database information and
11     restricting data to only those who need access to that data for their particular job.
12     Furthermore, websites created by MG disable the right click (“view source” feature)
13     so as to protect as much code as possible. Beyond that, the HTML code itself is
14     created dynamically by servers based on things such as the visitor’s unique ID. This
15     means that even if someone were able to view the HTML code, that would not
16     provide the information necessary to recreate a website like MG’s or develop a
17     technology platform similar to MG’s. Thus, even though MG creates and operates
18     public-facing websites, MG has intentionally taken more steps than most companies
19     in order to protect its websites, source code and other confidential information and
20     trade secrets.
21           34.    Each of MG’s clients enters into a contract with MG called a Website
22     Development Agreement. The agreement spells out the responsibilities of both
23     parties and includes robust confidentiality provisions.
24           35.    MG’s technology and business model has made it popular with
25
26     3
             For example, one developer MG frequently uses has an explicit policy whereby
27     individuals may not disclose even the identity of its client, let alone confidential
       information, and the importance of confidentiality is discussed at least once per
28
       month.

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 1     established social media influencers and models who already have a large online
 2     presence and wide name recognition and who want to continue to grow their own
 3     brand.
 4     II.      The Bartlett WDA
 5              36.   In late 2019, MG approached Jessica Bartlett as a potential client.
 6     Bartlett already had a large social media following, and MG offered her the chance
 7     to create her own website and monetize her social media brand.
 8              37.   Bartlett entered into a Website Development Agreement with MG on
 9     October 27, 2019 (“Bartlett WDA”). Bartlett provided a signed copy to Nick on the
10     same day. The Bartlett WDA is attached and incorporated herein as Exhibit A.
11     III.     Bartlett’s Partnership Proposal
12              38.   On May 6, 2020, Bartlett sent a text message to Nick with a business
13     proposal for MG. She had an idea to create a new company that would provide
14     management and other services to models, such as arranging for professional photo
15     shoots and video shoots, providing assistance with social media marketing, and brand
16     management. 4 She wanted to partner with MG. Through that partnership, MG was
17     to: (1) help Bartlett learn the ropes of running website businesses, and (2) provide its
18     core services to the partnership, such as supplying the websites, technology, payment
19     processing, technical support, and protecting the exclusivity of subscribed content.
20     According to Bartlett, she already had investors lined up and business partners who
21     were excited about the prospect of working with MG and having MG serve as the
22     technology developer.
23              39.   Keenly aware of the benefits and commercial value of MG’s business,
24     Bartlett pretended to be interested in a partnership with MG, including a license to
25     MG’s technology, to gain access to highly valuable information and technical
26     assistance from Nick and MG that otherwise would not have been available to her.
27
28     4
                This business eventually was formed as The Coy Collective, Inc.

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 1     Yet her representations that she intended to partner up with MG were intentionally
 2     false, and so were the conversations to the same effect with her and her associates
 3     that followed. Bartlett and her cronies were there to pump MG for information, learn
 4     everything they could and then turn around and stub MG in the back by using its own
 5     information against it. And just how quickly the truth came out later shows that
 6     Defendants never intended to do anything they represented they intended to do at the
 7     time the representations were made to MG.
 8           40.      When Bartlett first approached Nick about her business idea for what
 9     would eventually become Coy, she did not present Coy as a technology company or
10     ultimately a competitor to MG; rather, she indicated that it would be a “subscription-
11     based project,” that she wanted MG to develop a website based upon her idea and
12     that she did not want to share a percentage of the revenue and, instead, wanted to pay
13     a flat fee each month.
14           41.      Due to the nature of websites and web traffic, costs are highly variable
15     for hosting and operating websites. This means that flat fees are not well suited for
16     the services Bartlett wanted MG to provide for their partnership. Bartlett specifically
17     stated that she wanted the same features as her own website, but that she expected
18     much higher web traffic than her own website. As web traffic increases, the costs
19     involved also increase. This would mean that the more successful the website
20     became, the less MG would profit. Nick explained that a flat fee would therefore not
21     make sense for MG but reiterated that he was open to reaching a mutually beneficial
22     arrangement.
23           42.      MG perceived Bartlett’s offer as an opportunity to expand the business
24     and its revenue base, and it appeared by all accounts to be a mutually beneficial
25     partnership.
26           43.      On May 9, 2020, Bartlett arranged for a phone call with Corey Lewis so
27     that she could introduce Lewis to Nick. Bartlett described Lewis as one of her main
28     business partners. During the call, Nick marketed his business by telling them what


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 1     services he would be able to provide them if they worked together.
 2           44.    On May 16, 2020, Nick had another call with Lewis and Bartlett, in
 3     which they all agreed to a basic set of terms for the proposed partnership. These terms
 4     were further clarified over text messages exchanged between Nick and Lewis over
 5     the next few days. During these exchanges, Bartlett and Lewis repeatedly explained
 6     that they wanted to provide model management services for aspiring models and
 7     social influencers and sought to partner with MG because MG was established and
 8     had the industry “figured out.” Lewis and Bartlett wanted to have MG create websites
 9     for these aspiring models and influencers, similar to what MG already did for its own
10     clients. However, the joint business, as proposed by Bartlett and Lewis, was mostly
11     focused on providing additional services aside from the technology.
12           45.    Shortly after the May 16 phone call, Bartlett and Lewis told Nick that
13     they wanted to use MG as their technology partner. Indeed, and from the outset, MG,
14     Bartlett and Lewis intended their relationship to be that of partners, they referred to
15     each other as partners in their communications, and Lewis introduced Nick as his
16     “technology partner” to third parties. This held true when other partners who had
17     prior business relations with Bartlett and Lewis joined the company; they
18     intentionally entered into the same partnership for the same business venture
19     designed by MG, Bartlett, and Lewis. And while Bartlett had at first tried to get MG
20     on board with only a flat monthly fee, as set forth above, MG made it clear that such
21     an arrangement would not be acceptable. Ultimately, MG accepted a share of revenue
22     that scaled with the success of the new venture.
23           46.    Based on their descriptions and repeated representations, MG and Nick
24     understood that their company (Coy) would be more of a management agency than
25     anything else and would target different clients than MG. The proposed joint business
26     would be centered on the idea of helping to develop aspiring social media influencers
27     and aspiring models by providing opportunities to improve content creation and
28     individual recognition. In other words, the new company would help its clients with


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 1     the content creation side of things, whereas MG would develop and operate the
 2     technology, just like it already did with MG’s own clients.
 3            47.    Given that Bartlett and Lewis had a clear and concrete plan for a future
 4     joint business but had not yet formed a company, MG began doing business with
 5     Bartlett and her other business partners and investors directly in anticipation of their
 6     future creation of a business entity to fulfill their plan.
 7     IV.    Defendants’ NDAs with MG
 8            48.    From the inception of the parties’ collaboration, it became clear that, in
 9     order for the partnership to work, Nick and MG would need to share MG’s extremely
10     valuable trade secrets and other protected information with Bartlett and Lewis, as
11     well as Bartlett’s other business partners, Robert Hankins and Thomas Drew.
12           49.     As a result, to protect MG’s confidential and trade secret information,
13     Bartlett and her business partners were required to sign non-disclosure agreements
14     (“NDAs”) with MG, guaranteeing that they would keep this sensitive information in
15     confidence and would not use it for any other purpose but the proposed partnership,
16     thus promising never to use it to compete directly with MG.
17            50.    Bartlett signed an NDA with MG on May 21, 2020 and provided a copy
18     to Nick on the same day. This NDA is attached and incorporated herein as Exhibit
19     B.
20            51.    Several of Bartlett’s business partners also signed MG’s NDAs on May
21     21, 2020 and provided them to Nick on the same day. This included Lewis, Hankins,
22     and Drew. Their NDAs are attached and incorporated herein as Exhibits C, D, and
23     E, respectively.
24           52.    After the NDAs were signed, MG provided Bartlett, Lewis, Hankins and
25     Drew its confidential and trade secret information, consisting of:
26                  a. The design and structure of individual websites and the technology
27                        behind those websites, including the technologies, software, servers,
28                        vendors, and overall infrastructure of MG’s technology platform


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 1                     (hereinafter sometimes referred to as MG’s “technology stack”);
 2                  b. Details regarding MG’s cost and accounting structure;
 3                  c. Details regarding MG’s revenue model;
 4                  d. Compilations, methods, techniques and processes with regard to the
 5                     information described above; and
 6                  e. Know-how and negative know-how regarding the categories set forth
 7                     above, as well as such know-how and negative know-how as to setting
 8                     up, running and succeeding as a company such as MG.
 9     Said information is herein referred to collectively as “confidential and trade secret
10     information.”
11     V.    MG Shares Confidential and Trade Secret Information Under the NDAs
12           53.    After the NDAs were signed, MG began sharing its confidential and
13     trade secret information with Bartlett and her associates, Lewis, Hankins, and Drew.
14     MG’s understanding was that they were all engaging in a mutually beneficial
15     partnership, which, in addition to the NDAs, gave MG and Nick comfort to disclose
16     the necessary information and allow the partnership to quickly build its business from
17     scratch so that it would soon become a productive venture. This occurred over the
18     next several months in various emails, text message exchanges, and phone calls.
19           54.    MG participated in all the aspects of getting the business going,
20     including recommending target clients, providing the technology and structuring, as
21     well as conducting interviews and making hiring decisions on behalf of the venture.
22     Under the parties’ agreement, MG would share in the profits by earning a portion of
23     each subscriber’s monthly fee for each website, as well as a portion of each individual
24     sale of premium content. Because MG had a share of the profits involved, it had
25     every incentive to cooperate fully and ensure its success.
26           A.     Key Components of MG’s Confidential Technology Disclosures
27           55.    MG has developed proprietary software and created a unique overall
28     technological infrastructure. Products and services from outside vendors integrate


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 1     seamlessly with MG’s own software in order to provide a single service to MG’s
 2     clients. MG operates behind the scenes, making technological and procedural
 3     adjustments as necessary without interfering with each client’s business operations
 4     and thus their ability to generate content and revenue. When certain vendors,
 5     products, processes, and systems are determined by MG to improve MG’s own
 6     product and service offering, MG incorporates those, making the whole greater than
 7     the sum of its parts.
 8           56.    MG handles many of the technical and business operations for its clients,
 9     including the initial website development, monthly billing, accounting, and
10     technology support. MG also ensures that content is accessible only to paying
11     subscribers and issues takedown notices to any website found improperly reposting
12     a client’s copyrighted content.
13           57.    One of MG’s services that is unique among content subscription
14     providers is MG’s copyright enforcement and takedown service. MG was the first in
15     the industry to offer that service, and, upon information and belief, COY is MG’s
16     only competitor to offer a similar service. The fact that MG offers this service is
17     publicly facing, but the fact that it is a key driver of success and one of the primary
18     reasons clients hire MG is not widely known. Upon information and belief, Coy
19     utilizes MG’s copyright enforcement and takedown process, which it learned from
20     MG when Bartlett and her associates, Lewis, Hankins, and Drew, feigned an intent
21     to partner up with MG in a joint venture and lured MG into sharing its confidential
22     and trade secret information with Defendants based on that feigned intent.
23           58.    MG also invented and utilizes a dynamic watermarking feature. All
24     content posted on MG’s websites is displayed with a dynamic watermark, which
25     overlays the unique user ID number for each subscriber on photos displayed on that
26     subscriber’s device. If content is leaked and wrongfully posted on other websites, that
27     ID number can be used to identify the individual subscriber responsible. That
28     subscriber is then banned from the website. Nick first told Bartlett about this


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 1     technology while it was still in development. While Bartlett was excited about the
 2     idea, she did not do anything to contribute to its creation or development. Attached
 3     hereto as Exhibit F are true and correct copies of text messages between Nick and
 4     Bartlett discussing the watermarking feature while it was still being developed. Also
 5     attached hereto as Exhibit G are true and correct copies of text messages between
 6     Nick and Bartlett, in which Bartlett asked Nick how leaked content is handled. Upon
 7     information and belief, prior to Coy, MG was the only company to utilize this
 8     watermarking technology. Coy now openly boasts about its ability to handle
 9     “legalities associated with leaked content” and includes “copyright protection and
10     leaked content removal” on its website (thecoy.com/about) as one of the services Coy
11     provides.
12           59.   Lewis, in particular, wanted to know all about MG’s technology stack.
13     There was no indicator that Coy was going to copy or recreate MG’s platform and
14     infrastructure. Therefore, after the NDAs were signed, Nick emailed a PDF
15     containing MG’s technology stack to Lewis. With that information, Coy obtained a
16     list of components necessary to recreate MG’s technology platform. A true and
17     correct copy of the email to Lewis containing the attachment is attached as Exhibit
18     H. A true and correct copy of the technology PDF is attached hereto as Exhibit I.5
19           60.   Defendants also solicited and received information from MG regarding
20     automating some parts of its clients’ websites. Nick explained to Lewis some of the
21     features that could be automated and what the various costs would be. He also
22     explained how much time it would take to have someone manually do some of the
23     tasks that Lewis and his clients may not want to perform.
24           61.   MG spent over a year developing its technology and refining its overall
25
26     5
             While the design of websites developed by MG is viewable by the public
27     subject to restrictions placed by MG, MG provided Defendants with its confidential
       technology stack, which breaks down all of the technologies MG uses that are not
28
       accessible by the public and thus not generally known to the public or the industry.

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 1     structure and processes. MG had also made mistakes along the way, necessitating
 2     expensive and time-consuming changes in the way MG conducted its business. In
 3     an instant, all of that immediately went to Bartlett and the other individual Defendants
 4     with an expectation and understanding that the parties would be working together and
 5     mutually benefit from MG’s collective blood, sweat, and tears.
 6           62.    MG provided information about its technology to Defendants because
 7     Defendants claimed their investors required details of the technology that would be
 8     implemented in order to follow through with their investments in the proposed
 9     partnership with MG.
10           63.    Upon information and belief, Defendants utilized MG’s technology
11     stack in building their own websites for Coy’s clients and continue to use it to this
12     day to operate Coy. The websites (and technology behind those websites) could not
13     have been replicated in the time it took Coy to build their sites following the
14     termination of Coy’s partnership with MG absent misappropriation of MG’s
15     confidential and trade secret information, especially given that: (1) Defendants had
16     no prior experience in researching and developing the technology at issue before
17     partnering with MG; (2) it took MG over a year and countless man hours to do the
18     same; and (3) it was Defendants that sought out MG to explore potential collaborative
19     working relationship associated with Coy due to Defendants’ lack of knowledge and
20     experience in this area.
21
             B.     Key Components of MG’s Confidential Accounting Structure
22                  Disclosures
23           64.    Through years of trial and error, MG figured out how to implement a
24     robust and efficient accounting structure consisting of MG’s financial information,
25     cost information including how MG calculates its costs and how those costs affect
26     other processes of the business, how to monetize the chargeback ratio, how to
27     calculate payments to its clients, and key components of MG’s payment processing
28     approach.


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 1           65.    Defendants repeatedly solicited information on MG’s accounting
 2     structure, including information related to calculating potential earnings and costs as
 3     factors in determining how to quote prices for potential clients. For example, on May
 4     25, 2020, Bartlett sent Nick a text message requesting a call to discuss “minimum
 5     percentage tiers” that MG uses to charge its clients. Bartlett specifically requested
 6     MG’s pricing information, which varies from the industry standard as well as that
 7     used by other MG competitors, such as OnlyFans,6 and Nick provided that
 8     information to Bartlett over a phone call and several text messages. During the call
 9     with Bartlett, Nick explained the importance of a client’s following and user
10     engagement on a social media platform to potential earnings as well as how costs
11     factor into determining the percentage to provide a price quote for a client. True and
12     correct copies of text messages between Nick and Bartlett discussing the pricing
13     percentages as “tiers” as well as scheduling a phone call to further discuss the same
14     are attached hereto as Exhibit J.
15           66.    It was clear that Bartlett and Lewis did not understand most, if not all,
16     of the costs and pricing factors involved in running the business. Nick had detailed
17     conversations with Bartlett and Lewis, in which he explained the various costs
18     involved and went over the process as to how MG priced its services in order to factor
19     in all of those costs. For example, there are various costs related to emails and
20     processing fees that Lewis was unaware of until Nick explained them to him. On
21     May 27, 2020, Lewis asked Nick for details regarding various email costs, payment
22     processing fees, and how MG handles its revenue share and payment processing
23     terms. True and correct copies of the text messages between Nick and Lewis are
24     attached hereto as Exhibit K.
25           67.    Defendants were also interested other aspects of MG’s accounting
26
27
       6
              As Nick explained to Bartlett, MG developed its own pricing model and did
       not use the 80/20 pricing model, which is considered to be the industry standard and
28
       utilized by MG’s competitors including OnlyFans.

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 1     system. Lewis, in particular, asked to connect with MG’s accountant and wanted to
 2     hire MG’s accountant to handle all of Coy’s accounting. Lewis specifically wanted
 3     an accountant familiar with MG’s business model. MG’s accountant was unavailable
 4     but, on behalf of the proposed partnership, Nick interviewed several candidates and
 5     selected an accountant whom he believed would be well suited for Coy. Nick walked
 6     Coy’s new accountant through MG’s accounting system in order to save Coy time
 7     and money. True and correct copies of text messages, in which Lewis and Nick
 8     discuss an accountant for Coy, are attached hereto as Exhibit L.
 9           68.   Defendants also solicited information on MG’s chargeback percentages,
10     which were unique to MG and differed from standard industry practice, as well as
11     information on how MG monetizes the chargeback ratio. The chargeback ratio is
12     crucial for any merchant that relies on credit card payments. Chargebacks occur when
13     a consumer has a bank or credit card issuer roll back a charge that is claimed to be
14     fraudulent or otherwise improper. The chargeback ratio is the percentage of the
15     chargebacks when compared to the total number of transactions. It is critical to stay
16     below a 1 percent ratio, or a business may be fined or even blocked by Visa or
17     MasterCard. MG proactively monitors its chargeback ratio and takes steps to reduce
18     fraudulent charges. Charges from certain geographical regions are subject to more
19     scrutiny than others. Nick responded to Defendants’ requests and provided this
20     information, which was subject to the confidentiality provisions of the NDAs and
21     (eventually) the Coy WDA. True and correct copies of Lewis’ text messages with
22     Nick whereby Nick explained various aspects of the chargeback percentage, industry
23     averages, and how MG monetizes the chargeback ratio are attached hereto as Exhibit
24     M.
25           69.   In response to the inquiries from Bartlett, Nick also provided
26     information related to MG’s subscriber retention rates and how MG’s monthly billing
27     system was structured. Nick explained MG’s billing structure, which was based on
28     know-how and negative know-how developed by MG through trial and error over the


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 1     years.
 2              70.   As with any startup company pioneering a new business model, MG ran
 3     into pitfalls and bumps along the road and developed negative know-how along the
 4     way. Thus, if Nick noticed that Bartlett and her business associates were heading
 5     toward a potential technology or business problem MG had previously faced and
 6     overcome, he would warn them. For example, MG initially used a particular payment
 7     processor as part of its billing and accounting system. Widely used by many online
 8     companies, MG assumed the payment processor would meet its needs as well.
 9     However, MG learned by experience that the processor in question was particularly
10     unfit for use for a company operating like MG. There were not only technical
11     problems but also regulatory problems due to the nature of MG’s operations and its
12     structure. These problems were not readily foreseeable for a novice, and MG did not
13     discover them until the problems actually occurred. Therefore, Nick shared MG’s
14     negative know-how with Defendants by warning them about these problems and
15     recommending the same payment processor that MG had come to use. In fact, Nick
16     allowed Defendants to utilize MG’s payment processing account so that they could
17     benefit from the lower prices MG had already negotiated. Notable, fixing the
18     problems caused by the payment processor had cost MG time and money that could
19     have been spent in other ways, such as marketing to potential clients or improving its
20     product, and MG’s negative know-how saved Coy from wasting time and effort in
21     the same way.
22              C.    Key Components of MG’s Confidential Revenue Model Disclosures
23              71.   MG spent years through trial and error developing its robust and unique
24     revenue model, such as its formulas for determining the percentages MG charges its
25     clients and the percentages MG keeps for itself. To develop its confidential and
26     unique revenue model, MG, among other things, looked at competitors’ revenue
27     models and used those as a baseline to be adjusted on a client-by-client basis.
28     ///


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 1           72.    In September 2020, Bartlett solicited information related to how MG
 2     handled certain aspects of its business and how it handled certain clients. For
 3     example, she wanted to know how long the payments took and when they arrived; in
 4     addition, she sought information on how MG handled its payments to its own clients
 5     in circumstances where MG had not yet received a particular month’s revenue
 6     payments. Relying, once again, on their proposed partnership, MG shared this
 7     information with the Defendants.
 8           73.    Nick also described the mechanics of MG’s revenue sharing and the
 9     percentages involved to Bartlett and Lewis. MG’s revenue model is complicated, and
10     costs can change dramatically depending on the amount of web traffic. Accordingly,
11     Nick explained how much of that works for MG so that Defendants would be aware
12     of the costs and understand the necessary cash flow.
13           74.    MG also taught Defendants about pricing subscriptions to maximize
14     profit, how to create successful flash sales, how to create and market pay-per-view
15     content and other information of similar nature that Defendants did not have and/or
16     were not aware of prior to MG and Nick’s involvement.
17           75.    Bartlett, in particular, also wanted to know more about generating
18     financial reports, when financial reports would arrive, how revenue was split, what
19     revenue processes had to be handled manually, and how weekends and holidays
20     impacted business processes. When Bartlett received the requested financial
21     spreadsheets and reports, she asked Nick to explain them to her. Importantly, Bartlett
22     asked Nick to identify the sources of certain revenue and how to understand various
23     accounts. Upon information and belief, Bartlett obtained confidential and trade secret
24     information related to MG’s revenue splits, information related to financial reports,
25     tracing revenue to particular sources and conducing data analysis in order to use that
26     information to later compete with MG.
27           76.    Bartlett and Lewis also did not understand some of the regulatory
28     requirements and recommendations. For example, Nick had to explain to Lewis the


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 1     importance of having some of his clients sign particular waivers in order to protect
 2     himself and the company from later liability concerns.
 3           77.    Lewis also asked about the language and structure of various MG
 4     contracts. With client contracts, he wanted to know about particular clauses and what
 5     language to include in his own contracts so that he could get out of a contract with a
 6     client at his convenience. He also asked from a sample independent contractor
 7     contract and asked particular questions about some of the language in the sample
 8     Nick shared with him.
 9     VI.   COY is Formed
10           78.    Eventually, Bartlett formed The Coy Collective, Inc. as a Delaware
11     corporation. As far as MG and Nick were aware, Coy was only going to operate in
12     the manner originally described by Bartlett—offering additional management-
13     focused services to models beyond what MG already provided, while MG continued
14     to operate the underlying technology.
15           79.    Under its agreement with Coy, MG would create and host the web
16     platform that Coy would use. MG had Coy sign a separate Website Development
17     Agreement for this new site. As CEO of Coy, Bartlett signed the agreement on behalf
18     of Coy on August 6, 2020 (“Coy WDA”). Bartlett, on behalf of Coy, provided the
19     signed agreement to Nick (representing MG) the same day. The Coy WDA is attached
20     and incorporated herein as Exhibit N. As with the other Website Development
21     Agreements, the Coy WDA contained confidentiality provisions and limited Coy’s
22     use of MG’s information and technology to the uses specified within the Coy WDA.
23           80.    MG then assisted Coy with setting up its website, operating its
24     subscription and payment processing system and implementing the same processes
25     and technology underlying MG itself. MG also assisted with ensuring that Coy was
26     performing the necessary legal compliance work for its models, assisted with setting
27     up Coy’s revenue structure and continued to answer day-to-day questions on how to
28     successfully run the business. This saved Coy at least twelve months of development


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 1     and growing pains that could have led to Coy’s demise before it ever began operating
 2     in earnest.
 3           81.     Between August 2020 and early September 2020, Bartlett approached
 4     MG about having Coy handle some of the financial aspects of MG’s website for
 5     Bartlett and for her friend and fellow MG Client, Cristina Dospassos. Without
 6     rescinding any existing agreements with MG, MG worked in good faith to try to
 7     accommodate Bartlett’s requests as part of the ongoing cooperative effort between
 8     MG and Coy.
 9           82.     During this time, Lewis and Bartlett still referred to their relationship
10     with MG as a “partnership.” MG operated under the assumption that MG and Coy
11     were partners and/or joint ventures. Indeed, in July 2020, Lewis reiterated via email
12     Coy’s vision of MG being “positioned as the Technology Partner powering Coy’s
13     technology….”
14     VII. Unlawful Conduct by Defendants
15           83.     At all the relevant times, MG operated in good faith under the belief that
16     all the parties would benefit from the proposed partnership. However, by the autumn
17     of 2020, it was becoming clear to MG that Coy, Bartlett, and the other Defendants
18     had never had any intention of operating a partnership, or even including MG in their
19     future plans at all. The entire partnership was merely a ploy designed to earn the trust
20     of Nick and MG. Indeed, Defendants used the confidential and trade secret
21     information they had learned from Nick and MG to set up and operate their own
22     competing business, and this became clear once Defendants abruptly ceased any
23     further ongoing collaborative discussions and proceeded to undersell MG in order to
24     sign clients who were already negotiating with MG.
25           84.     For example, by October 2020, MG had been in discussions with
26     potential clients who were considering signing agreements with MG, clients that
27     ostensibly would not have fit Coy’s proposed business model. It was around that time
28     that Coy, headed by Bartlett, intercepted those discussions and convinced those


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 1     clients to hire Coy instead by, inter alia, criticizing MG and attempting to undersell
 2     MG. Yet, when Nick confronted Bartlett in mid-October 2020, Bartlett still reiterated
 3     that she saw Coy’s relationship with MG as “a mutually beneficial relationship
 4     without competition.” According to Bartlett, “keeping a healthy partnership” with
 5     MG was her “main concern.” Lewis, for his part, assured Nick that Coy would focus
 6     on training its clients how to develop content, and specifically that Coy would not
 7     overlap as far as targeting the same potential clients.
 8           85.    However, all of that was mere cover-up, as MG came to discover shortly
 9     thereafter. Instead of cooperating with MG, abiding by the agreements the parties
10     had reached or fulfilling the promises Defendants had made, Defendants ratcheted up
11     their efforts to use MG’s confidential information and trade secrets against it. This
12     included a marketing push where Bartlett used MG’s systems and techniques,
13     obtained under the NDAs, to gain traction and notoriety for Coy. For instance,
14     Bartlett was featured in magazine articles promoting Coy in October 2020 and
15     November 2020, in which she bragged about coming up with original business ideas
16     for Coy that MG had already created and implemented more than a year earlier.
17     Attached hereto as Exhibit O is a copy of a November 2, 2020 Maxim Magazine
18     article accessible online, in which Bartlett discusses Coy.
19           86.    Furthermore, upon information and belief, after obtaining MG’s
20     confidential and trade secret information, Bartlett reached out to at least one MG
21     client, whereby she showed off her knowledge of MG’s whole business in her attempt
22     to get the client to switch to Coy by, among other things, using the percentages that
23     MG uses as a way to convince the client to switch to Coy.
24           87.    When it became clear that Coy was establishing itself as a direct
25     competitor to MG and discouraging potential clients from working with MG, Nick
26     attempted to slow down this runaway train by seeking to formalize the partnership
27     arrangements that had been proposed to him by Bartlett and her associates, including
28     those terms that had MG handling the technology for the partnership. Specifically,


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 1     MG sought to require Coy clients on MG’s technology platform to sign agreements
 2     directly with MG because, although MG was willing to continue to work with Coy
 3     as a partner, the websites would need to go directly through MG.
 4           88.     However, on or about November 5, 2020, Bartlett responded on behalf
 5     of Coy and expressed that Coy would be terminating its partnership with MG and
 6     transitioning its technology operations to being handled in-house after December 31,
 7     2020. Upon information and belief, Coy decided to terminate its agreement with MG
 8     so that it could compete with MG without any further pretense.
 9           89.     Shortly thereafter, MG responded with a letter establishing the proposed
10     initial terms for ending the partnership and explaining MG’s intentions, which, inter
11     alia, included holding Bartlett to her own WDA, as, by that time, it had already
12     automatically renewed for another year and had not been validly terminated. Attached
13     hereto as Exhibit U is a copy of a November 16, 2020 e-mail communication,
14     attaching the letter in question. It also warned Coy not to use MG’s confidential
15     information and trade secrets to set itself up as a direct competitor to MG and
16     reminded Coy about the signed NDAs and other contracts in force between MG and
17     Defendants.
18           90.     On November 19, 2020, Coy’s legal counsel sent a letter to MG
19     threatening legal action and demanding the return of certain internet URLs,
20     subscriber data and payment processing systems. The letter also included a request
21     for mediation to help with the dispute. Attached hereto as Exhibit P is a copy of the
22     letter from Coy’s counsel. In a good-faith effort to resolve any dispute, MG released
23     the URLs to Coy.
24           91.     On the same day, November 19, 2021, MG’s payment processor
25     forwarded MG an email from Bartlett, in which she requested a refund from the
26     payment processor for multiple charges to a website that was created and operated
27     by MG for a Coy client. In the email, Bartlett mentions that a Coy software developer
28     was testing something.      Upon information and belief, Coy’s developers were


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 1     attempting to duplicate MG’s technology and design.
 2           92.    On December 2, 2020, Plaintiff’s counsel responded to Coy’s letter by
 3     requesting to use JAMS mediators in either California, New York, or Florida. Coy
 4     never responded to this letter. Attached hereto as Exhibit Q is a copy of the letter to
 5     Coy from Plaintiff’s counsel.
 6           93.    On January 5, 2021, Plaintiff’s counsel sent a letter to Bartlett requesting
 7     mediation. Attached hereto as Exhibit R is a copy of the letter to Bartlett from
 8     Plaintiff’s counsel. Attached hereto as Exhibit S is a copy of the response from
 9     counsel for Bartlett.
10           94.    In the letters sent by Plaintiff’s counsel, there were three requests for
11     selection of a mediator, all of which were ignored. Plaintiff warned in its January
12     letters that a failure to comply would be seen as a refusal to select a mediator. Thus,
13     Plaintiff attempted in good faith to select a mediator with Defendants, and all such
14     attempts have failed. The Web Development Agreements on their face do not require
15     mediation be completed before bringing any claims, but even if they did, Plaintiff’s
16     attempt to select a mediator proved unsuccessful thereby releasing Plaintiff from any
17     further obligation to pursue this mechanism under the agreement.
18           95.    With MG’s confidential and trade secret information in hand, Coy had
19     no further use for MG. Defendants took MG’s confidential and trade secret
20     information in order to set up a business that now directly competes with MG.
21           96.    Coy forsook the partnership and now operates as a direct competitor to
22     MG, using MG’s confidential and trade secret information that had been developed
23     and honed for over a year and was shared only in reliance on Defendants’
24     representations that they sought to partner up with MG for a mutually beneficial
25     collaborative business venture.
26           97.    Since at least October 2020, Coy has positioned itself as a direct
27     competitor to MG. Coy now targets the same clients as MG, and Nick has been told
28     by current MG clients that people from Coy, and Bartlett in particular, have reached


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 1     out to them in an effort to convince them to leave MG and become Coy’s clients
 2     instead. Essentially, Coy took all of the confidential and trade secret information MG
 3     had provided and replicated MG’s intended contribution to the partnership. As such,
 4     Coy now uses its own employees and resources to implement MG’s technology,
 5     structure and business model.
 6           98.    Coy has stolen more than just information from MG. Coy has stolen
 7     MG’s entire business model. At every step of the way, Defendants asked for
 8     information and assistance. Thinking that Coy was going to be a long-term partner to
 9     MG, Nick provided that information to Defendants and helped them avoid mistakes
10     that would have wasted months of time, cost many thousands of dollars to repair and
11     permanently damaged Coy’s goodwill and reputation—assuming Coy would have
12     ever figured out the solutions to begin with. The value of the information MG
13     provided to Defendants cannot be overstated. MG spent over a year creating and
14     refining its platform. Everything from accounting and marketing, web technologies
15     and pricing were carefully refined and honed based on experience and research. All
16     of this information is what gives MG its competitive advantage. Coy obtained all of
17     that valuable information in a few weeks without ever having to pay the costs that
18     MG did. Upon information and belief, Coy would not be operating now if not for all
19     of the information it obtained from MG under false, misleading and fraudulent
20     pretenses.
21           99.    As recently as March 4, 2021, Bartlett wrote an update on her Instagram
22     profile where she stated, “From [Coy’s] inception, our main focus was that of a
23     technology company, however we quickly realized that we excelled in model
24     management as well.” Attached hereto as Exhibit T is a copy of this Instagram post.
25     This is the exact opposite of what Bartlett, Coy and the other Defendants represented
26     to MG. They clearly indicated that MG would handle the technology side of the
27     proposed joint business, and Coy would handle the model-management. Defendants’
28     real raison d’être is further clarified by Bartlett’s exposition in the same post that she


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 1     would be establishing a new business called Verge for model management, which is
 2     the exact business she told MG she intended Coy to be as part of their proposed
 3     partnership and which, in part, informed why and how the partnership would be a
 4     logical split of their respective expertise. From the very inception, Defendants thus
 5     always intended to operate a competing technology company and misled MG to gain
 6     the benefits of its knowledge and cooperation.
 7           100. Thus, Coy is transparently not, nor was it ever planned to be, what
 8     Defendants represented when they were obtaining MG’s valuable information,
 9     including trade secrets. Now Defendants are taking credit for MG’s work and
10     innovations to further drum up business at MG’s expense in the marketplace. Bartlett
11     and Coy have also reached out to existing MG clients requesting that they terminate
12     their existing contract or relationship with MG and instead use Coy exclusively. With
13     this new development, MG had no choice but to initiate this litigation.
14           101. Since at least October 2020, Coy has been signing contracts with clients
15     who were already in contract negotiations with MG. Coy knows MG’s confidential
16     cost and profit information, and Coy deliberately attempted to undersell MG when
17     speaking to current MG clients. Defendants have unlawfully solicited Plaintiff’s
18     clients utilizing MG’s trade secrets and other confidential information to assist in
19     growing and developing Coy’s business in breach of the NDAs and the Coy WDA,
20     as well as various U.S. and state law. Indeed, it was MG’s stolen confidential
21     information and trade secrets that enabled Defendants to build their competing
22     business, Coy, as quickly as they did.
23           102. Defendants all continue to use MG’s confidential and trade secret
24     information in direct violation of their agreements. They each individually profit at
25     MG’s expense. MG’s business is its software and processes. That business has been
26     stolen and its assets hijacked. Now, after this perfidious scheme, MG faces an
27     existential threat from Coy using MG’s own innovations against it.
28     ///


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 1     VIII. The Fraudulent Transfer of Plaintiff’s Trade Secrets
 2            103. During the pendency of this litigation, it was learned that, shortly after
 3     Defendant Lewis signed the WDA with Plaintiff and received Plaintiff’s trade
 4     secrets, Defendant Lewis transferred those Plaintiff’s trade secrets to Andrew Geller
 5     whose role with Coy was unknown at the time of this discovery. Thus, Plaintiff was
 6     uncertain if evidence of this transfer was within or outside of The Coy Collective
 7     business.
 8            104. In August of 2023, during the pendency of this action, it was belatedly
 9     discovered that Coy – by and through its principals, agents, employees, advisors,
10     executives, officers and/or directors – transferred the technological “design” that was
11     its sole valuable asset and which was acquired by the misappropriation of Plaintiff’s
12     trade secrets.
13            105. In August of 2023, Plaintiff also discovered that Defendant The Sheth
14     Sangreal Foundation became an investor in The Coy Collective in or around 2022.
15     Upon investigation, it was discovered that Andrew Geller was the Director of The
16     Sheth Sangreal Foundation – a subsequent investor in The Coy Collective – and the
17     recipient of Plaintiff’s trade secrets in 2020. Thus, for the first time, plaintiff
18     discovered the transfer of its trade secrets made to Andrew Geller in 2020 was to an
19     outside third party in violation of the WDA’s confidentiality provisions.
20            106. In August of 2023, Plaintiff discovered that The Coy Collective’s
21     current Chief Executive Officer, Matthew Silk, first became acquainted with The Coy
22     Collective in 2021 when he was requested by his “friend” to assess the company’s
23     business prospectus at that time. Silk’s friend was then identified as an attorney
24     employed by the firm that represents The Coy Collective.
25            107. In August of 2023, Plaintiff discovered, after a forensic examination of
26     its assets in or around 2022, that the sole valuable asset of The Coy Collective was
27     its technological design and development to date which, Plaintiff alleges, consists of
28     plaintiffs trade secrets.


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 1           108. In August of 2023, Plaintiff discovered that the discovery of this
 2     remaining asset caused Defendant The Sheth Sangreal Foundation to make a capital
 3     investment in the company in or around 2022. Defendant and Director Andrew Geller
 4     was already in possession of the subject “valuable asset” (which is Plaintiff’s trade
 5     secrets) but made the subject investment into The Coy Collective upon Defendant
 6     Silk’s forensic determination of the value of the asset.
 7           109. In August of 2023, Plaintiff discovered that, in or around 2022 and with
 8     funding in place, The Coy Collective contracted with various development
 9     companies intending to Build upon Plaintiff’s misappropriated trade secrets and bring
10     new products to market.
11           110. In August of 2023, Plaintiff discovered that the decision to revive The
12     Coy Collective was scrapped and, in January of 2023, it transferred its sole remaining
13     valuable asset (Plaintiff’s trade secrets) to the newly-created TMW Labs, Inc. which
14     is owned, operated and/or controlled by The Coy Collective’s fiduciary and CEO,
15     Defendant Silk. board members, Andrew Geller, Corey Lewis and Thomas Drew who
16     were also fiduciaries of The Coy Collective, some of whom were active defendants
17     to this action and had sufficient notice that Plaintiff credibly alleged the transferred
18     technology to be Plaintiff’s trade secrets. In August of 2023, Plaintiff discovered that
19     Director Juan Pablo Lopez who is the sole Director identified in public filings with
20     the Texas Secretary of State.
21                                 FIRST CAUSE OF ACTION
22         Misappropriation and Threatened Misappropriation of Trade Secrets –
23                  Defend Trade Secrets Act, 18 U.S.C. §§ 1832, 1836 et eq.
24                                     (Against All Defendants)
25            111. Plaintiff realleges and incorporates by reference each of the allegations
26     in paragraphs 1 through 90 set forth above.
27            112. MG possesses and owns confidential trade secrets, consisting of:
28           a.     The design and structure of individual websites and the technology


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 1     behind those websites, including the technologies, software, servers, vendors, and
 2     overall infrastructure of MG’s technology platform;
 3                b.      Details regarding MG’s cost and accounting structure;
 4                c.      Details regarding MG’s revenue model;
 5                d.      Compilations, methods, techniques and processes with regard to the
 6                information described above; and
 7                e.      Know-how and negative know-how regarding the categories set forth
 8     above, as well as such know-how and negative know-how as to setting up, running
 9     and succeeding as a company such as MG.
10                113. MG’s confidential information also includes “existing or contemplated
11     business, processes and services, techniques, components, sales, markets, costs,
12     profits,        research,   development,   inventions,   purchasing,   staff,   employees,
13     compensation, contractors, suppliers, customers, prospects, marketing, pricing
14     policies, financial information, engineering and all other data.” Exhibits B, C, D, E,
15     ¶ 1.
16                114. MG’s confidential and trade secret information is the result of over a
17     year of business experience, research, and trial and error, in addition to specialized
18     knowledge and skills developed over the course of several years prior.
19                115. MG’s confidential and trade secret information is not public. MG’s trade
20     secrets derive independent economic value, actual and/or potential, from not being
21     generally known to, and not being readily ascertainable through proper means by,
22     other persons who can obtain economic value from the disclosure or use of the
23     information.
24                116. MG relies on its confidential and trade secret information in order to
25     conduct business and directly gains economic value from this information. MG relies
26     on keeping this information secret because its business quite literally is its software
27     and expertise. MG created a system of technology and business processes, in which
28     the whole is greater than the sum of its parts.


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 1            117. MG operates primarily on the internet, and, therefore, MG’s confidential
 2     and trade secret information is used in interstate commerce.
 3            118. MG’s confidential and trade secret information is subject to extensive
 4     efforts to maintain its secrecy and confidentiality. These efforts include the following:
 5                  a. Requiring customers, clients, and business partners to sign NDAs
 6                     and/or other contracts containing confidentiality provisions that
 7                     prevent using the confidential information or disclosing it to third
 8                     parties.
 9                  b. Restricting information to a “need to know” basis for those who
10                     require the information to perform their jobs.
11                  c. Securing the information with technical safeguards, such as
12                     passwords and user accounts with access based on the user’s role.
13                  d. MG’s clients only see information related to their own websites and
14                     revenue. 7
15                  e. Source code and proprietary technology is stored on encrypted disk
16                     drives.
17                  f. For its public-facing websites, MG disables the “right click” feature
18                     for end users, preventing them from viewing the source code of a
19                     given website.
20                  g. Even if an end user were to view the website code, much of it would
21                     have been generated dynamically by MG’s servers using input such
22                     as that user’s unique visitor identification code, meaning an end user
23                     could not recreate a website like MG’s by simply copying the public-
24                     facing HTML code.
25     7
               While Bartlett was initially an MG client, she and the other Defendants gained
26     access to all of MG’s confidential information and trade secrets vis-à-vis their
27     partnership with MG in pursuit of creating Coy. MG does not regularly share with
       its clients the full extent of the information shared with Defendants in reliance on the
28
       proposed partnership.

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 1                  h. MG’s technology and server infrastructure (or “technology stack”) is
 2                     kept secret to the degree possible for websites that are accessible by
 3                     the public. This includes the server structure, the software on each
 4                     server, third-party vendors, and security features.
 5            119. As such, the foregoing are protectable trade secrets under the Defend
 6     Trade Secrets Act, 18 U.S.C § 1836, et seq. (“DTSA”).
 7            120. At all relevant times, Defendants knew or had reason to know that their
 8     knowledge of MG’s confidential and trade secret information was acquired under
 9     circumstances giving rise to a duty to maintain the secrecy of MG’s trade secrets or
10     limit the use of MG’s trade secrets by virtue of the NDAs and the Coy WDA.
11            121. Bartlett, Lewis, Hankins, and Drew wrongfully obtained MG’s
12     confidential and trade secret information from MG by misrepresenting their true aims
13     and signing the NDAs, to which none of them ever had intention of adhering.
14     Defendants acquired MG’s confidential and trade secret information under the
15     fraudulent and false pretense of technology integration in a preferred partnership and
16     then improperly used these trade secrets in their own technical systems and business
17     models. Though Bartlett and her business partners had originally claimed to be
18     working with MG in a cooperative, mutually beneficial partnership, Bartlett and her
19     business partners Lewis, Hankins, and Drew always intended to steal MG’s trade
20     secrets in order to benefit from MG’s experience and expertise—and, ultimately, in
21     order to compete against MG directly.
22            122. Coy misappropriated the information by acquiring MG’s confidential
23     and trade secret information from Bartlett, Lewis, Hankins, and Drew, which all
24     Defendants knew was information protected by NDAs and the Coy WDA. Coy also
25     obtained MG’s trade secrets despite entering into the Coy WDA, which contained
26     robust confidentiality provisions. Coy is improperly using MG’s trade secrets to
27     directly compete with MG. The foregoing constitutes misappropriation of trade
28     secrets prohibited under the DTSA.


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 1            123. By so misappropriating MG’s confidential and trade secret information,
 2     Coy gained an unfair competitive advantage and huge head start commercializing its
 3     competing business. Indeed, by utilizing MG’s confidential and trade secret
 4     information, as described herein, Defendants were able to become a competitor
 5     overnight. Essentially, Defendants were able to operate and compete without the need
 6     to spend time, effort and money developing and implementing MG’s confidential and
 7     trade secret information. Unlike MG, Coy was not exposed to the risk and expense
 8     of developing these trade secrets on its own, and it did not experience growing pains.
 9     In other words, by taking valuable information from MG, Coy and the Defendants
10     were able to take a sure thing—a tried-and-true business—and claim it for
11     themselves.
12            124. On information and belief, Coy, Bartlett, Lewis, Hankins, and Drew
13     have also misappropriated MG’s confidential and trade secret information by
14     improperly disclosing it to others, such as (but not limited to) a client and friend of
15     Bartlett, Cristina Dospassos.
16            125. MG never authorized or consented to Defendants’ acquisition by
17     improper means or use of its confidential and trade secret information.
18            126. Defendants use, and threaten to continue to use, MG’s confidential and
19     trade secret information in interstate commerce in order to interfere with MG’s
20     relationships with its current clients, attempt to recruit MG’s existing clients, disrupt
21     MG’s business and compete unfairly against MG until MG eventually can no longer
22     continue to conduct business.
23            127. Defendants have each improperly used MG’s confidential and trade
24     secret information misappropriated from MG to harm MG’s existing business
25     relationships and compete directly against MG, resulting in financial and reputational
26     harm to MG.
27            128. Defendants have each been unjustly enriched by using MG’s
28     confidential and trade secret information to run a competing business using MG’s


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 1     own information, processes and technology.
 2            129. MG has been harmed as a proximate result of the foregoing
 3     misappropriation of its confidential and trade secret information by Defendants, in a
 4     manner and amounts to be proven at trial. Each and every wrongful acquisition, use,
 5     and disclosure of MG’s trade secrets was and continues to be a substantial factor in
 6     causing MG’s harm. Defendants’ use of MG’s confidential and trade secret
 7     information threatens MG’s very survival as a business, and monetary damages alone
 8     are an inadequate remedy. The exact extent of the harm, given Defendants’ secrecy,
 9     can be determined only through discovery, but is no less than $1.5 million.
10            130. Defendants’ misappropriation was willful and malicious, and MG is
11     entitled to an award of exemplary damages and reasonable attorneys’ fees pursuant
12     to 18 U.S.C. § 1836(b)(3)(C) and (D).
13            131. As more fully set forth above, the acts of Defendants were intentional,
14     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
15     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
16     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
17     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
18     sufficient to punish and make an example out of Defendants.
19                               SECOND CAUSE OF ACTION
20            Breach of Contract – Non-Disclosure Agreements (California Law)
21       (Against Jessica Bartlett, Corey Lewis, Robert Hankins, and Thomas Drew)
22            132. Plaintiff realleges and incorporates by reference each of the allegations
23     in paragraphs 1 through 90 set forth above.
24            133. As set forth herein, on May 21, 2020, Bartlett, Lewis, Hankins, and
25     Drew signed NDAs with MG in order to protect MG’s confidential information.
26     Thus, Bartlett, Lewis, Hankins, and Drew each entered into binding and valid
27     contracts with MG. MG could share its confidential business information with
28     Bartlett and the others who had signed NDAs in anticipation of a joint collaboration.


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 1     In exchange, Bartlett, Lewis, Hankins, and Drew would each keep all information
 2     they received in the highest confidence by not disclosing it to third parties, and they
 3     all agreed not to use the information themselves for any purpose beyond those stated
 4     in the NDAs.
 5            134. MG’s confidential information is defined as including “existing or
 6     contemplated business, processes and services, techniques, components, sales,
 7     markets, costs, profits, research, development, inventions, purchasing, staff,
 8     employees, compensation, contractors, suppliers, customers, prospects, marketing,
 9     pricing policies, financial information, engineering and all other data.” Exhibit B, C,
10     D, E, ¶ 1. It also includes all proposals and information and data furnished by MG.
11     Id.
12            135. Among other things, each NDA prohibits Bartlett, Lewis, Hankins, and
13     Drew from using MG’s confidential information for any purpose other than
14     evaluating and negotiating a proposed transaction, or, in other words, outside of the
15     cooperative relationship between Coy and MG. Id. at ¶ 4.
16            136. MG has performed all conditions, covenants and promises required on
17     its part to be performed in accordance with the terms and conditions of the NDAs.
18            137. Bartlett, Lewis, Hankins, and Drew each breached the NDAs by
19     utilizing confidential information disclosed to them under the NDAs, which
20     Defendants did not know previously and which was confidential information not
21     generally known to the public, to form a competing business utilizing MG’s
22     confidential information.
23            138. Each NDA also requires Bartlett, Lewis, Hankins, and Drew to return
24     all original confidential information provided by MG and destroy all “copies,
25     reproductions, summaries, compilations, analyses, and extracts thereof or based
26     thereon” upon MG’s request. Id. at ¶ 10.
27            139. MG has reminded Bartlett of this requirement in multiple written
28     communications, but Bartlett’s only response has been to feign ignorance. She has


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 1     refused and continues to refuse to return or destroy MG’s confidential information
 2     she has in her possession and refuses to acknowledge she possesses any such
 3     confidential information.
 4            140. The foregoing conduct of Bartlett, Lewis, Hankins and Drew constitutes
 5     breaches of the NDAs.
 6            141. MG has been damaged as a direct and proximate result of the foregoing
 7     conduct in a manner and amounts to be proven at trial, but no less than $1.5 million
 8     based on calculating the loss of business and the spreading and improper use of
 9     economically valuable secrets in the marketplace, plus interest on the foregoing sums.
10            142. Bartlett, Lewis, Hankins, and Drew’s breaches of their NDAs with MG
11     have caused, and continue to cause, immense damage to MG. Bartlett, Lewis,
12     Hankins, and Drew’s breaches were and continue to be significant causes of this
13     damage to Plaintiff.
14                                 THIRD CAUSE OF ACTION
15        Breach of Contract – Website Development Agreement (California Law)
16                                   (Against Jessica Bartlett)
17            143. Plaintiff realleges and incorporates by reference each of the allegations
18     in paragraphs 1 through 90 set forth above.
19            144. Bartlett entered into the Bartlett WDA with MG on October 27, 2019,
20     which is a valid and binding contract. Exhibit A.
21            145. The Bartlett WDA provides that MG will create a website for Bartlett’s
22     use but will retain ownership of all intellectual property rights. MG would also handle
23     copyright infringement issues that arise. In exchange, Bartlett would be able to use
24     her own independent website and earn revenue from that website. MG was also
25     entitled to a certain percentage of the revenue earned by Bartlett’s website. Finally,
26     the agreement ensured a certain level of exclusivity.
27            146. The Bartlett WDA also contains a California choice of law clause.
28     Exhibit A, ¶ 12.


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 1            147. MG performed all, or substantially all, of the elements of its end of the
 2     Bartlett WDA, including sharing creating a website, providing use of MG’s
 3     technology, ensuring infringed images of Bartlett protected by copyright were taken
 4     down and providing a platform for Bartlett to monetize her online following.
 5            148. All conditions required by the contract for Bartlett’s performance were
 6     met.
 7            149. The Bartlett WDA automatically renews each year unless one party
 8     provides written notice of intent not to renew at least 90 days before its renewal period
 9     begins. Exhibit A, ¶ 3.1.
10            150. The Bartlett WDA also has an integration clause that limits
11     modifications to the agreement only by a written instrument executed by the parties.
12     Exhibit A, ¶ 13(a.)
13            151. Bartlett’s contract renewed for another twelve-month period on October
14     27, 2020 because she never provided contractually adequate notice within the
15     possible cancellation period of the Bartlett WDA.
16            152. Nonetheless, Bartlett refuses to pay for any of the services she agreed
17     MG would provide under the agreement, and to the extent she claims to have
18     terminated the agreement, it is through improper means. As such, Bartlett has
19     breached the contract by refusing to accept services for which she agreed to pay and
20     then by improperly attempting to terminate the contract despite its clear terms.
21            153. The Bartlett WDA also has robust confidentiality provisions designed
22     to protect confidential information, to which Bartlett may have access or otherwise
23     come across. Exhibit A, § 5.
24            154. In breach of section 5 of the Bartlett WDA, Bartlett shared confidential
25     information belonging to MG and covered by the Website Development Agreement.
26     She also used and continues to use this confidential information to compete against
27     MG using, among other things, MG’s own technologies, processes and strategies.
28     ///


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 1            155. Bartlett’s breaches of the Bartlett WDA have caused and continue to
 2     cause immense damage to MG. Bartlett’s breaches are significant causes of this
 3     damage to Plaintiff.
 4            156. The full amount of harm, given the Bartlett’s secretiveness and the type
 5     of harm suffered by Plaintiff, can be determined only in discovery, but certainly
 6     exceeds $75,000 given the value of Bartlett’s website to MG.
 7            157. Bartlett’s breaches of contract were and continue to be a substantial
 8     factor in causing MG’s harm.
 9                              FOURTH CAUSE OF ACTION
10          Breach of Contract – Website Development Agreement (Florida Law)
11                                        (Against Coy)
12            158. Plaintiff realleges and incorporates by reference each of the allegations
13     in paragraphs 1 through 90 set forth above.
14            159. Coy entered into the Coy WDA with MG on August 6, 2020, which is a
15     binding and valid written contract. Exhibit N. This agreement was similar to the
16     agreements MG had entered into with Bartlett. The major difference is that it was
17     anticipated that Coy would have multiple sub-users, each with their own websites
18     operating in connection with the main Coy website. Another difference is that the
19     agreement could be terminated by either party upon 30 days written notice. Exhibit
20     N, ¶ 3.1.
21            160. As with the other agreements, MG maintained ownership of all
22     intellectual property. MG would also handle copyright infringement issues that may
23     arise. In exchange, Coy would be able to offer its clients use of their own independent
24     websites, from which they could earn revenue. MG would be entitled to a certain
25     amount of the revenue earned by the Coy website family that scaled up with its usage
26     and popularity. Finally, the agreement ensured a certain level of exclusivity.
27            161. Unlike the other Website Development Agreements, the Coy WDA
28     contains a Florida choice of law clause. Exhibit N, ¶ 12.


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 1            162. MG performed all or substantially all of the elements of its end of the
 2     Coy WDA, including sharing creating a website, providing use of MG’s technology,
 3     ensuring images infringing on Coy’s copyrights were taken down and providing a
 4     platform for Coy to allow its clients to create their own websites under the Coy and
 5     MG banners.
 6            163. All conditions for Coy’s performance had been met.
 7            164. Coy committed a material breach of the contract when it utilized its
 8     website to directly compete against MG, and Coy continues to compete against MG
 9     using MG’s own technology, processes and strategies.
10            165. In violation of the Coy WDA, Coy has continued to use MG’s software
11     and services, even though the agreement specifically states that MG will retain all
12     ownership.
13            166. The Coy WDA also has robust confidentiality provisions designed to
14     protect confidential information, to which Coy may have access or otherwise come
15     across. Exhibit N, § 5.
16            167. In breach of § 5 of the Coy WDA, Coy shared confidential information
17     belonging to MG and covered by the Coy WDA. Coy also used and continues to use
18     this confidential information to compete against MG using, among other things,
19     MG’s own technologies, processes and strategies.
20            168. Due to the nature of the breach and the sensitive information at issue,
21     Coy is situated to have the information necessary to determine the full damage it has
22     caused by its breach. However, MG has been harmed by at least $2.5 million, based
23     on calculating the loss of business and the spreading and improper use of
24     economically valuable information in the marketplace.
25            169. MG suffered and continues to suffer damages caused by Coy’s breach
26     of its agreement with MG.
27     ///
28     ///


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 1                                FIFTH CAUSE OF ACTION
 2                                   Fraud (California Law)
 3                                   (Against Jessica Bartlett)
 4            170. Plaintiff realleges and incorporates by reference each of the allegations
 5     in paragraphs 1 through 90 set forth above.
 6            171. Bartlett knowingly made false statements regarding her true motives
 7     behind soliciting MG’s help with starting Coy and operating Coy. For example, on
 8     May 6, 2020, Bartlett sent Nick a business proposal via text message seeking to
 9     partner up for what she represented would be a new management agency. During
10     this initial May 6th exchange, Bartlett told Nick that she wanted to partner with MG
11     to help her learn the ropes of running website businesses and to have MG provide its
12     core services to this new business. When Bartlett first approached Nick about her
13     business idea for what would eventually become Coy, she never said anything about
14     Coy being a technology company or ultimately a competitor to MG. She merely
15     stated that it was a “subscription-based project.” Indeed, Bartlett always represented
16     to MG that Coy would be focused on offering management services to their clients
17     and MG would be the technology company that supported Coy as its partner, with
18     Coy focused on assisting with the actual creation of content. At no point did Bartlett,
19     or anyone else, state to MG or Nick that Coy was supposed to be a competing
20     technology company. However, Bartlett’s subsequent statements that she always
21     intended Coy to be a technology company prove that she lied when she stated
22     otherwise to Plaintiff on May 6, 2020 and in subsequent statements thereafter.
23            172. Bartlett also falsely represented that she was procuring MG’s
24     confidential information solely for the purpose of entering into a partnership with
25     MG. Beginning May 6, 2020, and continuing on through the end of October 2020,
26     Bartlett negotiated with MG and solicited confidential information from MG through
27     multiple emails, text messages, phone calls and even actual contracts. In these
28     communications, Bartlett claimed that she wanted to partner with MG to run together


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 1     a joint business with MG supplying its expertise on the technology side. For example,
 2     during a phone call between Bartlett, Lewis and Nick on May 16, 2020, Bartlett stated
 3     that she and Lewis wanted MG to be their technology partner because MG was
 4     already established and had the industry “figured out.” In mid-October 2020, Bartlett
 5     reiterated to Nick that she saw Coy’s relationship with MG as a “mutually beneficial
 6     relationship without competition” and that “keeping a healthy partnership” with MG
 7     was her “main concern.” In actuality, she simply sought confidential information and
 8     technology from MG in order to create a competing business. She thus deceived MG
 9     in order to make her own company using technology and information gained from
10     MG.
11            173. On October 27, 2019, Bartlett made promises to MG in the form of
12     signing the Bartlett WDA with MG, in which she promised, inter alia, to keep
13     Plaintiff’s sensitive information in confidence and not to use it beyond the stated
14     purposes in the contract. When entering into the agreement, Bartlett never had any
15     intention of performing her end of the bargain.
16            174. On May 21, 2020, Bartlett made promises to MG in the form of signing
17     an NDA, in which she promised, inter alia, to keep Plaintiff’s sensitive information
18     in confidence and not to use it to beyond the stated purposes in the contract. When
19     entering into the agreement, Bartlett never had any intention of performing her end of
20     the bargain.
21            175. Bartlett later concealed the fact that she was actually setting Coy up to
22     compete against MG using MG’s own information and technology structure against
23     it.
24            176. Bartlett intended MG to rely on her misrepresentations, including her
25     promise to keep MG’s confidential information secret and her intention for Coy and
26     MG to maintain a “mutually beneficial relationship without competition” so that MG
27     would share its confidential information with her and provide her the necessary
28     information to run her own competing business. Bartlett made her true intention and


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 1     her knowing of the falsity of her representations at the time they were made very clear
 2     when on March 4, 2021, she posted an Instagram update where she stated she always
 3     viewed Coy as a technology company first. See supra ¶ 87. Her intention, as described
 4     in her post, is the opposite of what she represented to MG, which was, as alleged
 5     herein, for MG to create a partnership with her new management company with its
 6     own website where it would MG’s role to supply Coy’s future clients with their
 7     websites, among other services.
 8            177. Bartlett’s false representations and omissions were material for several
 9     reasons, including that Plaintiff would not have turned over confidential information
10     to Bartlett if it had known about Bartlett’s false representations and omissions. Had
11     MG known the truth, it never would have associated with or done any business with
12     Bartlett, it would have never partnered with Coy, it would never have helped set up
13     the business and it would have never disclosed its confidential information and trade
14     secrets with any of the Defendants.
15            178. At the time of Bartlett’s false representations and omissions, Bartlett
16     knew her representations were false when made and that her omissions created false
17     impressions because she knew that she was always intending to create and operate a
18     business that directly competes with MG using MG’s confidential information.
19            179. Bartlett had a duty to disclose the omitted information for several
20     reasons, including that Bartlett had made disclosures regarding her intended use of
21     MG’s confidential information, which gave rise to a duty to make a full disclosure.
22            180. Bartlett knew that MG was unaware of Defendants’ development of a
23     competing business or Defendants’ use of MG’s confidential information.
24            181. Bartlett intended for MG to act on her representations and omissions and
25     turn over confidential information, and MG did, in fact, turn over confidential
26     information to Bartlett due to its reliance on Bartlett’s representations and omissions.
27            182. MG actually and reasonably relied on the statements and promises made
28     by Bartlett, including those contained in Bartlett’s NDA with MG and the Bartlett


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 1     WDA. On the basis of the NDA and the Bartlett WDA, as well as numerous phone
 2     calls and text messages from Bartlett, as described herein, MG shared confidential
 3     information and trade secrets and provided assistance with creating and operating
 4     Coy.
 5            183. MG’s reliance on Bartlett’s statements and promises was justifiable in
 6     light of MG’s knowledge and experience. Others associated with MG had adhered to
 7     their agreements and kept information confidential. Moreover, MG believed that all
 8     parties involved stood to gain from the cooperative effort.
 9            184. MG has been harmed in that it was deceived into sharing its technology
10     and expertise that was ultimately used to compete directly with MG using its own
11     business model and own technology.
12            185. Given the nature of Bartlett’s fraud, and the secretive nature of Bartlett’s
13     business, Bartlett necessarily and naturally has the complete information related to
14     the damage she has caused from stealing Plaintiff’s information and business.
15     However, MG has been harmed by at least $2.5 million, based on calculating MG’s
16     costs to develop and refine its trade secrets and confidential information that was
17     fraudulently obtained, MG’s expected share of profit from the partnership, as well as
18     the opportunity costs associated with time spent collaborating that could have been
19     spent either on client relations or collaborating with good-faith individuals and
20     businesses.
21            186. Bartlett’s conduct was intentional, malicious and fraudulent, justifying
22     the award of punitive and exemplary damages.
23            187. MG’s reliance on Bartlett’s false statements and false promises was and
24     continues to be a substantial factor in causing its harm.
25            188. MG is entitled to any and all compensatory and punitive damages
26     flowing from Bartlett’s fraud in procuring MG’s confidential information.
27            189. As more fully set forth above, the acts of Defendants were intentional,
28     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s


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 1     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
 2     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
 3     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
 4     sufficient to punish and make an example out of Defendants.
 5                                SIXTH CAUSE OF ACTION
 6                                   Fraud (California Law)
 7                (Against Corey Lewis, Robert Hankins, and Thomas Drew)
 8            190. Plaintiff realleges and incorporates by reference each of the allegations
 9     in paragraphs 1 through 90 set forth above.
10            191. On May 21, 2020, Lewis, Hankins and Drew each made promises to MG
11     in the form of signing NDAs, including, inter alia, promises to keep Plaintiff’s
12     sensitive information in confidence and not to use it to beyond the stated purposes in
13     the contract. When entering into these agreements, Lewis, Hankins and Drew never
14     had any intention of performing the promises contained in the agreements. They were
15     already in league with Bartlett to take MG’s technology, information and business
16     model for themselves.
17            192. Lewis knowingly made false statements regarding his true motives,
18     including in multiple phone calls and text messages. For example, during his May 16,
19     2020 phone call with Bartlett and Nick, Lewis told Nick that he and Bartlett wanted
20     to provide model management services to aspiring models and social influencers and
21     wanted MG to serve as Coy’s technology partner because MG was already established
22     and had the industry “figured out.” Lewis concealed the fact that he, Bartlett and the
23     other Defendants were setting Coy up to compete directly against MG.
24            193. Lewis, Hankins and Drew intended MG to rely on their
25     misrepresentations, and particularly their false promises in the NDAs they signed, so
26     that MG would share its confidential information and assist with creating Coy. Bartlett
27     made Coy’s founders’ true intentions and their knowing of the falsity of their
28     representations at the time they were made very clear when on March 4, 2021 she


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 1     posted an Instagram update where she stated she always viewed Coy as a technology
 2     company first. See supra ¶ 87. Coy’s founders’ intentions, as described in Bartlett’s
 3     post, are the exact opposite of what they represented to MG. Had MG known the truth,
 4     it never would have associated with or done any business with Lewis, Hankins or
 5     Drew.
 6             194. MG actually relied on the NDAs to keep its confidential information out
 7     of the hands of competitors. On that basis, MG shared confidential information and
 8     provided assistance with creating and operating Coy.
 9             195. MG’s reliance on the NDAs was justifiable in light of MG’s knowledge
10     and experience. Others associated with MG had adhered to their agreements and kept
11     information confidential. Moreover, MG believed that all parties involved stood to
12     gain from the cooperative effort.
13             196. MG has been harmed in that it was deceived into sharing its technology
14     and expertise that was ultimately used to compete directly with MG using its own
15     business model and own technology.
16             197. Given the nature of Lewis, Hankins and Drew’s fraud, as well as the
17     secretive nature of Lewis, Hankins and Drew’s business, Lewis, Hankins and Drew
18     necessarily and naturally have the complete information related to the damages they
19     have caused by stealing Plaintiff’s information and business. However, MG has been
20     harmed by at least $2.5 million, based on calculating MG’s costs over the last year to
21     develop and refine the technology, know-how and confidential information that was
22     fraudulently obtained, MG’s expected share of profit from the partnership, as well as
23     the opportunity costs associated with time spent collaborating that could have been
24     spent either on client relations or collaborating with good-faith individuals and
25     businesses.
26             198. Lewis, Hankins and Drew’s conduct was intentional, malicious, and
27     fraudulent, justifying the award of punitive and exemplary damages.
28     ///


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 1            199. MG’s reliance on Lewis, Hankins, and Drew’s false promises was and
 2     continues to be a substantial factor in causing its harm.
 3            200. As more fully set forth above, the acts of Defendants were intentional,
 4     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
 5     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
 6     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
 7     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
 8     sufficient to punish and make an example out of Defendants.
 9                               SEVENTH CAUSE OF ACTION
10                                   Fraud (California Law)
11                                          (Against Coy)
12            201. Plaintiff realleges and incorporates by reference each of the allegations
13     in paragraphs 1 through 90 set forth above.
14            202. On August 6, 2019, Coy made promises to MG in the form of a Website
15     Development Agreement with MG signed by Bartlett as CEO of Coy (the “Coy
16     WDA”). When entering into the Coy WDA, Coy never had any intention of
17     performing its end of the bargain.
18            203. Coy intended MG to rely on its misrepresentations and those made by its
19     founders prior to being incorporated, including emails, text messages, phone calls and
20     earlier NDAs signed by its founders. These promises centered largely on keeping
21     MG’s information confidential and out of the hands of competitors. Bartlett made
22     Coy’s true intention and its knowing of the falsity at the time the misrepresentations
23     were made very clear when on March 4, 2021, she posted an Instagram update where
24     she stated she always viewed Coy as a technology company first. See supra ¶ 87.
25     Coy’s intention, as described in her post, is the exact opposite of what she represented
26     to MG. Had MG known the truth, it never would have associated with or done any
27     business with Bartlett.
28     ///


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 1            204. MG actually relied on the statements and promises made by Coy’s
 2     officers and founders, including the promises contained within the Coy WDA and the
 3     earlier NDAs. On the basis of the NDAs, the Coy WDA, as well as the various
 4     statements, texts, emails and phone calls outlined above, MG shared confidential
 5     information with Coy.
 6            205. MG’s reliance on Coy’s false statements and promises was justifiable in
 7     light of MG’s knowledge and experience. Others associated with MG had adhered to
 8     their agreements and kept information confidential. Moreover, MG believed that all
 9     parties involved stood to gain from the cooperative effort.
10            206. MG has been harmed in that it was deceived into sharing its technology
11     and expertise that was ultimately used to compete directly with MG using its own
12     business model and own technology.
13            207. Given the nature of Coy’s fraud and the secretive nature of Coy’s
14     business, Coy necessarily and naturally has the complete information of damage it
15     has caused from stealing Plaintiff’s information and business. However, MG has been
16     harmed by at least $2.5 million, based on calculating MG’s costs over the last year to
17     develop and refine the technology, know-how and confidential information that was
18     fraudulently obtained, MG’s expected share of profit from the partnership, as well as
19     the opportunity costs associated with time spent collaborating that could have been
20     spent either on client relations or collaborating with good-faith individuals and
21     businesses.
22            208. Coy’s conduct was intentional, malicious and fraudulent, justifying the
23     award of punitive and exemplary damages.
24            209. MG’s reliance on Coy’s false statements and promises was and
25     continues to be a substantial factor in causing its harm.
26            210. As more fully set forth above, the acts of Defendants were intentional,
27     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
28     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the


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 1     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
 2     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
 3     sufficient to punish and make an example out of Defendants.
 4                               EIGHTH CAUSE OF ACTION
 5                                  Breach of Fiduciary Duty
 6         (Against Jessica Bartlett, Corey Lewis, Robert Hankins, and Thomas Drew)
 7             211. Plaintiff realleges and incorporates by reference each of the allegations
 8     in paragraphs 1 through 90 set forth above.
 9             212. Bartlett, Lewis, Hankins and Drew each, knowingly or unknowingly,
10     entered into a partnership and/or joint venture with MG in May 2020 by entering into
11     an agreement whereby: (1) MG shared in the management and control of the
12     partnership and/or venture, including by making hiring decisions and exercising
13     control over the technology and creative design used; (2) MG contributed valuable
14     services, such as providing technology and creating the websites. MG also offered
15     technical expertise, industry expertise, and business expertise; and (3) MG shared in
16     the profits by receiving a portion of each website subscriber’s monthly subscription
17     fee and a portion of each individual sale of premium content.8
18             213. The parties’ intent was clear, as Bartlett and Lewis frequently referred
19     to MG as their partner and described their relationship as a partnership. They also
20     introduced Nick to third parties as their “technology partner.”
21             214. Even after the contract between MG and Coy was signed in August
22     2020, Bartlett, Lewis and Nick all referred to their relationship as a “partnership.”
23             215. As partners and/or joint venturers with MG, Bartlett, Lewis, Hankins
24     and Drew each owed MG fiduciary duties of care, loyalty and good faith.
25             216. Bartlett, Lewis, Hankins and Drew each breached their fiduciary duties,
26     including care, loyalty, and good faith owed to MG by concealing their true motives
27
       8
            Additionally, the existence of a partnership has been judicially admitted by
28
       Defendants and/or is subject to judicial estoppel.

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 1     and goals, leveraging the trust engendered by the partnership and/or joint venture
 2     with MG in order to obtain knowledge and skills and by ultimately creating a business
 3     expressly designed to compete directly against their partner/joint venturer, MG.
 4            217. By entering into a partnership and/or joint venture with MG under false
 5     pretenses, Bartlett, Lewis, Hankins and Drew breached their fiduciary duties of care
 6     and loyalty owed to MG the instant those duties came into being.
 7            218. The breaches of fiduciary duties by Bartlett, Lewis, Hankins and Drew
 8     have actually and proximately caused harm to MG.
 9            219. Since the above-described breaches are breaches of fiduciary duties,
10     including care, loyalty and good faith (which includes candor), the breach is
11     inherently secretive, which makes the full extent of the damage known only to
12     Bartlett, Lewis, Hankins and Drew absent discovery. However, MG has been harmed
13     by at least $2.5 million, based on calculating MG’s costs and opportunity costs
14     cooperating in good faith with partners who have breached their fiduciary duties to
15     harm MG for their own benefit.
16            220. As more fully set forth above, the acts of Defendants were intentional,
17     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
18     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
19     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
20     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
21     sufficient to punish and make an example out of Defendants.
22                                NINTH CAUSE OF ACTION
23                                  Breach of Fiduciary Duty
24                                         (Against Coy)
25            221. Plaintiff realleges and incorporates by reference each of the allegations
26     in paragraphs 1 through 90 set forth above.
27            222. Coy and MG entered into a partnership or joint venture by entering into
28     an agreement whereby: (1) MG shared in the management and control of the


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 1     partnership and/or venture, including by making hiring decisions and exercising
 2     control over the technology and creative design used; (2) MG contributed valuable
 3     services, such as providing technology and creating the websites. MG also offered
 4     technical expertise, industry expertise, and business expertise; and (3) MG shared in
 5     the profits by receiving a portion of each website subscriber’s monthly subscription
 6     fee and a portion of each individual sale of premium content.9
 7            223. The parties’ intent was clear, as Bartlett and Lewis frequently referred
 8     to MG as their partner and described Coy’s relationship with MG as a partnership.
 9     They also introduced MG to third parties as Coy’s “technology partner.”
10            224. The partnership was originally formed in May 2020, and the fiduciary
11     breaches at issue took place both before and after the contract between Coy and MG
12     was signed in August 2020. The language in the contract between MG and Coy could
13     not eliminate the reality of the partnership that existed when all parties involved
14     behaved and continued as though there were in fact a partnership. For example, even
15     after the contract between MG and Coy was signed in August 2020, Defendants and
16     MG still referred to their relationship as a “partnership.”
17            225. As partners and/or joint venturers with MG, Coy owed MG fiduciary
18     duties of care and loyalty.
19            226. Coy breached its fiduciary duties, including care, loyalty and good faith
20     owed to MG by concealing its true motives and goals, leveraging the trust engendered
21     by the partnership and/or joint venture with MG in order to obtain knowledge and
22     skills and by ultimately becoming a direct competitor against its partner/joint
23     venturer, MG.
24            227. By entering into a partnership and/or joint venture with MG under false
25     pretenses, Coy breached its fiduciary duties of care, loyalty and good faith owed to
26     MG the instant those duties came into being.
27
       9
            Additionally, the existence of a partnership has been judicially admitted by
28
       Defendants and/or is subject to judicial estoppel.

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 1            228. The breaches of fiduciary duties by Coy have actually and proximately
 2     caused harm to MG.
 3            229. Since the above-described breaches are breaches of fiduciary duties,
 4     including care, loyalty, and good faith (which includes candor), the breach is
 5     inherently secretive, which makes the full extent of the damage known only to Coy
 6     absent discovery. However, MG has been harmed by at least $2.5 million, based on
 7     calculating MG’s costs and opportunity costs cooperating in good faith with partners
 8     who have breached their fiduciary duties to harm MG for their own benefit.
 9            230. As more fully set forth above, the acts of Defendants were intentional,
10     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
11     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
12     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
13     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
14     sufficient to punish and make an example out of Defendants.
15                                TENTH CAUSE OF ACTION
16                                          Conversion
17                                   (Against All Defendants)
18            231. Plaintiff incorporates by reference in this cause of action each allegation
19     of the preceding paragraphs as though fully set forth herein.
20            232. Plaintiff is the rightful owner of trade secrets provided to Defendants
21     The Coy Collective, Bartlett, Drew, Hankin and Lewis under a confidentiality
22     agreement set forth in the WDA. Those trade secrets were knowingly and
23     intentionally transferred to Defendants TMW Labs, Inc., Silk, Geller and The Sheth
24     Sangreal Foundation and Lopez.
25            233. Defendants and each of them substantially interfered with Plaintiff’s
26     property by knowingly and intentionally refusing to return Plaintiff’s trade secrets
27     and to refrain from further use, circulation, “rebuilding”, repurposing or in any way
28     utilizing those trade secrets. Instead, Defendants and each of them concocted a


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 1     scheme to transfer the trade secrets to a third party corporation TMW Labs, Inc. that,
 2     prior to discovery of the scheme, was a third party to this litigation and would not
 3     have been bound by any subsequent judgment.
 4            234. Plaintiff did not consent to the misappropriation of its trade secrets or
 5     the transfer thereof;
 6            235. The misappropriation of Plaintiff’s trade secrets has caused irreparable
 7     harm to Plaintiff; and
 8            236. Defendants’ conduct, and each of them, was the substantial factor in
 9     causing the subject irreparable harm.
10            237. As more fully set forth above, the acts of Defendants were intentional,
11     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
12     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
13     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
14     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
15     sufficient to punish and make an example out of Defendants.
16                              ELEVENTH CAUSE OF ACTION
17                     Intentional Interference with Contractual Relations
18                                   (Against All Defendants)
19            238. Plaintiff incorporates by reference in this cause of action each allegation
20     of the preceding paragraphs as though fully set forth herein.
21            239. Plaintiff claims that Defendants intentionally interfered with Plaintiff’s
22     contractual relationships with its clients as alleged above which were intended to
23     convey a future economic benefit to Plaintiff;
24            240. Defendants and each of them knew the existence of these contracts with
25     third party clients;
26            241. Defendants and each of them prevented performance or made
27     performance more expensive or difficult by attempting to interfere in Plaintiff’s
28     contractual relationships with its third party client;


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 1            242. Defendants and each of them intended to disrupt the performance of
 2     these contracts and knew that disruption of the performance of these contracts we're
 3     likely to occur;
 4            243. The misappropriation of Plaintiff’s trade secrets has caused irreparable
 5     harm to Plaintiff; and
 6            244. Defendants’ conduct, and each of them, was the substantial factor in
 7     causing the subject irreparable harm.
 8            245. As more fully set forth above, the acts of Defendants were intentional,
 9     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
10     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
11     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
12     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
13     sufficient to punish and make an example out of Defendants.
14            246. As more fully set forth above, the acts of Defendants were intentional,
15     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
16     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
17     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
18     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
19     sufficient to punish and make an example out of Defendants.
20                               TWELVTH CAUSE OF ACTION
21                        Negligent Interference with Contractual Relations
22                                    (Against All Defendants)
23            247. Plaintiff incorporates by reference in this cause of action each allegation
24     of the preceding paragraphs as though fully set forth herein.
25            248. Plaintiff claims that Defendants negligently interfered with Plaintiff’s
26     contractual relationships with its clients as alleged above which were intended to
27     convey a future economic benefit to Plaintiff;
28     ///


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 1            249. Defendants and each of them knew the existence of these contracts with
 2     third party clients;
 3            250. Defendants and each of them prevented performance or made
 4     performance more expensive or difficult by attempting to interfere in Plaintiff’s
 5     contractual relationships with its third party client;
 6            251. Defendants and each of them intended to disrupt the performance of
 7     these contracts and knew that disruption of the performance of these contracts we're
 8     likely to occur;
 9            252. The misappropriation of Plaintiff’s trade secrets has caused irreparable
10     harm to Plaintiff; and
11            253. Defendants’ conduct, and each of them, was the substantial factor in
12     causing the subject irreparable harm.
13                               THIRTEENTH CAUSE OF ACTION
14                            Fraudulent Transfer (Cal. Civ. Code § 3439)
15         (Against Defendant Coy, Lewis, Drew, Silk, Geller, The Sheth Sangreal
16                             Foundation, TMW Labs, Inc. and Lopez)
17            254. Plaintiff incorporates by reference in this cause of action each allegation
18     of the preceding paragraphs as though fully set forth herein.
19            255. California Civil Code § 3439.04(a) states as follows: A transfer made or
20     obligation incurred by a debtor is voidable as to a creditor, whether the creditor’s
21     claim arose before or after the transfer was made or the obligation was incurred, if
22     the debtor made the transfer or incurred the obligation as follows: (1) With actual
23     intent to hinder, delay, or defraud any creditor of the debtor.
24            256. Plaintiff is defined as a “creditor” pursuant to Civil Code § 3439(c) and
25     a “person who has a claim” against Defendants.
26            257. Plaintiff is the rightful owner of trade secrets at issue in this litigation.
27            258. Defendants Transferred those trade secrets in the possession of
28     Defendants The Coy Collective, The Sheth Sangreal, Geller, Lewis, Drew and Silk


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 1     to Defendants TMW Labs, Inc., Geller, Silk, Lewis, Drew and Lopez viz. by
 2     establishing a shell corporation with all of the same principal owners, exectives,
 3     directors, officers, investors, board members, advisors and/or agents.
 4            259. In or around January 2023, Defendants and each of them conspired to
 5     unlawfully transfer plaintiffs trade secrets to a third party to this action and newly-
 6     created corporation, TMW Labs, Inc. which is owned, in whole or in part, and/or
 7     controlled by its executives, officers, directors and board members identified as
 8     Defendants Silk, Geller, Lopez, Lewis and Drew as it became reasonably apparent
 9     that The Coy Collective would be ultimately held responsible for Plaintiff’s damages
10     attorneys’ fees and costs related to this litigation and the misappropriation of its trade
11     secrets.
12            260. In or around January 2023, Plaintiff’s trade secrets were actually
13     transferred to TMW Labs, Inc. which was identified as the only valuable asset within
14     The Coy Collective’s business model.
15            261. The subject transfer of Plaintiff’s trade secret tended to hinder, delay
16     and/ or defraud Plaintiff as the transfer was done during the pendency of this litigation
17     with full knowledge by all Defendants and related third parties as to the allegations
18     set forth therein;
19            262. The misappropriation of Plaintiff’s trade secrets has caused irreparable
20     harm to Plaintiff; and
21            263. Defendants’ conduct, and each of them, was the substantial factor in
22     causing the subject irreparable harm.
23            264. As more fully set forth above, the acts of Defendants were intentional,
24     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
25     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
26     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
27     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
28     sufficient to punish and make an example out of Defendants.


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 1            265. A temporary and final injunction to prevent or restrain further
 2     infringement and misappropriation of Plaintiff’s trade secrets.
 3                            FOURTEENTH CAUSE OF ACTION
 4                   Unfair Business Practices (Bus. & Prof. Code § 17200)
 5                                   (Against All Defendants)
 6            266. Plaintiff incorporates by reference in this cause of action each allegation
 7     of the preceding paragraphs as though fully set forth herein.
 8            267. Defendants and each of them violated Penal Code § 496 which provides
 9     as follows: (a) Every person who buys or receives any property that has been stolen
10     or that has been obtained in any manner constituting theft or extortion, knowing the
11     property to be so stolen or obtained, or who conceals, sells, withholds, or aids in
12     concealing, selling, or withholding any property from the owner, knowing the
13     property to be so stolen or obtained, shall be punished by imprisonment in a county
14     jail for not more than one year, or imprisonment pursuant to subdivision (h) of
15     Section 1170…. (c) Any person who has been injured by a violation of subdivision
16     (a) or (b) may bring an action for three times the amount of actual damages, if any,
17     sustained by the plaintiff, costs of suit, and reasonable attorney’s fees.
18            268. As a result of Defendants’ wrongful conduct, Plaintiff has suffered and
19     continues to suffer monetary harm in an amount to be determined at trial.
20            269. Defendants have admitted that the value of the asset transferred from
21     The Coy Collective to TMW Labs, Inc. is valued, at a minimum, of $1.3 million.
22            270. As more fully set forth above, the acts of Defendants were intentional,
23     malicious, wanton, oppressive and fraudulent, with conscious disregard for Plaintiff’s
24     rights and with the intent to vex, injure, punish and annoy Plaintiff so as to cause the
25     injuries sustained by Plaintiff, within the meaning of California Civil Code §3294.
26     Plaintiff is therefore entitled to punitive or exemplary damages in an amount
27     sufficient to punish and make an example out of Defendants.
28     ///


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 1                              FIFTEENTH CAUSE OF ACTION
 2                                       Declaratory Relief
 3                                   (Against All Defendants)
 4            271. Plaintiff incorporates by reference in this cause of action each allegation
 5     of the preceding paragraphs as though fully set forth herein.
 6            272. An actual controversy exists between Plaintiff on the one hand and
 7     Defendants, on the other hand, in that Plaintiff contends that Defendants were bound
 8     by the confidentiality provision of the WDA which was negligently and intentionally
 9     violated in order to compete with Plaintiff and interference with its contractual and
10     prospective business relations.
11            273. Defendants deny the aforesaid contentions of Plaintiff.
12            274. Plaintiff requests a declaration from this Court that each defendant is
13     liable to plaintiff for the allegations set forth herein. Such a determination is
14     appropriate and necessary in that Plaintiff have no adequate or speedy remedy at law
15     and the requested judicial declaration will avoid a multiplicity of suits, result in
16     judicial economy, and further the interests of justice.
17                                   PRAYER FOR RELIEF
18           WHEREFORE, Plaintiff prays for the following relief:
19                               ON THE FIRST CAUSE OF ACTION
20           1.     Compensatory damages according to proof at trial;
21           2.     Disgorgement of profits due to unjust enrichment;
22           3.     Punitive and exemplary damages as awarded at trial pursuant to 18
23           U.S.C. § 1836(b)(3)(C);
24           4.     A temporary and final injunction to prevent or restrain further
25           infringement and misappropriation of Plaintiff’s trade secrets;
26           5.     A reasonable royalty;
27           6.     Plaintiff’s costs, including reasonable attorneys’ fees, pursuant to U.S.C.
28           § 1836(b)(3)(D);


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 1                            ON THE SECOND CAUSE OF ACTION
 2          7.    Expectation damages exceeding $1.5 million;
 3          8.    A temporary and final injunction to prevent or restrain further use and
 4          disclosure of Plaintiff’s intellectual property and confidential information;
 5          9.    Plaintiff’s costs, including reasonable attorneys’ fees, as provided by the
 6          contract;
 7                             ON THE THIRD CAUSE OF ACTION
 8          10.   Expectation damages exceeding $75,000;
 9          11.   A temporary and final injunction to prevent or restrain further use and
10          disclosure of Plaintiff’s intellectual property and confidential information;
11          12.   Plaintiff’s costs, including reasonable attorneys’ fees, as provided by the
12          contract;
13                         ON THE FOURTH CAUSE OF ACTION
14          13.   Expectation damages exceeding $2.5 million;
15          14.   A temporary and final injunction to prevent or restrain further use and
16          disclosure of Plaintiff’s intellectual property and confidential information;
17          15.   Plaintiff’s costs, including reasonable attorneys’ fees, as provided by the
18          contract;
19          16.   Reasonable royalties;
20                              ON THE FIFTH CAUSE OF ACTION
21          17.   Damages according to proof but of no less than $2.5 million;
22          18.   Punitive and exemplary damages as awarded at trial;
23                             ON THE SIXTH CAUSE OF ACTION
24          19.   Damages according to proof but of no less than $2.5 million;
25          20.   Punitive and exemplary damages as awarded at trial;
26                            ON THE SEVENTH CAUSE OF ACTION
27          21.   Damages according to proof but of no less than $2.5 million;
28


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 1          22.   Punitive and exemplary damages as awarded at trial;
 2                            ON THE EIGTH CAUSE OF ACTION
 3          23.   Compensatory damages according to proof but of no less than $2.5
 4          million;
 5          24.   Punitive and exemplary damages as awarded at trial;
 6          25.   Disgorgement of profits;
 7                            ON THE NINTH CAUSE OF ACTION
 8          26.   Compensatory damages according to proof but of no less than $2.5
 9          million;
10          27.   Punitive and exemplary damages as awarded at trial;
11          28.   Disgorgement of profits;
12                        ON THE TENTH CAUSE OF ACTION
13          29.   Compensatory damages according to proof but of no less than $2.5
14          million;
15          30.   Punitive and exemplary damages as awarded at trial;
16                      ON THE ELEVENTH CAUSE OF ACTION
17          31.   Compensatory damages according to proof but of no less than $2.5
18          million;
19          32.   Punitive and exemplary damages as awarded at trial;
20          33.   Disgorgement of profits;
21                      ON THE TWELVTH CAUSE OF ACTION
22          34.   Compensatory damages according to proof but of no less than $2.5
23          million;
24          35.   Disgorgement of profits;
25                     ON THE THIRTEENTH CAUSE OF ACTION
26          36.   Compensatory damages according to proof but of no less than $2.5
27          million;
28          37.   Punitive and exemplary damages as awarded at trial;


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 1           38.   Disgorgement of profits;
 2           39.   Reasonable attorneys’ fees and costs;
 3                      ON THE FOURTEENTH CAUSE OF ACTION
 4           40.   Compensatory damages according to proof but of no less than $2.5
 5                 million;
 6           41.   Punitive and exemplary damages as awarded at trial;
 7           42.   Treble damages;
 8           43.   Disgorgement of profits;
 9           44.   Reasonable attorneys’ fees and costs;
10                        ON THE FIFTEENTH CAUSE OF ACTION
11           45.   That Defendants be held to have duties to Plaintiff in this action
12           consistent with the WDA;
13           46.   That the rights, duties and obligations between Plaintiff and Defendants
14           be fully determined by this Court; and
15           47.   That Plaintiff be granted such other and further relief as this Court may
16           deem just and proper
17                               ON THE ALL CAUSES OF ACTION
18           1.    Costs of suit incurred herein;
19           2.    Pre- and post-judgment interest; and
20           3.    Such other and further relief as the Court may deem just and proper.
21
22                               DEMAND FOR JURY TRIAL
23           Plaintiff hereby demands a jury trial on all issues so triable pursuant to Fed. R.
24     Civ. P. 38 and the Seventh Amendment to the U.S. Constitution.
25     ///
26     ///
27     ///
28     ///


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 1     Respectfully submitted,
 2
 3     DATED: September 1, 2023           BY: Gerard Fox Law, P.C.
 4
 5
 6                                         Gerard P. Fox
                                           Cirstan Fitch
 7                                         Attorneys for Plaintiff McCandless
 8                                         Group, LLC
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          EXHIBIT – A –
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                                           WEBSITE DEVELOPMENT AGREEMENT

                THIS AGREEMENT (“Agreement”) is entered into as of the date on the signature page
                (the “Effective Date”) by and between McCandless Group, LLC, with its principal place
                of business located at 3141 Michelson Drive #1307, Irvine, CA 92612 (the (“Developer”)
                and Jessica Marie Bartlett with a principal place of business located at 550 North
                Figueroa Street #5027, Los Angeles, CA 90012 (the “Customer” or “you” or “your”) each
                individually a “Party” and collectively the “Parties.”

                      WHEREAS, Developer is engaged in the business of website and software
                development.

                       WHEREAS, Customer wishes to utilize the services of Developer in connection
                with the development of software identified as the Jessica Marie Bartlett Website (the
                “Website”).

                       NOWTHEREFORE, in consideration of the promises and other good and
                valuable consideration, the sufficiency and receipt of which are hereby acknowledged,
                the parties agree as follows:

                1.    Services. Subject to the terms and conditions of this Agreement, the Customer
                hereby retains Developer to perform the services set out below (“Services” or “Work”).

                1.1      General.

                       a.    Developer will perform the services of website development and support
                of the Website according to specifications set forth therein (the “Website”).

                      b.     The Website will be for Customer’s brand that allows the Customer to
                provide exclusive content to the Customer’s audience through the Website.

                      c.      Customer will cooperate with Developer’s reasonable requests for
                information, content, and data necessary for the completion of the Website.

                1.2      Services to be provided:

                      a.      The Developer will provide the Customer with a Website that provides
                support for exclusive content of the Customer including both photos and videos that are
                made exclusive to those subscribed by paying for a subscription. Subscribers will also
                have the ability to chat with the Customer through the website.

                        b.     The design and interface of the Website will follow the template assigned
                to it by the Developer.

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                     c.    The Customer guarantees that the Developer will be supplied with the
              Work to be completed.

                      d.    The Website shall contain a statement substantially similar to “Powered
                by McCandless Group” and such copyright and trademark notices as the Developer
                reasonably believes are appropriate.

                       e.      The Developer will be providing the Product “AS-IS” and no custom
                development will be included under this Agreement excepting that included in the
                functionalities above. Any maintenance, repair, modification, upgrade or enhancement
                of the Website shall be pursuant to a separate mutually acceptable written agreement
                between the Customer and the Developer.

                       f.    It is understood and agreed that the Customer will use the Website and its
                content to promote their exclusive content with the purpose of monetizing the
                Customer’s fans and shall not be used for any other purposes without written permission
                from the Developer.

                2.       Compensation.

                2.1   In consideration of the Services to be provided by Developer to the Customer
                hereunder, the Customer shall pay to Developer the following compensation
                (“Compensation”):

                      a.         Fifteen percent (15%) of the Gross Revenue collected from the Website in
                perpetuity.

                                (i)   Developer shall be responsible for collecting sales charges
                         generated from the Website and shall remit Customer’s eighty-five percent (85%)
                         of the Gross Revenue (a “Distribution”).

                               (ii)  Distributions shall be made no later than on the end of the first (1st)
                         week of each month for the amount owed as a result of the prior months’ sales.

                               (iii)  Developer shall provide Customer with access to the reporting
                         software used to track revenue.

                2.2      “Gross Revenue” shall mean:

                         a.      All sales collected by Developer from the Website of any kind.

                       b.   All sales generated from social media and other sites which Customer
                uses to market products and services offered on the Website.

                3.       Term and Termination.

                3.1    This Agreement shall commence on the Effective Date and shall continue for a
                period of twelve (12) months (the “Initial Term”) and shall renew for successive twelve

                                                                                                          
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              (12) month periods (each a “Renewal Term”) unless terminated by either party by
              providing written notice to the other Party no less than ninety (90) days prior to
              Renewal Period of its intent to not renew the Agreement.

                3.2     Customer may not terminate this Agreement at any time, for any reason, during
                the Initial Term. Any such termination shall be a material breach of this Agreement for
                which Developer may collect damages including those liquidated damages as stated
                below.

                3.3    Customer grants exclusivity to the Developer by the Customer and shall not
                provide for any subscription services using any other means rather than the Website to
                be developed for the period of twelve (12) months after the Website’s launch date and
                for any Renewal Period.


                4.     Relationship of the Parties. The Developer is and shall remain an
                independent contractor of the Customer and nothing contained in this Agreement shall
                be deemed to create an employer/employee, principal/agent, partnership or joint
                venture relationship between the parties. The Customer shall not provide the
                Developer with any benefits that the Customer may provide to its employees and shall
                not be required to withhold income taxes on, or to pay payroll taxes with respect to, the
                sums to be paid to the Developer hereunder. The Developer agrees that he shall be
                solely responsible for all excise, self-employment and other taxes relating to the
                receipt of payments hereunder. As an independent contractor, it is expressly agreed
                that the Developer operates at his/her own expense and risk. The Developer is not
                authorized to execute any agreements, make any changes in any agreements, incur or
                assume any obligations, liabilities or responsibilities, or perform any other act in the
                name of or on behalf of the Customer. Each party shall have the obligation to
                supervise, manage, contract, direct, procure, pay, perform or cause to be performed
                all work and other obligations to be performed by such party pursuant to the terms of
                this Agreement and shall be liable for the acts or omissions of its or his/her employees
                and agents in performing its or his/her respective obligations or exercising its or his/her
                respective rights hereunder.

                5.       Confidential Information.

                5.1     Definition of Confidential Information. For the purposes of this Agreement,
                “Confidential Information” means any information disclosed by either party to the other
                party, either directly or indirectly, in writing, orally or by inspection of tangible objects
                which is designated or described by the disclosing party as “Confidential,” “Proprietary”
                or some similar designation, or which should reasonably be understood by the
                receiving party, because of the circumstances of disclosure or the nature of the
                information itself to be confidential or proprietary to the disclosing party. Confidential
                Information shall include, but not be limited to, the pricing and payment terms
                contained in this Agreement. In the event Developer is included in any image, video or
                content posted by Customer in Customer’s Content, Customer shall maintain
                identification of Developer confidential and may not under any circumstances disclose
                Developer’s identity. Confidential Information may also include information disclosed to

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              a receiving party by third parties on behalf of the disclosing party. Confidential
              Information shall not include any information which (i) is publicly known through no
              action or inaction of the receiving party; (ii) was already in the possession of the
              receiving party at the time of disclosure without an obligation of confidentiality, direct or
              indirect, to the disclosing party; (iii) is obtained by the receiving party from an
              independent third party without a breach of such third party’s obligations of
              confidentiality; or (iv) is independently developed by the receiving party without use of
              or reference to materials provided by the disclosing party.

                5.2     Non-use and Nondisclosure. Each party agrees that it will not use any
                Confidential Information of the other party for any purpose except for the purpose of
                this Agreement. Each party agrees that it will not disclose any of the other party’s
                Confidential Information to anyone except for such party’s own directors, officers,
                employees, and attorneys who are required to have the information in connection with
                the purpose of this Agreement (“Representatives”). In the event that a receiving party
                is required by law to disclose Confidential Information obtained from the disclosing
                party, the receiving party shall give the disclosing party prompt written notice of such
                requirement as soon as possible prior to such disclosure and shall provide the
                disclosing party with assistance in obtaining an order protecting the information from
                disclosure.

                5.3    Each party agrees that it shall take reasonable measures to protect the secrecy
                of and avoid the disclosure and the unauthorized use of the other party’s Confidential
                Information. Without limiting the foregoing, each party shall take at least those
                measures that it takes to protect its own most highly confidential information and shall
                ensure that each of its Representatives who have access to the other party’s
                Confidential Information has signed a non-use and nondisclosure agreement in
                content similar to the provisions hereof, prior to any disclosure of Confidential
                Information to such Representative. Neither party shall make any copies of the other
                party’s Confidential Information without the disclosing party’s prior written consent.

                5.4    Term of Confidentiality. The term of this Confidentiality Section shall remain in
                effect until terminated by either party with written notice to the other party, but such
                termination shall have no effect on either party’s obligations hereunder with respect to
                Confidential Information already disclosed. The obligations of each receiving party
                hereunder as to any Confidential Information shall continue in perpetuity from the date
                such Confidential Information is disclosed or if applicable until such information is no
                longer a trade secret of the disclosing party, whichever occurs last, and shall survive
                termination of this Agreement.

                6.       Ownership of Intellectual Property.

                6.1     Except as may be otherwise granted herein, title to and ownership of all
                intellectual property rights including, without limitation, any patent, trademark,
                copyright or intellectual or industrial property right (the “Developer Intellectual
                Property”) relating to the Software shall at all times remain with Developer. Customer
                expressly acknowledges that it does not have and shall not, by virtue of this
                Agreement, acquire any title or proprietary rights whatsoever of any kind in or over the

                                                                                                          
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              Software or any improvements, updates, adaptation, modification, research,
              development, derivation, addition, extension, changes, or other Developer Intellectual
              Property related to the Software.

                6.2    Developer hereby grants to Customer a perpetual, non-exclusive, non-
                transferable, royalty-free, worldwide right to use the Software for those purposes
                intended by this Agreement.

                6.3     Customer reserves all its respective rights, title, and ownership in its respective
                intellectual property owned or developed independently of this Agreement, including
                images, videos, written content and other personal content (“Customer Intellectual
                Property”). Developer expressly acknowledges that it does not have and shall not, by
                virtue of this Agreement, acquire any title or proprietary rights whatsoever of any kind
                in or over Customer Intellectual Property.

                6.4    Developer may use, reproduce and copy Customer Intellectual Property for the
                purposes of planning, operating, managing, optimizing, implementing and maintaining
                the Website, subject to the maintenance of confidentiality in accordance with Section 5
                herein.

                7.       Customer Content.
                7.1    All Content on the Website is the sole responsibility of the person who originated
                such content. All Content transmitted by Customer is at Customer’s own risk and
                Customer is solely responsible and liable for any damage or loss to resulting therefrom.
                Developer reserves the right to remove any objectionable Content in their sole
                discretion.
                7.2     Customer understands that by providing Content in connection with the Service
                Customer hereby grants Developer a non-exclusive, worldwide, royalty free, perpetual,
                irrevocable, sublicensable and transferable right to fully exploit such Content (including
                all related intellectual property rights) in connection with Developer’s business.
                8.       Customer Representations.
                8.1    Customer will use the Website and its content to promote their exclusive content
                with the purpose of monetizing the Customer’s followers and shall not be used for any
                other purposes without written permission from the Developer.
                8.2     Customer shall post unique content on the Website at least one (1) time daily,
                five (5) days a week, for the subscribers for the life of the term.
                8.3   Customer commits themselves to promote the Website and its content at least
                one (1) time weekly on social media for the life of the term.
                8.4     Customer will include the url to the Website in the bio of their social media
                accounts for the life of the term. Customer has the right to include other links in the bio
                in the case of a brand deal with such requirement.
                8.5   Customer will be using the following social media channel for all of the social
                media promotions mentioned above:


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                     a.   Instagram: @jessicambartlett

                         b.    Should the name of the Customer’s account be changed, this name will
                         be deemed to have been recognized and valid within this agreement along with
                         the new account name.

                8.6    In the event Customer fails to deliver any of the requirements as contained in
                Sections 8.1 – 8.5, Customer shall pay to Developer the amount of Seven Thousand
                Five Hundred Dollars ($7,500) in liquidated damages upon notice from Developer of
                such failure without the curing of such within five (5) days. This right to cure shall be
                available to Customer one (1) time and thereafter no right to cure shall exist following a
                second (2nd) failure to adhere to the above obligations.
                8.7   Customer warrants and represents that all information as contained in the
                attached ADULT MODEL RELEASE: 2257 COMPLIANT FORM is true and accurate.

                9.      Indemnity. At all times, Customer shall protect, indemnify, defend and hold the
                Developer, including its affiliates and subsidiaries, officers, directors, shareholders,
                members, employees, agents, representatives, successors and assigns harmless from
                and against any and all penalties, claims, losses, liabilities, damages, charges, costs
                and/or expenses (including, without limitation, attorneys’ fees and court costs) rising out
                of or resulted from or in any way or in any manner connected with or related to any acts
                or omissions or breach of this Agreement, of Customer, including but not limited to
                subsection 8.7 herein.

                10.      Warranty, Disclaimer and Limitation of Liability.

                10.1 Your use of the Service is at your sole risk. The Service and the associated
                materials and content are provided on an “as is” and “as available” basis. Except as
                otherwise expressly provided in this Agreement, Developer, its parent, subsidiary and
                other affiliated companies, and their respective officers, directors, employees, agents
                and other representatives (collectively, the “Developer Parties”), expressly disclaim all
                warranties of any kind, whether express or implied, including, but not limited to the
                implied warranties of merchantability, fitness for a purpose and non- infringement.
                Without limiting the generality of the foregoing, the Developer Parties make no
                warranty that: (i) the Service will meet your requirements; (ii) the Service will be
                uninterrupted, timely, secure, or error-free; and/or (iii) any errors in the Service will be
                corrected.
                10.2 The Developer Parties shall not under any circumstances be liable for any
                damages of any kind arising out of, in connection with or relating to the use of or
                inability to use the Service, including any liability: (i) as a publisher of information; (ii)
                for any incorrect or inaccurate information or any ‘bug’ of the Service; (iii) for any
                unauthorized access to or disclosure of your transmissions or data; (iv) for statements
                or conduct of any third party on or via the Service; (v) for any disputes between users
                of the Service or between a User of the Service and you; (vi) for lost data; (vii) cost of
                procurement of substitute products or services; (viii) for any technical malfunction that
                may arise from problems with computer systems, software code, servers, computer
                equipment, mobile phones, software, infrastructure connections or any combination

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              thereof. or (ix) for any other matter relating to the Service or any third party. This is a
              comprehensive limitation of liability that applies to all damages of any kind, including
              any direct, indirect, special, incidental or consequential damages, whether based on
              breach of contract, breach of warranty, tort (including negligence), product liability or
              otherwise, even if an individual advises the Developer Parties of the possibility of such
              damages. The limitations of liability set forth herein are fundamental elements of the
              basis of the bargain between the Developer and you. The products, information and
              services offered on and through the Service would not be provided to you without such
              limitations.
                10.3 Notwithstanding the foregoing, the sole and entire maximum liability of the
                Developer Parties for any reason, and your sole and exclusive remedy for any cause
                or claim whatsoever, shall be limited to any amounts paid by you to Developer during
                the three (3) months prior to the date any cause of action may have occurred.
                10.4 You agree that regardless of any statute or law to the contrary, any claim you
                may bring must be filed within one (1) year after the cause of action accrues or it will
                be permanently barred.
                10.5 Some jurisdictions do not allow the disclaimer of certain warranties or the
                limitation or exclusion of liability for certain types of damages. accordingly, some of the
                above disclaimers and limitations may not apply to you.
                10.6 If you are a California resident, you shall and hereby do waive California Civil
                Code Section 1542, which says: “A general release does not extend to claims which
                the creditor does not know or suspect to exist in his favor at the time of executing the
                release, which, if known by him must have materially affected his settlement with the
                debtor.”
                11.     Force Majeure. A party will be not be considered in breach or in default because
                of and will not be liable to the other party for, any delay or failure to perform its obligations
                under this agreement by reason of fire, earthquake, flood, explosion, strike, riot, war,
                terrorism, or similar event beyond that party’s reasonable control (each a “Force Majeure
                Event”). However, if a Force Majeure Event occurs, the affected party shall, as soon as
                practicable:

                      a.    Notify the other party of the Force Majeure Event and its impact on
                performance under this agreement; and

                      b.    Use reasonable efforts to resolve any issues resulting from the Force
                Majeure Event and perform its obligations under this agreement.

                12.    Governing Law, Jurisdiction. If any dispute arises under the terms of this
                Agreement, the parties agree to select a mutually agreeable neutral third party to help
                them mediate such. If mediation is unsuccessful, the Parties agree that any dispute
                shall be in all respects construed in accordance with and governed by the laws of the
                State of California without regard to conflict of law principles. Costs and fees (including
                attorneys’ fees) associated with the mediation or arbitration shall be responsibility of
                each individual party.


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              13.    Miscellaneous.

                       a.    Entire Agreement; Modification. This Agreement sets forth the entire
                agreement and understanding of the parties hereto concerning the subject matter
                hereof, and, except as otherwise specifically provided below, supersedes all prior and
                contemporaneous correspondence, agreements, arrangements and understandings,
                both oral and written, between the parties hereto concerning the subject matter hereof.
                No modification hereof shall be binding upon the parties hereto except by written
                instrument duly executed by such parties or their duly authorized representatives.

                        b.     Invalidity of Particular Provisions. If any term or provision of this
                Agreement or the application thereof to any person or circumstance shall to any extent
                be invalid or unenforceable, the other terms of this Agreement, or the application of such
                terms or provisions to persons or circumstances other than those as to which it is held
                invalid or unenforceable, shall not be affected thereby, and each term and provision of
                this Agreement shall be valid and be enforced to the fullest extent permitted by law.

                       c.     Counterparts. This Agreement may be executed in any number of
                counterparts, including electronically, each of which shall be deemed an original but all
                of which together shall constitute one and the same instrument.

                       d.    This Agreement may be delivered by email, and email copies of executed
                signature pages shall be binding as originals.

                       e.     Interpretation. The paragraph headings of this Agreement are inserted for
                convenience only and shall not constitute a part of this Agreement in construing or
                interpreting any provision hereof. Whenever the context requires, words used in the
                singular shall be construed to include the plural and vice versa, and pronouns of any
                gender shall be deemed to include and designate the masculine, feminine or neuter
                gender.

                        f.     Notices. All notices given under this Agreement must be in writing. A notice
                is effective upon receipt and shall be sent via one of the following methods: delivery in
                person, overnight courier service, certified or registered mail, postage prepaid, return
                receipt requested, or by any other means agreed to by the Parties, such as email.

                       g.    This agreement will become effective when all parties have signed it. The
                date this agreement is signed by the last party to sign it (as indicated by the date
                associated with that party’s signature) will be deemed the Execution Date of this
                agreement.

                        h.    Each party shall use all reasonable efforts to take, or cause to be taken,
                all actions necessary or desirable to consummate and make effective the transactions
                this agreement contemplates or to evidence or carry out the intent and purposes of this
                agreement.




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              IN WITNESS WHEREOF, the parties have executed this Agreement effective the date
              stated above.
              
              DEVELOPER:                              CUSTOMER:
              Business Name: McCandless Group, LLC    Business Name: Jessica Marie Bartlett

                Address: 3141 Michelson Drive, Unit 1307, Address: 550 North Figueroa Street #5027,
                Irvine, CA 92612                          Los Angeles, CA 90012

                Telephone Number: 919-791-6441               Telephone Number: 805-835-8052

                Email Address: nick@nickmccandless.com       Email Address: jbartlett@berkeley.edu




                By: _________________________                By: _________________________
                      Signature                                    Signature

                Full Name: Nicholas McCandless               Full Name: Jessica Marie Bartlett
                Title: CEO/Owner/Founder

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                Date: _________________________              Date: _________________________


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                                            EXHIBIT A

                                         ADULT MODEL RELEASE: 2257 COMPLIANT FORM
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                                            MUTUAL CONFIDENTIALITY AGREEMENT

                         THIS MUTUAL CONFIDENTIALITY AGREEMENT (this “Agreement”) is entered into
                 as of the date on the signature page (the “Effective Date”) by and between McCandless
                 Group, LLC, with its principal place of business located at 127 Bowery, Irvine, CA 92612 (the
                 “Developer”) and Jessica Bartlett with a principal place of business located at 404 Cool Valley
                 Dr, Paso Robles, CA 93446 (the “Partner” or “you” or “your”) each individually a “Party” and
                 collectively the “Parties.”

                        WHEREAS, the Parties are contemplating business transactions or a collaboration (the
                 “Proposed Transaction”) that will require each to disclose information to the other that is
                 confidential, proprietary and competitively sensitive, for example, regarding software,
                 technology, data, customers, products, processes, and business objectives (each as either a
                 “Disclosing Party” or “Receiving Party”);

                        WHEREAS, the Parties are willing to disclose said confidential and proprietary
                 information to each other according to the terms and conditions contained herein.

                        NOW, THEREFORE, in consideration of the foregoing, the mutual covenants
                 contained herein, and other good and valuable consideration, the receipt and sufficiency of
                 which is hereby acknowledged, the Parties hereby agree as follows:

                       For purposes of this Agreement, the term “Confidential Information” shall mean
                          information, directly or indirectly relating to the Disclosing Party or its affiliates,
                          shareholders, officers, directors or employees and obtained by the Receiving Party in
                          connection with its evaluation of the Proposed Transaction prior to or after the date of
                          this Agreement, (including information conceived or originated, discovered or developed
                          by the Receiving Party by reference to such information or containing such information),
                          and whether orally, in documents, through and by observation or otherwise, together
                          with all summaries, compilations, analyses, and reports created by the Receiving Party
                          from such information or that contains such information. Without limiting the intended
                          generality of the foregoing, Confidential Information shall include the Disclosing Party’s
                          existing or contemplated business, processes and services, techniques, components,
                          sales, markets, costs, profits, research, development, inventions, purchasing, staff,
                          employees, compensation, contractors, suppliers, customers, prospects, marketing,
                          pricing policies, financial information, engineering and all other data. Confidential
                          Information also includes, but is not limited to, all proposals and all information and data
                          furnished by or on behalf of the Disclosing Party or any of its Representatives (as defined
                          below).

                       The term “documents” includes, but is not limited to, writings, drawings, graphs, charts,
                          photographs, tape recordings, computer application files, disc drives, tapes, compact
                          discs, e-mail, electronic data, and other media, and data compilations in whatever form
                          recorded or stored from which information can be obtained and/or translated if
                          necessary, through detection devices, into reasonably usable form and any
                          reproductions thereof.

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                  As used in this Agreement, the term “Representative” means, as to any person, such
                          person’s wholly owned affiliates and their directors, officers, employees, agents and
                          advisers (including, without limitation, investment bankers, accountants and legal
                          counsel). As used in this Agreement, “wholly owned affiliate” shall mean, with respect
                          to any person which (a) controls such person either directly or indirectly; or (b) is
                          controlled directly or indirectly by such person; or (c) is directly or indirectly controlled by
                          a person which directly or indirectly controls such person. “Control” means, for purposes
                          of this definition of “wholly owned affiliate”, the right to exercise a majority of the voting
                          rights (with the exception of voting rights attaching to de minimis shareholdings required
                          by applicable laws to be held by other person(s)) in the appointment of the directors or
                          similar representatives on the governing body of such person or, if there are no such
                          voting rights, the power to appoint the management or otherwise direct the business or
                          determine the policy of such person. As used in this Agreement, the term “person” shall
                          be broadly interpreted to include, without limitation, any organ, ministry, agency or
                          instrumentality of any country or any other governmental, quasi-governmental or political
                          subdivision thereof; any corporation, company, partnership or joint venture; or any other
                          entity or individual. In connection with the evaluation of the Proposed Transaction, the
                          Parties are willing, in accordance with the terms and conditions of this Agreement, to
                          disclose to the each other certain proprietary confidential information relating to the
                          Proposed Transaction and the Area.

                       Subject to the immediately succeeding paragraph, unless otherwise agreed to in writing
                          by the Disclosing Party, the Receiving Party agrees: (a) to keep all Confidential
                          Information confidential and not to directly or indirectly disclose, disseminate, or reveal,
                          and to use its best efforts to prevent the use, dissemination, disclosure, or revelation of,
                          any Confidential Information to any person other than those of its Representatives who
                          are actively and directly participating in the evaluation and negotiation of the Proposed
                          Transaction or who otherwise need to know such Confidential Information for the
                          purpose of the Proposed Transaction and to cause those persons to observe the terms
                          of this Agreement; (b) not to directly or indirectly use Confidential Information for any
                          purpose other than in connection with the evaluation and negotiation of the Proposed
                          Transaction; and (c) not to disclose to any person (other than those of its
                          Representatives who are actively and directly participating in the evaluation and
                          negotiation of the Proposed Transaction or who otherwise need to know such
                          Confidential Information for the purpose of the Proposed Transaction and, in the case of
                          its Representatives, each of whom the Receiving Party will cause to observe the terms
                          of this Agreement as if he or she had been a party hereto) any information about the
                          Proposed Transaction, or the terms or conditions thereof or any facts or circumstances
                          relating thereto or the status thereof, including, without limitation, the fact that
                          Confidential Information has been or will be made available to the Receiving Party or its
                          Representatives or that discussions are taking place with respect to the Proposed
                          Transaction. The Receiving Party will be responsible for any breach of the terms of this
                          Agreement by it or its Representatives.

                       Neither Party will disclose to any person (other than those of its Representatives who
                          are actively and directly participating in the evaluation and negotiation of the Proposed
                          Transaction or who otherwise need to know such Confidential Information for the
                          purpose of the Proposed Transaction and, in the case of its Representatives, each of
                          whom the Party will cause to observe the terms of this Agreement as if he or she had
                          been a party hereto) any information about the Proposed Transaction, or the terms or

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                          conditions thereof or any facts or circumstances relating thereto or the status thereof,
                          including, without limitation, the fact that Confidential Information has been or will be
                          made available to the Parties or their Representatives or that discussions are taking
                          place with respect to the Proposed Transaction.

                        Confidential Information does not include, however, information that (a) is or becomes
                          generally available to the public other than as a result of a disclosure, act or omission by
                          the Receiving Party or its Representatives without the Disclosing Party’s consent, (b) is
                          or becomes available to the Receiving Party on a non-confidential basis from a person
                          other than the Disclosing Party or its Representatives and other than as a result of a
                          breach of an obligation of confidentiality to the Disclosing Party or its Representatives or
                          a breach of any other obligation of such person not to transmit the information to the
                          Receiving Party or any of its Representatives or (c) was known or developed
                          independently by the Receiving Party without reference to any Confidential Information,
                          or was available to the Receiving Party prior to its disclosure by the Disclosing Party.
                          The onus of establishing that any of the above exceptions applies shall in each case be
                          on the Receiving Party.

                        In the event that the Receiving Party is requested pursuant to, or required by, applicable
                          law, regulation, rule or order of a duly empowered court, tribunal or governmental entity
                          having jurisdiction over it or its Representatives, to disclose any Confidential Information,
                          the Receiving Party shall, to the extent permitted by such applicable law, regulation, rule
                          or order, provide the Disclosing Party with prompt notice of such request or requirement
                          in order to enable the Disclosing Party to seek an appropriate protective order or other
                          remedy, to consult with the Receiving Party with respect to the Disclosing Party’s taking
                          steps to resist or narrow the scope of such request or requirement, or to waive
                          compliance, in whole or in part, with the terms of this Agreement. The Receiving Party
                          will furnish only the portion of the Confidential Information that is legally required and
                          will, at the Disclosing Party’s sole expense, use its reasonable best efforts to ensure that
                          all Confidential Information and other information that is so disclosed will be accorded
                          confidential treatment by the Receiving Party thereof.

                        This Agreement does not obligate the Disclosing Party to produce any Confidential
                          Information whatsoever. In the event that the Disclosing Party chooses to produce
                          Confidential Information, this Agreement does not create a continuing obligation to
                          produce any other information or to update any information that has been previously
                          produced.

                        All documents containing, and all other tangible and intangible forms of, Confidential
                          Information, including copies thereof, shall belong to and remain the sole property of the
                          Disclosing Party. The Receiving Party shall acquire no proprietary interest in or right to
                          any of the Confidential Information absent written agreement by the Disclosing Party.

                      The Receiving Party shall not take or make copies of the Confidential Information or any
                          of it, or authorize any other person to do so, other than for the purpose of supplying the
                          Confidential Information to any of its Representatives to whom disclosure of such
                          information is permitted under the terms of this Agreement. If at any time the Disclosing
                          Party, in its sole discretion, so requests in writing, then the Receiving Party will promptly
                          deliver to the Disclosing Party all original Confidential Information with respect to the
                          relevant Proposed Transaction and promptly deliver to the Disclosing Party or destroy
                          all copies, reproductions, summaries, compilations, analyses and extracts thereof or
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         Case 2:21-cv-02069-DOC-KES    Document 179-5 Filed 09/01/23 Page 82 of 159 Page ID
                                              #:4972
                          based thereon in the possession of the Receiving Party or its Representatives, whether
                          maintained in written form or in any electronic or computerized format, and certify to the
                          Disclosing Party that all such originals have been delivered to the Disclosing Party and
                          that such destruction has occurred.

                      The Receiving Party acknowledges that neither the Disclosing Party nor any of its
                          Representatives makes any express or implied representation or warranty as to the
                          accuracy or completeness of any Confidential Information, and the Receiving Party
                          agrees that none

                          of such persons shall have any liability to the Receiving Party or any of its
                          Representatives relating to or arising from its or their use of any Confidential
                          Information or for any errors therein or omissions therefrom. The Receiving Party also
                          agrees that it is not entitled to rely on the accuracy or completeness of any Confidential
                          Information. The Receiving Party acknowledges and agrees that the Confidential
                          Information is being provided solely for the purpose of assisting its independent
                          evaluation and analysis of the Disclosing Party and its assets.

                      NOTWITHSTANDING ANY OTHER PROVISION OF THIS AGREEMENT OR LAW TO
                          THE CONTRARY, NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR ANY
                          INDIRECT, EXEMPLARY, PUNITIVE, INCIDENTAL OR CONSEQUENTIAL
                          DAMAGES, INCLUDING LOSS OF PROFITS DUE TO BUSINESS INTERRUPTIONS
                          OR OTHERWISE, IN CONNECTION WITH THIS AGREEMENT.

                      In the event of litigation relating to this Agreement, the non-prevailing Party as finally
                          determined by a court of competent jurisdiction shall be liable and pay to the other Party
                          all reasonable costs incurred by such other Party in connection therewith, including, but
                          not limited to, reasonable attorneys’ fees incurred by such other Party in connection with
                          such litigation, including any appeal therefrom.

                      It is further understood and agreed that no failure or delay by the Disclosing Party in
                          exercising or pursuing any right, power, privilege or remedy hereunder shall operate as
                          a waiver thereof, nor shall any single or partial exercise or pursuit thereof preclude any
                          other or further exercise or pursuit thereof or the exercise or pursuit of any other right,
                          power, privilege or remedy hereunder.

                      This Agreement shall be effective as of the date on the signature page (the “Effective
                          Date”) and expire on the fifth anniversary thereof. This Agreement may not be amended,
                          modified, superseded or cancelled, nor may any of the terms, covenants,
                          representations, warranties or conditions hereof be waived, except by a written
                          instrument executed by the parties.

                       If any provision of this Agreement becomes or is found to be illegal or unenforceable for
                          any reason, such clause or provision must first be modified to the extent necessary to
                          make this Agreement legal and enforceable and then if necessary, second, severed from
                          the remainder of the Agreement to allow the remainder of the Agreement to remain in
                          full force and effect.

                       This Agreement shall be governed by, and construed in accordance with, the laws of the
                          State of California.


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         Case 2:21-cv-02069-DOC-KES    Document 179-5 Filed 09/01/23 Page 83 of 159 Page ID
                                              #:4973
                 IN WITNESS WHEREOF, the Parties have executed this Agreement effective the date stated
                 above.
                 
                 DEVELOPER:                               PARTNER:
                 Business Name: McCandless Group, LLC     Business Name: Jessica Bartlett

                 Address: 127 Bowery, Irvine, CA 92612       Address: 404 Cool Valley Dr, Paso Robles, CA
                                                             93446
                 Telephone Number: 919-791-6441
                                                             Telephone Number: 805-835-8052
                 Email Address: nick@nickmccandless.com
                                                             Email Address: jessicambartlett1@gmail.com




                 By: _________________________               By: _________________________
                        Signature                                   Signature

                 Full Name: Nicholas McCandless              Full Name: Jessica Bartlett
                 Title: CEO/Owner/Founder

                                                                
                 Date: _________________________             Date: _________________________


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Case 2:21-cv-02069-DOC-KES Document 179-5 Filed 09/01/23 Page 84 of 159 Page ID
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           EXHIBIT – C –
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          Case 2:21-cv-02069-DOC-KES       Document 179-5 Filed 09/01/23 Page 85 of 159 Page ID
                                                   #:4975




                                            MUTUAL CONFIDENTIALITY AGREEMENT

                         THIS MUTUAL CONFIDENTIALITY AGREEMENT (this “Agreement”) is entered into
                 as of the date on the signature page (the “Effective Date”) by and between McCandless
                 Group, LLC, with its principal place of business located at 127 Bowery, Irvine, CA 92612 (the
                 “Developer”) and Corey Lewis with a principal place of business located at 40 Harrison St Apt
                 36 L, New York, NY 10013 (the “Partner” or “you” or “your”) each individually a “Party” and
                 collectively the “Parties.”

                        WHEREAS, the Parties are contemplating business transactions or a collaboration (the
                 “Proposed Transaction”) that will require each to disclose information to the other that is
                 confidential, proprietary and competitively sensitive, for example, regarding software,
                 technology, data, customers, products, processes, and business objectives (each as either a
                 “Disclosing Party” or “Receiving Party”);

                        WHEREAS, the Parties are willing to disclose said confidential and proprietary
                 information to each other according to the terms and conditions contained herein.

                        NOW, THEREFORE, in consideration of the foregoing, the mutual covenants
                 contained herein, and other good and valuable consideration, the receipt and sufficiency of
                 which is hereby acknowledged, the Parties hereby agree as follows:

                       For purposes of this Agreement, the term “Confidential Information” shall mean
                          information, directly or indirectly relating to the Disclosing Party or its affiliates,
                          shareholders, officers, directors or employees and obtained by the Receiving Party in
                          connection with its evaluation of the Proposed Transaction prior to or after the date of
                          this Agreement, (including information conceived or originated, discovered or developed
                          by the Receiving Party by reference to such information or containing such information),
                          and whether orally, in documents, through and by observation or otherwise, together
                          with all summaries, compilations, analyses, and reports created by the Receiving Party
                          from such information or that contains such information. Without limiting the intended
                          generality of the foregoing, Confidential Information shall include the Disclosing Party’s
                          existing or contemplated business, processes and services, techniques, components,
                          sales, markets, costs, profits, research, development, inventions, purchasing, staff,
                          employees, compensation, contractors, suppliers, customers, prospects, marketing,
                          pricing policies, financial information, engineering and all other data. Confidential
                          Information also includes, but is not limited to, all proposals and all information and data
                          furnished by or on behalf of the Disclosing Party or any of its Representatives (as defined
                          below).

                       The term “documents” includes, but is not limited to, writings, drawings, graphs, charts,
                          photographs, tape recordings, computer application files, disc drives, tapes, compact
                          discs, e-mail, electronic data, and other media, and data compilations in whatever form
                          recorded or stored from which information can be obtained and/or translated if
                          necessary, through detection devices, into reasonably usable form and any
                          reproductions thereof.

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          Case 2:21-cv-02069-DOC-KES       Document 179-5 Filed 09/01/23 Page 86 of 159 Page ID
                                                      #:4976
                   As used in this Agreement, the term “Representative” means, as to any person, such
                          person’s wholly owned affiliates and their directors, officers, employees, agents and
                          advisers (including, without limitation, investment bankers, accountants and legal
                          counsel). As used in this Agreement, “wholly owned affiliate” shall mean, with respect
                          to any person which (a) controls such person either directly or indirectly; or (b) is
                          controlled directly or indirectly by such person; or (c) is directly or indirectly controlled by
                          a person which directly or indirectly controls such person. “Control” means, for purposes
                          of this definition of “wholly owned affiliate”, the right to exercise a majority of the voting
                          rights (with the exception of voting rights attaching to de minimis shareholdings required
                          by applicable laws to be held by other person(s)) in the appointment of the directors or
                          similar representatives on the governing body of such person or, if there are no such
                          voting rights, the power to appoint the management or otherwise direct the business or
                          determine the policy of such person. As used in this Agreement, the term “person” shall
                          be broadly interpreted to include, without limitation, any organ, ministry, agency or
                          instrumentality of any country or any other governmental, quasi-governmental or political
                          subdivision thereof; any corporation, company, partnership or joint venture; or any other
                          entity or individual. In connection with the evaluation of the Proposed Transaction, the
                          Parties are willing, in accordance with the terms and conditions of this Agreement, to
                          disclose to the each other certain proprietary confidential information relating to the
                          Proposed Transaction and the Area.

                       Subject to the immediately succeeding paragraph, unless otherwise agreed to in writing
                          by the Disclosing Party, the Receiving Party agrees: (a) to keep all Confidential
                          Information confidential and not to directly or indirectly disclose, disseminate, or reveal,
                          and to use its best efforts to prevent the use, dissemination, disclosure, or revelation of,
                          any Confidential Information to any person other than those of its Representatives who
                          are actively and directly participating in the evaluation and negotiation of the Proposed
                          Transaction or who otherwise need to know such Confidential Information for the
                          purpose of the Proposed Transaction and to cause those persons to observe the terms
                          of this Agreement; (b) not to directly or indirectly use Confidential Information for any
                          purpose other than in connection with the evaluation and negotiation of the Proposed
                          Transaction; and (c) not to disclose to any person (other than those of its
                          Representatives who are actively and directly participating in the evaluation and
                          negotiation of the Proposed Transaction or who otherwise need to know such
                          Confidential Information for the purpose of the Proposed Transaction and, in the case of
                          its Representatives, each of whom the Receiving Party will cause to observe the terms
                          of this Agreement as if he or she had been a party hereto) any information about the
                          Proposed Transaction, or the terms or conditions thereof or any facts or circumstances
                          relating thereto or the status thereof, including, without limitation, the fact that
                          Confidential Information has been or will be made available to the Receiving Party or its
                          Representatives or that discussions are taking place with respect to the Proposed
                          Transaction. The Receiving Party will be responsible for any breach of the terms of this
                          Agreement by it or its Representatives.

                       Neither Party will disclose to any person (other than those of its Representatives who
                          are actively and directly participating in the evaluation and negotiation of the Proposed
                          Transaction or who otherwise need to know such Confidential Information for the
                          purpose of the Proposed Transaction and, in the case of its Representatives, each of
                          whom the Party will cause to observe the terms of this Agreement as if he or she had
                          been a party hereto) any information about the Proposed Transaction, or the terms or

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          Case 2:21-cv-02069-DOC-KES       Document 179-5 Filed 09/01/23 Page 87 of 159 Page ID
                                                   #:4977
                          conditions thereof or any facts or circumstances relating thereto or the status thereof,
                          including, without limitation, the fact that Confidential Information has been or will be
                          made available to the Parties or their Representatives or that discussions are taking
                          place with respect to the Proposed Transaction.

                        Confidential Information does not include, however, information that (a) is or becomes
                          generally available to the public other than as a result of a disclosure, act or omission by
                          the Receiving Party or its Representatives without the Disclosing Party’s consent, (b) is
                          or becomes available to the Receiving Party on a non-confidential basis from a person
                          other than the Disclosing Party or its Representatives and other than as a result of a
                          breach of an obligation of confidentiality to the Disclosing Party or its Representatives or
                          a breach of any other obligation of such person not to transmit the information to the
                          Receiving Party or any of its Representatives or (c) was known or developed
                          independently by the Receiving Party without reference to any Confidential Information,
                          or was available to the Receiving Party prior to its disclosure by the Disclosing Party.
                          The onus of establishing that any of the above exceptions applies shall in each case be
                          on the Receiving Party.

                        In the event that the Receiving Party is requested pursuant to, or required by, applicable
                          law, regulation, rule or order of a duly empowered court, tribunal or governmental entity
                          having jurisdiction over it or its Representatives, to disclose any Confidential Information,
                          the Receiving Party shall, to the extent permitted by such applicable law, regulation, rule
                          or order, provide the Disclosing Party with prompt notice of such request or requirement
                          in order to enable the Disclosing Party to seek an appropriate protective order or other
                          remedy, to consult with the Receiving Party with respect to the Disclosing Party’s taking
                          steps to resist or narrow the scope of such request or requirement, or to waive
                          compliance, in whole or in part, with the terms of this Agreement. The Receiving Party
                          will furnish only the portion of the Confidential Information that is legally required and
                          will, at the Disclosing Party’s sole expense, use its reasonable best efforts to ensure that
                          all Confidential Information and other information that is so disclosed will be accorded
                          confidential treatment by the Receiving Party thereof.

                        This Agreement does not obligate the Disclosing Party to produce any Confidential
                          Information whatsoever. In the event that the Disclosing Party chooses to produce
                          Confidential Information, this Agreement does not create a continuing obligation to
                          produce any other information or to update any information that has been previously
                          produced.

                        All documents containing, and all other tangible and intangible forms of, Confidential
                          Information, including copies thereof, shall belong to and remain the sole property of the
                          Disclosing Party. The Receiving Party shall acquire no proprietary interest in or right to
                          any of the Confidential Information absent written agreement by the Disclosing Party.

                      The Receiving Party shall not take or make copies of the Confidential Information or any
                          of it, or authorize any other person to do so, other than for the purpose of supplying the
                          Confidential Information to any of its Representatives to whom disclosure of such
                          information is permitted under the terms of this Agreement. If at any time the Disclosing
                          Party, in its sole discretion, so requests in writing, then the Receiving Party will promptly
                          deliver to the Disclosing Party all original Confidential Information with respect to the
                          relevant Proposed Transaction and promptly deliver to the Disclosing Party or destroy
                          all copies, reproductions, summaries, compilations, analyses and extracts thereof or
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          Case 2:21-cv-02069-DOC-KES       Document 179-5 Filed 09/01/23 Page 88 of 159 Page ID
                                                   #:4978
                          based thereon in the possession of the Receiving Party or its Representatives, whether
                          maintained in written form or in any electronic or computerized format, and certify to the
                          Disclosing Party that all such originals have been delivered to the Disclosing Party and
                          that such destruction has occurred.

                      The Receiving Party acknowledges that neither the Disclosing Party nor any of its
                          Representatives makes any express or implied representation or warranty as to the
                          accuracy or completeness of any Confidential Information, and the Receiving Party
                          agrees that none

                          of such persons shall have any liability to the Receiving Party or any of its
                          Representatives relating to or arising from its or their use of any Confidential
                          Information or for any errors therein or omissions therefrom. The Receiving Party also
                          agrees that it is not entitled to rely on the accuracy or completeness of any Confidential
                          Information. The Receiving Party acknowledges and agrees that the Confidential
                          Information is being provided solely for the purpose of assisting its independent
                          evaluation and analysis of the Disclosing Party and its assets.

                      NOTWITHSTANDING ANY OTHER PROVISION OF THIS AGREEMENT OR LAW TO
                          THE CONTRARY, NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR ANY
                          INDIRECT, EXEMPLARY, PUNITIVE, INCIDENTAL OR CONSEQUENTIAL
                          DAMAGES, INCLUDING LOSS OF PROFITS DUE TO BUSINESS INTERRUPTIONS
                          OR OTHERWISE, IN CONNECTION WITH THIS AGREEMENT.

                      In the event of litigation relating to this Agreement, the non-prevailing Party as finally
                          determined by a court of competent jurisdiction shall be liable and pay to the other Party
                          all reasonable costs incurred by such other Party in connection therewith, including, but
                          not limited to, reasonable attorneys’ fees incurred by such other Party in connection with
                          such litigation, including any appeal therefrom.

                      It is further understood and agreed that no failure or delay by the Disclosing Party in
                          exercising or pursuing any right, power, privilege or remedy hereunder shall operate as
                          a waiver thereof, nor shall any single or partial exercise or pursuit thereof preclude any
                          other or further exercise or pursuit thereof or the exercise or pursuit of any other right,
                          power, privilege or remedy hereunder.

                      This Agreement shall be effective as of the date on the signature page (the “Effective
                          Date”) and expire on the fifth anniversary thereof. This Agreement may not be amended,
                          modified, superseded or cancelled, nor may any of the terms, covenants,
                          representations, warranties or conditions hereof be waived, except by a written
                          instrument executed by the parties.

                       If any provision of this Agreement becomes or is found to be illegal or unenforceable for
                          any reason, such clause or provision must first be modified to the extent necessary to
                          make this Agreement legal and enforceable and then if necessary, second, severed from
                          the remainder of the Agreement to allow the remainder of the Agreement to remain in
                          full force and effect.

                       This Agreement shall be governed by, and construed in accordance with, the laws of the
                          State of California.


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          Case 2:21-cv-02069-DOC-KES       Document 179-5 Filed 09/01/23 Page 89 of 159 Page ID
                                                   #:4979
                 IN WITNESS WHEREOF, the Parties have executed this Agreement effective the date stated
                 above.
                 
                 DEVELOPER:                               PARTNER:
                 Business Name: McCandless Group, LLC     Business Name: Corey Lewis

                 Address: 127 Bowery, Irvine, CA 92612       Address: 40 Harrison St Apt 36 L, New York, NY
                                                             10013
                 Telephone Number: 919-791-6441
                                                             Telephone Number: 917-693-6384
                 Email Address: nick@nickmccandless.com
                                                             Email Address: Corey@1and1life.com




                 By: _________________________               By: _________________________
                        Signature                                   Signature

                 Full Name: Nicholas McCandless              Full Name: Corey Lewis
                 Title: CEO/Owner/Founder

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                 Date: _________________________             Date: _________________________


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          EXHIBIT – D –
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          Case 2:21-cv-02069-DOC-KES         Document 179-5 Filed 09/01/23 Page 91 of 159 Page ID
                                                     #:4981




                                             MUTUAL CONFIDENTIALITY AGREEMENT

                          THIS MUTUAL CONFIDENTIALITY AGREEMENT (this “Agreement”) is entered into
                  as of the date on the signature page (the “Effective Date”) by and between McCandless
                  Group, LLC, with its principal place of business located at 127 Bowery, Irvine, CA 92612 (the
                  “Developer”) and Robert Hankins with a principal place of business located at 909 N Croft Ave
                  #308, Los Angeles, CA 90069 (the “Partner” or “you” or “your”) each individually a “Party” and
                  collectively the “Parties.”

                         WHEREAS, the Parties are contemplating business transactions or a collaboration (the
                  “Proposed Transaction”) that will require each to disclose information to the other that is
                  confidential, proprietary and competitively sensitive, for example, regarding software,
                  technology, data, customers, products, processes, and business objectives (each as either a
                  “Disclosing Party” or “Receiving Party”);

                         WHEREAS, the Parties are willing to disclose said confidential and proprietary
                  information to each other according to the terms and conditions contained herein.

                         NOW, THEREFORE, in consideration of the foregoing, the mutual covenants
                  contained herein, and other good and valuable consideration, the receipt and sufficiency of
                  which is hereby acknowledged, the Parties hereby agree as follows:

                        For purposes of this Agreement, the term “Confidential Information” shall mean
                           information, directly or indirectly relating to the Disclosing Party or its affiliates,
                           shareholders, officers, directors or employees and obtained by the Receiving Party in
                           connection with its evaluation of the Proposed Transaction prior to or after the date of
                           this Agreement, (including information conceived or originated, discovered or developed
                           by the Receiving Party by reference to such information or containing such information),
                           and whether orally, in documents, through and by observation or otherwise, together
                           with all summaries, compilations, analyses, and reports created by the Receiving Party
                           from such information or that contains such information. Without limiting the intended
                           generality of the foregoing, Confidential Information shall include the Disclosing Party’s
                           existing or contemplated business, processes and services, techniques, components,
                           sales, markets, costs, profits, research, development, inventions, purchasing, staff,
                           employees, compensation, contractors, suppliers, customers, prospects, marketing,
                           pricing policies, financial information, engineering and all other data. Confidential
                           Information also includes, but is not limited to, all proposals and all information and data
                           furnished by or on behalf of the Disclosing Party or any of its Representatives (as defined
                           below).

                        The term “documents” includes, but is not limited to, writings, drawings, graphs, charts,
                           photographs, tape recordings, computer application files, disc drives, tapes, compact
                           discs, e-mail, electronic data, and other media, and data compilations in whatever form
                           recorded or stored from which information can be obtained and/or translated if
                           necessary, through detection devices, into reasonably usable form and any
                           reproductions thereof.

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          Case 2:21-cv-02069-DOC-KES         Document 179-5 Filed 09/01/23 Page 92 of 159 Page ID
                                                      #:4982
                   As used in this Agreement, the term “Representative” means, as to any person, such
                           person’s wholly owned affiliates and their directors, officers, employees, agents and
                           advisers (including, without limitation, investment bankers, accountants and legal
                           counsel). As used in this Agreement, “wholly owned affiliate” shall mean, with respect
                           to any person which (a) controls such person either directly or indirectly; or (b) is
                           controlled directly or indirectly by such person; or (c) is directly or indirectly controlled by
                           a person which directly or indirectly controls such person. “Control” means, for purposes
                           of this definition of “wholly owned affiliate”, the right to exercise a majority of the voting
                           rights (with the exception of voting rights attaching to de minimis shareholdings required
                           by applicable laws to be held by other person(s)) in the appointment of the directors or
                           similar representatives on the governing body of such person or, if there are no such
                           voting rights, the power to appoint the management or otherwise direct the business or
                           determine the policy of such person. As used in this Agreement, the term “person” shall
                           be broadly interpreted to include, without limitation, any organ, ministry, agency or
                           instrumentality of any country or any other governmental, quasi-governmental or political
                           subdivision thereof; any corporation, company, partnership or joint venture; or any other
                           entity or individual. In connection with the evaluation of the Proposed Transaction, the
                           Parties are willing, in accordance with the terms and conditions of this Agreement, to
                           disclose to the each other certain proprietary confidential information relating to the
                           Proposed Transaction and the Area.

                        Subject to the immediately succeeding paragraph, unless otherwise agreed to in writing
                           by the Disclosing Party, the Receiving Party agrees: (a) to keep all Confidential
                           Information confidential and not to directly or indirectly disclose, disseminate, or reveal,
                           and to use its best efforts to prevent the use, dissemination, disclosure, or revelation of,
                           any Confidential Information to any person other than those of its Representatives who
                           are actively and directly participating in the evaluation and negotiation of the Proposed
                           Transaction or who otherwise need to know such Confidential Information for the
                           purpose of the Proposed Transaction and to cause those persons to observe the terms
                           of this Agreement; (b) not to directly or indirectly use Confidential Information for any
                           purpose other than in connection with the evaluation and negotiation of the Proposed
                           Transaction; and (c) not to disclose to any person (other than those of its
                           Representatives who are actively and directly participating in the evaluation and
                           negotiation of the Proposed Transaction or who otherwise need to know such
                           Confidential Information for the purpose of the Proposed Transaction and, in the case of
                           its Representatives, each of whom the Receiving Party will cause to observe the terms
                           of this Agreement as if he or she had been a party hereto) any information about the
                           Proposed Transaction, or the terms or conditions thereof or any facts or circumstances
                           relating thereto or the status thereof, including, without limitation, the fact that
                           Confidential Information has been or will be made available to the Receiving Party or its
                           Representatives or that discussions are taking place with respect to the Proposed
                           Transaction. The Receiving Party will be responsible for any breach of the terms of this
                           Agreement by it or its Representatives.

                        Neither Party will disclose to any person (other than those of its Representatives who
                           are actively and directly participating in the evaluation and negotiation of the Proposed
                           Transaction or who otherwise need to know such Confidential Information for the
                           purpose of the Proposed Transaction and, in the case of its Representatives, each of
                           whom the Party will cause to observe the terms of this Agreement as if he or she had
                           been a party hereto) any information about the Proposed Transaction, or the terms or

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          Case 2:21-cv-02069-DOC-KES         Document 179-5 Filed 09/01/23 Page 93 of 159 Page ID
                                                     #:4983
                           conditions thereof or any facts or circumstances relating thereto or the status thereof,
                           including, without limitation, the fact that Confidential Information has been or will be
                           made available to the Parties or their Representatives or that discussions are taking
                           place with respect to the Proposed Transaction.

                         Confidential Information does not include, however, information that (a) is or becomes
                           generally available to the public other than as a result of a disclosure, act or omission by
                           the Receiving Party or its Representatives without the Disclosing Party’s consent, (b) is
                           or becomes available to the Receiving Party on a non-confidential basis from a person
                           other than the Disclosing Party or its Representatives and other than as a result of a
                           breach of an obligation of confidentiality to the Disclosing Party or its Representatives or
                           a breach of any other obligation of such person not to transmit the information to the
                           Receiving Party or any of its Representatives or (c) was known or developed
                           independently by the Receiving Party without reference to any Confidential Information,
                           or was available to the Receiving Party prior to its disclosure by the Disclosing Party.
                           The onus of establishing that any of the above exceptions applies shall in each case be
                           on the Receiving Party.

                         In the event that the Receiving Party is requested pursuant to, or required by, applicable
                           law, regulation, rule or order of a duly empowered court, tribunal or governmental entity
                           having jurisdiction over it or its Representatives, to disclose any Confidential Information,
                           the Receiving Party shall, to the extent permitted by such applicable law, regulation, rule
                           or order, provide the Disclosing Party with prompt notice of such request or requirement
                           in order to enable the Disclosing Party to seek an appropriate protective order or other
                           remedy, to consult with the Receiving Party with respect to the Disclosing Party’s taking
                           steps to resist or narrow the scope of such request or requirement, or to waive
                           compliance, in whole or in part, with the terms of this Agreement. The Receiving Party
                           will furnish only the portion of the Confidential Information that is legally required and
                           will, at the Disclosing Party’s sole expense, use its reasonable best efforts to ensure that
                           all Confidential Information and other information that is so disclosed will be accorded
                           confidential treatment by the Receiving Party thereof.

                         This Agreement does not obligate the Disclosing Party to produce any Confidential
                           Information whatsoever. In the event that the Disclosing Party chooses to produce
                           Confidential Information, this Agreement does not create a continuing obligation to
                           produce any other information or to update any information that has been previously
                           produced.

                         All documents containing, and all other tangible and intangible forms of, Confidential
                           Information, including copies thereof, shall belong to and remain the sole property of the
                           Disclosing Party. The Receiving Party shall acquire no proprietary interest in or right to
                           any of the Confidential Information absent written agreement by the Disclosing Party.

                       The Receiving Party shall not take or make copies of the Confidential Information or any
                           of it, or authorize any other person to do so, other than for the purpose of supplying the
                           Confidential Information to any of its Representatives to whom disclosure of such
                           information is permitted under the terms of this Agreement. If at any time the Disclosing
                           Party, in its sole discretion, so requests in writing, then the Receiving Party will promptly
                           deliver to the Disclosing Party all original Confidential Information with respect to the
                           relevant Proposed Transaction and promptly deliver to the Disclosing Party or destroy
                           all copies, reproductions, summaries, compilations, analyses and extracts thereof or
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          Case 2:21-cv-02069-DOC-KES         Document 179-5 Filed 09/01/23 Page 94 of 159 Page ID
                                                     #:4984
                           based thereon in the possession of the Receiving Party or its Representatives, whether
                           maintained in written form or in any electronic or computerized format, and certify to the
                           Disclosing Party that all such originals have been delivered to the Disclosing Party and
                           that such destruction has occurred.

                       The Receiving Party acknowledges that neither the Disclosing Party nor any of its
                           Representatives makes any express or implied representation or warranty as to the
                           accuracy or completeness of any Confidential Information, and the Receiving Party
                           agrees that none

                           of such persons shall have any liability to the Receiving Party or any of its
                           Representatives relating to or arising from its or their use of any Confidential
                           Information or for any errors therein or omissions therefrom. The Receiving Party also
                           agrees that it is not entitled to rely on the accuracy or completeness of any Confidential
                           Information. The Receiving Party acknowledges and agrees that the Confidential
                           Information is being provided solely for the purpose of assisting its independent
                           evaluation and analysis of the Disclosing Party and its assets.

                       NOTWITHSTANDING ANY OTHER PROVISION OF THIS AGREEMENT OR LAW TO
                           THE CONTRARY, NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR ANY
                           INDIRECT, EXEMPLARY, PUNITIVE, INCIDENTAL OR CONSEQUENTIAL
                           DAMAGES, INCLUDING LOSS OF PROFITS DUE TO BUSINESS INTERRUPTIONS
                           OR OTHERWISE, IN CONNECTION WITH THIS AGREEMENT.

                       In the event of litigation relating to this Agreement, the non-prevailing Party as finally
                           determined by a court of competent jurisdiction shall be liable and pay to the other Party
                           all reasonable costs incurred by such other Party in connection therewith, including, but
                           not limited to, reasonable attorneys’ fees incurred by such other Party in connection with
                           such litigation, including any appeal therefrom.

                       It is further understood and agreed that no failure or delay by the Disclosing Party in
                           exercising or pursuing any right, power, privilege or remedy hereunder shall operate as
                           a waiver thereof, nor shall any single or partial exercise or pursuit thereof preclude any
                           other or further exercise or pursuit thereof or the exercise or pursuit of any other right,
                           power, privilege or remedy hereunder.

                       This Agreement shall be effective as of the date on the signature page (the “Effective
                           Date”) and expire on the fifth anniversary thereof. This Agreement may not be amended,
                           modified, superseded or cancelled, nor may any of the terms, covenants,
                           representations, warranties or conditions hereof be waived, except by a written
                           instrument executed by the parties.

                        If any provision of this Agreement becomes or is found to be illegal or unenforceable for
                           any reason, such clause or provision must first be modified to the extent necessary to
                           make this Agreement legal and enforceable and then if necessary, second, severed from
                           the remainder of the Agreement to allow the remainder of the Agreement to remain in
                           full force and effect.

                        This Agreement shall be governed by, and construed in accordance with, the laws of the
                           State of California.


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          Case 2:21-cv-02069-DOC-KES         Document 179-5 Filed 09/01/23 Page 95 of 159 Page ID
                                                     #:4985
                  IN WITNESS WHEREOF, the Parties have executed this Agreement effective the date stated
                  above.
                  
                  DEVELOPER:                               PARTNER:
                  Business Name: McCandless Group, LLC     Business Name: Robert Hankins

                  Address: 127 Bowery, Irvine, CA 92612       Address: 909 N Croft Ave #308, Los Angeles,
                                                              CA 90069
                  Telephone Number: 919-791-6441
                                                              Telephone Number: 323-455-8273
                  Email Address: nick@nickmccandless.com
                                                              Email Address: Rob@iament.io




                  By: _________________________               By: _________________________
                         Signature                                   Signature

                  Full Name: Nicholas McCandless              Full Name: Robert Hankins
                  Title: CEO/Owner/Founder

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                  Date: _________________________             Date: _________________________


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           EXHIBIT – E –
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                                                    #:4987




                                            MUTUAL CONFIDENTIALITY AGREEMENT

                           THIS MUTUAL CONFIDENTIALITY AGREEMENT (this “Agreement”) is entered into
                   as of the date on the signature page (the “Effective Date”) by and between McCandless
                   Group, LLC, with its principal place of business located at 127 Bowery, Irvine, CA 92612 (the
                   “Developer”) and Thomas Drew with a principal place of business located at 565 Broome St
                   #S9C, New York, NY 10013 (the “Partner” or “you” or “your”) each individually a “Party” and
                   collectively the “Parties.”

                          WHEREAS, the Parties are contemplating business transactions or a collaboration (the
                   “Proposed Transaction”) that will require each to disclose information to the other that is
                   confidential, proprietary and competitively sensitive, for example, regarding software,
                   technology, data, customers, products, processes, and business objectives (each as either a
                   “Disclosing Party” or “Receiving Party”);

                          WHEREAS, the Parties are willing to disclose said confidential and proprietary
                   information to each other according to the terms and conditions contained herein.

                          NOW, THEREFORE, in consideration of the foregoing, the mutual covenants
                   contained herein, and other good and valuable consideration, the receipt and sufficiency of
                   which is hereby acknowledged, the Parties hereby agree as follows:

                       For purposes of this Agreement, the term “Confidential Information” shall mean
                          information, directly or indirectly relating to the Disclosing Party or its affiliates,
                          shareholders, officers, directors or employees and obtained by the Receiving Party in
                          connection with its evaluation of the Proposed Transaction prior to or after the date of
                          this Agreement, (including information conceived or originated, discovered or developed
                          by the Receiving Party by reference to such information or containing such information),
                          and whether orally, in documents, through and by observation or otherwise, together
                          with all summaries, compilations, analyses, and reports created by the Receiving Party
                          from such information or that contains such information. Without limiting the intended
                          generality of the foregoing, Confidential Information shall include the Disclosing Party’s
                          existing or contemplated business, processes and services, techniques, components,
                          sales, markets, costs, profits, research, development, inventions, purchasing, staff,
                          employees, compensation, contractors, suppliers, customers, prospects, marketing,
                          pricing policies, financial information, engineering and all other data. Confidential
                          Information also includes, but is not limited to, all proposals and all information and data
                          furnished by or on behalf of the Disclosing Party or any of its Representatives (as defined
                          below).

                       The term “documents” includes, but is not limited to, writings, drawings, graphs, charts,
                          photographs, tape recordings, computer application files, disc drives, tapes, compact
                          discs, e-mail, electronic data, and other media, and data compilations in whatever form
                          recorded or stored from which information can be obtained and/or translated if
                          necessary, through detection devices, into reasonably usable form and any
                          reproductions thereof.

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                                                      #:4988
                   As used in this Agreement, the term “Representative” means, as to any person, such
                         person’s wholly owned affiliates and their directors, officers, employees, agents and
                         advisers (including, without limitation, investment bankers, accountants and legal
                         counsel). As used in this Agreement, “wholly owned affiliate” shall mean, with respect
                         to any person which (a) controls such person either directly or indirectly; or (b) is
                         controlled directly or indirectly by such person; or (c) is directly or indirectly controlled by
                         a person which directly or indirectly controls such person. “Control” means, for purposes
                         of this definition of “wholly owned affiliate”, the right to exercise a majority of the voting
                         rights (with the exception of voting rights attaching to de minimis shareholdings required
                         by applicable laws to be held by other person(s)) in the appointment of the directors or
                         similar representatives on the governing body of such person or, if there are no such
                         voting rights, the power to appoint the management or otherwise direct the business or
                         determine the policy of such person. As used in this Agreement, the term “person” shall
                         be broadly interpreted to include, without limitation, any organ, ministry, agency or
                         instrumentality of any country or any other governmental, quasi-governmental or political
                         subdivision thereof; any corporation, company, partnership or joint venture; or any other
                         entity or individual. In connection with the evaluation of the Proposed Transaction, the
                         Parties are willing, in accordance with the terms and conditions of this Agreement, to
                         disclose to the each other certain proprietary confidential information relating to the
                         Proposed Transaction and the Area.

                      Subject to the immediately succeeding paragraph, unless otherwise agreed to in writing
                         by the Disclosing Party, the Receiving Party agrees: (a) to keep all Confidential
                         Information confidential and not to directly or indirectly disclose, disseminate, or reveal,
                         and to use its best efforts to prevent the use, dissemination, disclosure, or revelation of,
                         any Confidential Information to any person other than those of its Representatives who
                         are actively and directly participating in the evaluation and negotiation of the Proposed
                         Transaction or who otherwise need to know such Confidential Information for the
                         purpose of the Proposed Transaction and to cause those persons to observe the terms
                         of this Agreement; (b) not to directly or indirectly use Confidential Information for any
                         purpose other than in connection with the evaluation and negotiation of the Proposed
                         Transaction; and (c) not to disclose to any person (other than those of its
                         Representatives who are actively and directly participating in the evaluation and
                         negotiation of the Proposed Transaction or who otherwise need to know such
                         Confidential Information for the purpose of the Proposed Transaction and, in the case of
                         its Representatives, each of whom the Receiving Party will cause to observe the terms
                         of this Agreement as if he or she had been a party hereto) any information about the
                         Proposed Transaction, or the terms or conditions thereof or any facts or circumstances
                         relating thereto or the status thereof, including, without limitation, the fact that
                         Confidential Information has been or will be made available to the Receiving Party or its
                         Representatives or that discussions are taking place with respect to the Proposed
                         Transaction. The Receiving Party will be responsible for any breach of the terms of this
                         Agreement by it or its Representatives.

                      Neither Party will disclose to any person (other than those of its Representatives who
                         are actively and directly participating in the evaluation and negotiation of the Proposed
                         Transaction or who otherwise need to know such Confidential Information for the
                         purpose of the Proposed Transaction and, in the case of its Representatives, each of
                         whom the Party will cause to observe the terms of this Agreement as if he or she had
                         been a party hereto) any information about the Proposed Transaction, or the terms or

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          Case 2:21-cv-02069-DOC-KES        Document 179-5 Filed 09/01/23 Page 99 of 159 Page ID
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                            conditions thereof or any facts or circumstances relating thereto or the status thereof,
                            including, without limitation, the fact that Confidential Information has been or will be
                            made available to the Parties or their Representatives or that discussions are taking
                            place with respect to the Proposed Transaction.

                          Confidential Information does not include, however, information that (a) is or becomes
                            generally available to the public other than as a result of a disclosure, act or omission by
                            the Receiving Party or its Representatives without the Disclosing Party’s consent, (b) is
                            or becomes available to the Receiving Party on a non-confidential basis from a person
                            other than the Disclosing Party or its Representatives and other than as a result of a
                            breach of an obligation of confidentiality to the Disclosing Party or its Representatives or
                            a breach of any other obligation of such person not to transmit the information to the
                            Receiving Party or any of its Representatives or (c) was known or developed
                            independently by the Receiving Party without reference to any Confidential Information,
                            or was available to the Receiving Party prior to its disclosure by the Disclosing Party.
                            The onus of establishing that any of the above exceptions applies shall in each case be
                            on the Receiving Party.

                          In the event that the Receiving Party is requested pursuant to, or required by, applicable
                            law, regulation, rule or order of a duly empowered court, tribunal or governmental entity
                            having jurisdiction over it or its Representatives, to disclose any Confidential Information,
                            the Receiving Party shall, to the extent permitted by such applicable law, regulation, rule
                            or order, provide the Disclosing Party with prompt notice of such request or requirement
                            in order to enable the Disclosing Party to seek an appropriate protective order or other
                            remedy, to consult with the Receiving Party with respect to the Disclosing Party’s taking
                            steps to resist or narrow the scope of such request or requirement, or to waive
                            compliance, in whole or in part, with the terms of this Agreement. The Receiving Party
                            will furnish only the portion of the Confidential Information that is legally required and
                            will, at the Disclosing Party’s sole expense, use its reasonable best efforts to ensure that
                            all Confidential Information and other information that is so disclosed will be accorded
                            confidential treatment by the Receiving Party thereof.

                          This Agreement does not obligate the Disclosing Party to produce any Confidential
                            Information whatsoever. In the event that the Disclosing Party chooses to produce
                            Confidential Information, this Agreement does not create a continuing obligation to
                            produce any other information or to update any information that has been previously
                            produced.

                          All documents containing, and all other tangible and intangible forms of, Confidential
                            Information, including copies thereof, shall belong to and remain the sole property of the
                            Disclosing Party. The Receiving Party shall acquire no proprietary interest in or right to
                            any of the Confidential Information absent written agreement by the Disclosing Party.

                        The Receiving Party shall not take or make copies of the Confidential Information or any
                            of it, or authorize any other person to do so, other than for the purpose of supplying the
                            Confidential Information to any of its Representatives to whom disclosure of such
                            information is permitted under the terms of this Agreement. If at any time the Disclosing
                            Party, in its sole discretion, so requests in writing, then the Receiving Party will promptly
                            deliver to the Disclosing Party all original Confidential Information with respect to the
                            relevant Proposed Transaction and promptly deliver to the Disclosing Party or destroy
                            all copies, reproductions, summaries, compilations, analyses and extracts thereof or
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                          based thereon in the possession of the Receiving Party or its Representatives, whether
                          maintained in written form or in any electronic or computerized format, and certify to the
                          Disclosing Party that all such originals have been delivered to the Disclosing Party and
                          that such destruction has occurred.

                      The Receiving Party acknowledges that neither the Disclosing Party nor any of its
                          Representatives makes any express or implied representation or warranty as to the
                          accuracy or completeness of any Confidential Information, and the Receiving Party
                          agrees that none

                          of such persons shall have any liability to the Receiving Party or any of its
                          Representatives relating to or arising from its or their use of any Confidential
                          Information or for any errors therein or omissions therefrom. The Receiving Party also
                          agrees that it is not entitled to rely on the accuracy or completeness of any Confidential
                          Information. The Receiving Party acknowledges and agrees that the Confidential
                          Information is being provided solely for the purpose of assisting its independent
                          evaluation and analysis of the Disclosing Party and its assets.

                      NOTWITHSTANDING ANY OTHER PROVISION OF THIS AGREEMENT OR LAW TO
                          THE CONTRARY, NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR ANY
                          INDIRECT, EXEMPLARY, PUNITIVE, INCIDENTAL OR CONSEQUENTIAL
                          DAMAGES, INCLUDING LOSS OF PROFITS DUE TO BUSINESS INTERRUPTIONS
                          OR OTHERWISE, IN CONNECTION WITH THIS AGREEMENT.

                      In the event of litigation relating to this Agreement, the non-prevailing Party as finally
                          determined by a court of competent jurisdiction shall be liable and pay to the other Party
                          all reasonable costs incurred by such other Party in connection therewith, including, but
                          not limited to, reasonable attorneys’ fees incurred by such other Party in connection with
                          such litigation, including any appeal therefrom.

                      It is further understood and agreed that no failure or delay by the Disclosing Party in
                          exercising or pursuing any right, power, privilege or remedy hereunder shall operate as
                          a waiver thereof, nor shall any single or partial exercise or pursuit thereof preclude any
                          other or further exercise or pursuit thereof or the exercise or pursuit of any other right,
                          power, privilege or remedy hereunder.

                      This Agreement shall be effective as of the date on the signature page (the “Effective
                          Date”) and expire on the fifth anniversary thereof. This Agreement may not be amended,
                          modified, superseded or cancelled, nor may any of the terms, covenants,
                          representations, warranties or conditions hereof be waived, except by a written
                          instrument executed by the parties.

                       If any provision of this Agreement becomes or is found to be illegal or unenforceable for
                          any reason, such clause or provision must first be modified to the extent necessary to
                          make this Agreement legal and enforceable and then if necessary, second, severed from
                          the remainder of the Agreement to allow the remainder of the Agreement to remain in
                          full force and effect.

                       This Agreement shall be governed by, and construed in accordance with, the laws of the
                          State of California.


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         Case 2:21-cv-02069-DOC-KES        Document 179-5 Filed 09/01/23 Page 101 of 159 Page ID
                                                   #:4991
                  IN WITNESS WHEREOF, the Parties have executed this Agreement effective the date stated
                  above.
                  
                  DEVELOPER:                               PARTNER:
                  Business Name: McCandless Group, LLC     Business Name: Thomas Drew

                  Address: 127 Bowery, Irvine, CA 92612       Address: 565 Broome St #S9C, New York, NY
                                                              10013
                  Telephone Number: 919-791-6441
                                                              Telephone Number: 616-460-8405
                  Email Address: nick@nickmccandless.com
                                                              Email Address: TDrew@1and1life.com




                  By: _________________________               By: _________________________
                         Signature                                   Signature

                  Full Name: Nicholas McCandless              Full Name: Thomas Drew
                  Title: CEO/Owner/Founder

                                                                 
                  Date: _________________________             Date: _________________________


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           EXHIBIT – F –
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                                   #:4995
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                                   #:4996




           EXHIBIT – G –
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                                   #:4997



    Just let me know what those dimensions ended up being and I’ll get you
    photos

                                 Just to avoid the issues we had prior, can you have Maria modify the
                                 mobile and desktop PSDs to be exactly how you want them as what she
                                 sent is different from what you are saying

    I should be the same in what I’m saying for mobile

    But yes I’ll have her redo them for desktop to be 4 images

                                   Ok so what she did for mobile is what you want exactly for mobile and
                                   desktop?

    Yes for mobile!

    Desktop I like how she has it off center

    But I want 4 photos so it’s consistent with mobile

    Everything is the same for the PSD except desktop shows 3 instead of 4

                                    Ok just have her redo the desktop to avoid any confusion and we will
                                    design the mobile to match exactly

    Loved “Ok just have her redo the desktop to avoid any confusion and we
    will design the mobile to match exactly ”

                                                 9/7/20, 6:00 PM


    How do you handle leaked content that isn’t hosted in the US?

    “The leaked content is a big thing. How is the legal team going about it
    besides just submitting a DMCA? Because sites like thothub etc that
    aren’t based out of The US don’t have to abide by our copyright laws etc
    so stuff slips through the wall.”

                                Sites based out of the US are definitely more difficult as they don’t
                                operate under US legislation and therefore do not have to abide by the
                                same Copyright laws. Most sites we are still able to get the content taken
                                down from. For those that we can’t and they do not cooperate, we get
                                them removed from all of the search engines so that at least people can’t
                                find the content
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    Loved “Sites based out of the US are definitely more difficult as they
    don’t operate under US legislation and therefore do not have to abide by
    the same Copyright laws. Most sites we are still able to get the content
    taken down from. For those that we can’t and they do not cooperate, we
    get them removed from all of the search engines so that at least people
    can’t find the content ”

    Awesome thank you

                                                     9/7/20, 7:11 PM


    Can we get the watermark added on videos?

                                     That’s something we are currently exploring. You will notice that if you
                                     watch on the computer it displays during videos but when you watch in
                                     full screen or on the phone it goes away because it pops into the native
                                     player which is out of our control. We are exploring options with this
                                     though

    Hmm

    I would suggest just adding watermarks to the video but I guess we’d
    have to make 1000’s manually

    Obviously not feasible

                                                     9/7/20, 8:56 PM


                                      Yea that would not work. We found a creative way of pulling it off with
                                      photos without having to generate multiple versions, but with video its
                                      different as it pops into a native player but we have a potential solution
                                      we are exploring

                                                     9/8/20, 1:25 PM


    Hey Nick!

    Update on shop now with Juju’s site? Also for juju, please add a twitter
    link

    http://twitter.com/theliljuju

                                    The Shop Now has been on her internal site, it will be added to landing
                                    page this week along with the bottom section of landing page once we
                                    have that updated PSD and the images. Maria should be able to tell you
                                    those aspect ratios since we will be building it exactly how she designs it

                                                                                       Adding her Twitter now

                                                                                             Twitter added
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                                   #:4999




           EXHIBIT – H –
Case 2:21-cv-02069-DOC-KES Document 179-5 Filed 09/01/23 Page 110 of 159 Page ID
                                   #:5000

  From: Nick McCandless nick@nickmccandless.com
Subject: McCandless Group Model Platform Technology Stack
   Date: May 23, 2020 at 10:01 PM
     To: Corey Lewis corey@1and1life.com

       Attached is the overview of our technology stack. Let me know of any questions.




         McCandless
        Group…ck.pdf



                                        Nick McCandless                                  919-791-6441

                                        Owner/Founder                                    nick@nickmccandless.com

                                        McCandless Group                                 www.nickmccandless.com
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            EXHIBIT – I –
Case 2:21-cv-02069-DOC-KES Document 179-5 Filed 09/01/23 Page 112 of 159 Page ID
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                                   #:5003
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                                   #:5004
Case 2:21-cv-02069-DOC-KES Document 179-5 Filed 09/01/23 Page 115 of 159 Page ID
                                   #:5005




            EXHIBIT – J –
Case 2:21-cv-02069-DOC-KES Document 179-5 Filed 09/01/23 Page 116 of 159 Page ID
                                   #:5006
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                                               6/23/20, 12:21 PM


    How you holding up my man

                                   Hanging in there, just thankful I have business booming to occupy my
                                   mind

                                                                                  How are thing with you?

                                                                                             And the team

    I’m solid. We ready to rock, but wanted to give you some space. Willing
    to push back our launch a week or two

    Lmk if/when we can chat with that accountant too. Wasn’t trying to stress
    you out

    But ready to onboard you for the personal and company branding, as
    well as get going with Coy

    Major move happens in the next week or so

    Happened* in the last week or so*

                                I appreciate it, I’m back to the grind so I don’t want to delay anything. On
                                the accountant there is a delay there as I’m actually in the process of
                                onboarding an assistant for my accountant since he’s being overworked
                                right now but I’ll have that locked down here in the next week or so

    Awesome

                                         Awesome! Let’s hop on the phone later today and catch up over
                                         everything

                                                                                 But I’m ready to rock

    Yeah, even if it’s not your guy specifically, and have someone in mind,
    that would be great. I’m not trying to have my a newbie learn these
    books

    Would be great to have someone who gets this business model

                                Yea definitely not! I got you covered, just give me until next week and I’ll
                                have that lined up for you
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    Yeah, especially with us also having to pay you accordingly, and all that
    good stuff. Just want to make sure it’s all good and smooth sailing since
    we are in bed together fully.

    Got a few hoes lined up for the DBA (still trying to solidify that name) too.
    I’ve been playing around with a bunch, but nothing that has allowed me
    to have that “ah” moment that I usually like to have with my team

    So we are still at the drawing board with it. We spend about a n hour a
    day on it lol

                                 Yep completely get it! Accounting is critical and getting it right from the
                                 beginning is essential

                                 Names are hard but you know it when you know it, we will get that nailed
                                 down

                                 Have you spoken with Rachel recently?

    I haven’t spoken to Ray, I was letting her team go through that due
    dilligence process. But we can follow up.

    I’ll follow up personally to see what her concerns may be

    As you said

    I feel like she’s down

    But the Partners

    Probably like fuck it

                                    Yep, I feel Rachel will need to be the one to light a fire under their ass
                                    about it because it’s costing her a fortune each month

    Yeah they don’t give af

    Lol

    She’s the image

    And the girls

                                   I’m launching Patreon models left and right and the results are insane,
                                   just hate seeing her lose out

    It’s like bro

    Protect your image
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                                        WEBSITE DEVELOPMENT AGREEMENT

                  THIS AGREEMENT (“Agreement”) is entered into as of the date on the signature page
                  (the “Effective Date”) by and between McCandless Group, LLC, with its principal place
                  of business located at 88 SW 7th St #2203, Miami, FL 33130 (the (“Developer”) and Coy
                  Collective, INC with a principal place of business located at 40 Harrison St Apt 36 L,
                  New York, NY 10013 (the “Customer” or “you” or “your”) each individually a “Party” and
                  collectively the “Parties.”

                        WHEREAS, Developer is engaged in the business of website and software
                  development.

                         WHEREAS, Customer wishes to utilize the services of Developer in connection
                  with the development of software identified as the Coy Collective, INC Websites (each
                  individually a “Website” and collectively the “Websites”).

                         NOWTHEREFORE, in consideration of the promises and other good and
                  valuable consideration, the sufficiency and receipt of which are hereby acknowledged,
                  the parties agree as follows:

                  1.    Services. Subject to the terms and conditions of this Agreement, the Customer
                  hereby retains Developer to perform the services set out below (“Services” or “Work”).

                  1.1    General.

                         a.    Developer will perform the services of website development and support
                  of the Websites according to specifications set forth therein.

                        b.     The Websites will be for Customer’s brand that allows the Customer to
                  provide exclusive content to the Customer’s audience through the Websites.

                        c.      Customer will cooperate with Developer’s reasonable requests for
                  information, content, and data necessary for the completion of the Websites.

                         d.     Customer will cover any and all costs affiliated with the Websites including,
                  but not limited to servers/hosting services, email services, upkeep expenses, and any
                  other fees required to build and operate the Websites.

                  1.2    Services to be provided:

                        a.      The Developer will provide the Customer with Websites that provide
                  support for exclusive content of the Customer including both photos and videos that are
                  made exclusive to those subscribed by paying for a subscription. Subscribers will also
                  have the ability to chat with the Customer through the Websites.
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                          b.     The design and interface of the Websites will follow the template assigned
                  to it by the Developer.

                        c.     The Customer guarantees that the Developer will be supplied with the
                  Work to be completed.

                        d.    The Websites shall contain a statement substantially similar to “Powered
                  by McCandless Group” and such copyright and trademark notices as the Developer
                  reasonably believes are appropriate.

                         e.      The Developer will be providing the Product “AS-IS” and no custom
                  development will be included under this Agreement excepting that included in the
                  functionalities above. Any maintenance, repair, modification, upgrade or enhancement
                  of the Websites shall be pursuant to a separate mutually acceptable written agreement
                  between the Customer and the Developer.

                         f.     It is understood and agreed that the Customer will use the Websites and
                  its content to promote their exclusive content with the purpose of monetizing the
                  Customer’s fans and shall not be used for any other purposes without written permission
                  from the Developer.

                  2.     Compensation.

                  2.1   In consideration of the Services to be provided by Developer to the Customer
                  hereunder, the Customer shall pay to Developer the following compensation
                  (“Compensation”):

                         a.    Upon execution of this Agreement or another date as mutually agreed to
                  by the Parties, which shall be prior to Developer working on the Customer’s Website,
                  the Customer shall pay to Developer Three Thousand Dollars ($3,000) for each Website
                  assigned to Developer.

                          b.      Upon launch of a Customer’s Website, the Customer shall pay to
                  Developer service fees (collectively the “Monthly Service Fees”) for each Website
                  assigned to Developer. Monthly Service Fees shall be paid no later than on the end of
                  the first (1st) day of each calendar month for the amount owed as a result of the prior
                  months’ activity.

                  2.2    “Monthly Service Fees” shall consist of:

                         a.     Fees based upon the number of users who have access to the content
                  (each individually a “Subscriber” and collectively the “Subscribers”) on each Website
                  based on the following tiers:

                        0 - 20,000 subscribers = $1.80 per Subscriber per month
                         20,001 - 50,000 subscribers = $1.65 per Subscriber per month
                         50,001 - 90,000 subscribers = $1.50 per Subscriber per month

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                      90,001 - 150,000 subscribers = $1.35 per Subscriber per month
                      150,001 subscribers - 200,000 subscribers = $1.20 per Subscriber per month
                      200,001 subscribers and up = $1 per Subscriber per month


                        b.     One Dollar ($1) for each photo and/or video purchased (each individually
                  a “Content Unlock” and collectively the “Content Unlocks”) on each Website.

                  3.     Term and Termination.

                  3.1    Developer or Customer may terminate this Agreement at any time without
                  cause by providing written notice to the other Party no less than thirty (30) days before
                  termination. Upon termination, Developer will retain all ownership in any and all
                  software and services provided to Customer and Developer will terminate the
                  existence of any and all Websites affiliated with the Customer.

                  3.2   If Customer terminates Agreement, the Customer must pay to Developer all
                  Monthly Service Fees owed up to the termination date.

                  4.     Relationship of the Parties. The Developer is and shall remain an
                  independent contractor of the Customer and nothing contained in this Agreement shall
                  be deemed to create an employer/employee, principal/agent, partnership or joint
                  venture relationship between the parties. The Customer shall not provide the
                  Developer with any benefits that the Customer may provide to its employees and shall
                  not be required to withhold income taxes on, or to pay payroll taxes with respect to, the
                  sums to be paid to the Developer hereunder. The Developer agrees that he shall be
                  solely responsible for all excise, self-employment and other taxes relating to the
                  receipt of payments hereunder. As an independent contractor, it is expressly agreed
                  that the Developer operates at his/her own expense and risk. The Developer is not
                  authorized to execute any agreements, make any changes in any agreements, incur or
                  assume any obligations, liabilities or responsibilities, or perform any other act in the
                  name of or on behalf of the Customer. Each party shall have the obligation to
                  supervise, manage, contract, direct, procure, pay, perform or cause to be performed
                  all work and other obligations to be performed by such party pursuant to the terms of
                  this Agreement and shall be liable for the acts or omissions of its or his/her employees
                  and agents in performing its or his/her respective obligations or exercising its or his/her
                  respective rights hereunder.

                  5.     Confidential Information.

                  5.1    Definition of Confidential Information. For the purposes of this Agreement,
                  “Confidential Information” means any information disclosed by either party to the other
                  party, either directly or indirectly, in writing, orally or by inspection of tangible objects
                  which is designated or described by the disclosing party as “Confidential,” “Proprietary”
                  or some similar designation, or which should reasonably be understood by the
                  receiving party, because of the circumstances of disclosure or the nature of the
                  information itself to be confidential or proprietary to the disclosing party. Confidential
                  Information shall include, but not be limited to, the pricing and payment terms

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               contained in this Agreement. Confidential Information may also include information
               disclosed to a receiving party by third parties on behalf of the disclosing party.
               Confidential Information shall not include any information which (i) is publicly known
               through no action or inaction of the receiving party; (ii) was already in the possession
               of the receiving party at the time of disclosure without an obligation of confidentiality,
               direct or indirect, to the disclosing party; (iii) is obtained by the receiving party from an
               independent third party without a breach of such third party’s obligations of
               confidentiality; or (iv) is independently developed by the receiving party without use of
               or reference to materials provided by the disclosing party.

                  5.2     Non-use and Nondisclosure. Each party agrees that it will not use any
                  Confidential Information of the other party for any purpose except for the purpose of
                  this Agreement. Each party agrees that it will not disclose any of the other party’s
                  Confidential Information to anyone except for such party’s own directors, officers,
                  employees, and attorneys who are required to have the information in connection with
                  the purpose of this Agreement (“Representatives”). In the event that a receiving party
                  is required by law to disclose Confidential Information obtained from the disclosing
                  party, the receiving party shall give the disclosing party prompt written notice of such
                  requirement as soon as possible prior to such disclosure and shall provide the
                  disclosing party with assistance in obtaining an order protecting the information from
                  disclosure.

                  5.3    Each party agrees that it shall take reasonable measures to protect the secrecy
                  of and avoid the disclosure and the unauthorized use of the other party’s Confidential
                  Information. Without limiting the foregoing, each party shall take at least those
                  measures that it takes to protect its own most highly confidential information and shall
                  ensure that each of its Representatives who have access to the other party’s
                  Confidential Information has signed a non-use and nondisclosure agreement in
                  content similar to the provisions hereof, prior to any disclosure of Confidential
                  Information to such Representative. Neither party shall make any copies of the other
                  party’s Confidential Information without the disclosing party’s prior written consent.

                  5.4    Term of Confidentiality. The term of this Confidentiality Section shall remain in
                  effect until terminated by either party with written notice to the other party, but such
                  termination shall have no effect on either party’s obligations hereunder with respect to
                  Confidential Information already disclosed. The obligations of each receiving party
                  hereunder as to any Confidential Information shall continue in perpetuity from the date
                  such Confidential Information is disclosed or if applicable until such information is no
                  longer a trade secret of the disclosing party, whichever occurs last, and shall survive
                  termination of this Agreement.

                  6.     Ownership of Intellectual Property.

                  6.1     Except as may be otherwise granted herein, title to and ownership of all
                  intellectual property rights including, without limitation, any patent, trademark,
                  copyright or intellectual or industrial property right (the “Developer Intellectual
                  Property”) relating to the Software shall at all times remain with Developer. Customer
                  expressly acknowledges that it does not have and shall not, by virtue of this

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               Agreement, acquire any title or proprietary rights whatsoever of any kind in or over the
               Software or any improvements, updates, adaptation, modification, research,
               development, derivation, addition, extension, changes, or other Developer Intellectual
               Property related to the Software.

                  6.2    Developer hereby grants to Customer a non-exclusive, non-transferable,
                  royalty-free, worldwide right to use the Software for those purposes intended by this
                  Agreement.

                  6.3     Customer reserves all its respective rights, title, and ownership in its respective
                  intellectual property owned or developed independently of this Agreement, including
                  images, videos, written content and other personal content (“Customer Intellectual
                  Property”).

                  6.4    Developer may use, reproduce and copy Customer Intellectual Property for the
                  purposes of planning, operating, managing, optimizing, implementing and maintaining
                  the Website, subject to the maintenance of confidentiality in accordance with Section 5
                  herein.

                  7.     Customer Content.
                  7.1    All Content on the Website is the sole responsibility of the person who originated
                  such content. All Content transmitted by Customer is at Customer’s own risk and
                  Customer is solely responsible and liable for any damage or loss to resulting therefrom.
                  Developer reserves the right to remove any objectionable Content in their sole
                  discretion.
                  7.2     Customer understands that by providing Content in connection with the Service
                  Customer hereby grants Developer a non-exclusive, worldwide, royalty free, perpetual,
                  irrevocable, sublicensable and transferable right to fully exploit such Content (including
                  all related intellectual property rights) in connection with the Website.
                  8.     Customer Representations.
                  8.1    Customer will use the Websites and its content to promote their exclusive content
                  with the purpose of monetizing the Customer’s followers and shall not be used for any
                  other purposes without written permission from the Developer.
                  8.2   Customer will establish an account for payment processing with the payment
                  processor assigned to Customer by Developer.
                  8.3    Customer will cover any and all costs affiliated with the Websites including, but
                  not limited to servers/hosting services, email services, upkeep expenses, and any other
                  fees required to build and operate the Websites.
                  8.4    Customer will provide Developer with an ADULT MODEL RELEASE: 2257
                  COMPLIANT FORM along with a copy of valid photo identification for each model
                  involved in any capacity of each Website.

                  8.5  Customer warrants and represents that all information as contained in the
                  ADULT MODEL RELEASE: 2257 COMPLIANT FORMS are true and accurate.

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               9.      Indemnity. At all times, Customer shall protect, indemnify, defend and hold the
               Developer, including its affiliates and subsidiaries, officers, directors, shareholders,
               members, employees, agents, representatives, successors and assigns harmless from
               and against any and all penalties, claims, losses, liabilities, damages, charges, costs
               and/or expenses (including, without limitation, attorneys’ fees and court costs) rising out
               of or resulted from or in any way or in any manner connected with or related to any acts
               or omissions or breach of this Agreement, of Customer.

                  10.    Warranty, Disclaimer and Limitation of Liability.

                  10.1 Customer’s use of the Service is at their sole risk. The Service and the
                  associated materials and content are provided on an “as is” and “as available” basis.
                  Except as otherwise expressly provided in this Agreement, Developer, its parent,
                  subsidiary and other affiliated companies, and their respective officers, directors,
                  employees, agents and other representatives (collectively, the “Developer Parties”),
                  expressly disclaim all warranties of any kind, whether express or implied, including, but
                  not limited to the implied warranties of merchantability, fitness for a purpose and non-
                  infringement. Without limiting the generality of the foregoing, the Developer Parties
                  make no warranty that: (i) the Service will meet your requirements; (ii) the Service will
                  be uninterrupted, timely, secure, or error-free; and/or (iii) any errors in the Service will
                  be corrected.
                  10.2 The Developer Parties shall not under any circumstances be liable for any
                  damages of any kind arising out of, in connection with or relating to the use of or
                  inability to use the Service, including any liability: (i) as a publisher of information; (ii)
                  for any incorrect or inaccurate information or any ‘bug’ of the Service; (iii) for any
                  unauthorized access to or disclosure of your transmissions or data; (iv) for statements
                  or conduct of any third party on or via the Service; (v) for any disputes between users
                  of the Service or between a User of the Service and you; (vi) for lost data; (vii) cost of
                  procurement of substitute products or services; (viii) for any technical malfunction that
                  may arise from problems with computer systems, software code, servers, computer
                  equipment, mobile phones, software, infrastructure connections or any combination
                  thereof. or (ix) for any other matter relating to the Service or any third party. This is a
                  comprehensive limitation of liability that applies to all damages of any kind, including
                  any direct, indirect, special, incidental or consequential damages, whether based on
                  breach of contract, breach of warranty, tort (including negligence), product liability or
                  otherwise, even if an individual advises the Developer Parties of the possibility of such
                  damages. The limitations of liability set forth herein are fundamental elements of the
                  basis of the bargain between the Developer and you. The products, information and
                  services offered on and through the Service would not be provided to you without such
                  limitations.
                  10.3 Notwithstanding the foregoing, the sole and entire maximum liability of the
                  Developer Parties for any reason, and your sole and exclusive remedy for any cause
                  or claim whatsoever, shall be limited to any amounts paid by you to Developer during
                  the three (3) months prior to the date any cause of action may have occurred.
                  10.4 You agree that regardless of any statute or law to the contrary, any claim you
                  may bring must be filed within three (3) months after the cause of action accrues or it
                  will be permanently barred.
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               10.5 Some jurisdictions do not allow the disclaimer of certain warranties or the
               limitation or exclusion of liability for certain types of damages. accordingly, some of the
               above disclaimers and limitations may not apply to you.
                  10.6 If you are a California resident, you shall and hereby do waive California Civil
                  Code Section 1542, which says: “A general release does not extend to claims which
                  the creditor does not know or suspect to exist in his favor at the time of executing the
                  release, which, if known by him must have materially affected his settlement with the
                  debtor.”
                  11.     Force Majeure. A party will be not be considered in breach or in default because
                  of and will not be liable to the other party for, any delay or failure to perform its obligations
                  under this agreement by reason of fire, earthquake, flood, explosion, strike, riot, war,
                  terrorism, or similar event beyond that party’s reasonable control (each a “Force Majeure
                  Event”). However, if a Force Majeure Event occurs, the affected party shall, as soon as
                  practicable:

                        a.    Notify the other party of the Force Majeure Event and its impact on
                  performance under this agreement; and

                        b.    Use reasonable efforts to resolve any issues resulting from the Force
                  Majeure Event and perform its obligations under this agreement.

                  12.    Governing Law, Jurisdiction. If any dispute arises under the terms of this
                  Agreement, the parties agree to select a mutually agreeable neutral third party to help
                  them mediate such. If mediation is unsuccessful, the Parties agree that any dispute
                  shall be in all respects construed in accordance with and governed by the laws of the
                  State of Florida without regard to conflict of law principles. Costs and fees (including
                  attorneys’ fees) associated with the mediation or arbitration shall be responsibility of
                  each individual party.


                  13.    Miscellaneous.

                         a.    Entire Agreement; Modification. This Agreement sets forth the entire
                  agreement and understanding of the parties hereto concerning the subject matter
                  hereof, and, except as otherwise specifically provided below, supersedes all prior and
                  contemporaneous correspondence, agreements, arrangements and understandings,
                  both oral and written, between the parties hereto concerning the subject matter hereof.
                  No modification hereof shall be binding upon the parties hereto except by written
                  instrument duly executed by such parties or their duly authorized representatives.

                          b.     Invalidity of Particular Provisions. If any term or provision of this
                  Agreement or the application thereof to any person or circumstance shall to any extent
                  be invalid or unenforceable, the other terms of this Agreement, or the application of such
                  terms or provisions to persons or circumstances other than those as to which it is held
                  invalid or unenforceable, shall not be affected thereby, and each term and provision of
                  this Agreement shall be valid and be enforced to the fullest extent permitted by law.



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                      c.     Counterparts. This Agreement may be executed in any number of
               counterparts, including electronically, each of which shall be deemed an original but all
               of which together shall constitute one and the same instrument.

                         d.    This Agreement may be delivered by email, and email copies of executed
                  signature pages shall be binding as originals.

                         e.     Interpretation. The paragraph headings of this Agreement are inserted for
                  convenience only and shall not constitute a part of this Agreement in construing or
                  interpreting any provision hereof. Whenever the context requires, words used in the
                  singular shall be construed to include the plural and vice versa, and pronouns of any
                  gender shall be deemed to include and designate the masculine, feminine or neuter
                  gender.

                          f.     Notices. All notices given under this Agreement must be in writing. A notice
                  is effective upon receipt and shall be sent via one of the following methods: delivery in
                  person, overnight courier service, certified or registered mail, postage prepaid, return
                  receipt requested, or by any other means agreed to by the Parties, such as email.

                         g.    This agreement will become effective when all parties have signed it. The
                  date this agreement is signed by the last party to sign it (as indicated by the date
                  associated with that party’s signature) will be deemed the Execution Date of this
                  agreement.

                          h.    Each party shall use all reasonable efforts to take, or cause to be taken,
                  all actions necessary or desirable to consummate and make effective the transactions
                  this agreement contemplates or to evidence or carry out the intent and purposes of this
                  agreement.


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               IN WITNESS WHEREOF, the parties have executed this Agreement effective the date
               stated above.
               
              DEVELOPER:                                    CUSTOMER:
              Business Name: McCandless Group, LLC          Business Name: Coy Collective, INC

                  Address: 88 SW 7th St #2203, Miami, FL Address: 40 Harrison St Apt 36 L, New
                  33130                                  York, NY 10013

                  Telephone Number: 919-791-6441           Telephone Number: 805-835-8052

                  Email Address: nick@nickmccandless.com   Email Address: jessica@thecoyco.com




                  By: _________________________            By: _________________________
                        Signature                                Signature

                  Full Name: Nicholas McCandless           Full Name: Jessica Marie Bartlett
                  Title: CEO/Owner/Founder                 Title: CEO, President

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                  Date: _________________________          Date: _________________________


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           EXHIBIT – O –
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           EXHIBIT – P –
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  November 19, 2020

  VIA EMAIL

  McCandless Group, LLC
  c/o Mr. Jason Moskowitz
  Partner, Strategic Relations
  jason@jasland.com
  jason@themccandlessgroup.com


         Re:     Demand & Request for Mediation


  Mr. Moskowitz:

         We represent The Coy Collective, Inc. (“CC”) in connection with its burgeoning dispute

  with McCandless Group, LLC (“MG”). It is our understanding that MG is refusing to turn over

  the following items related to CC’s clients: i) domains, ii) payment processing account, and iii)

  subscriber database. If this is not the case and MG is now prepared to turn over those items, please

  arrange to have this done immediately and disregard our request for mediation.

          In the event you are continuing to maintain that those items belong to MG, we hereby

  requests, in accordance with Section 12 of the Website Development Agreement dated August 6,

  2020 (the “Agreement”), that a mediation be conducted without delay. We attach to this letter a

  list of Florida mediators; please let us know no later than close of business Monday November

  23rd which mediator is acceptable to MG.

         The position MG takes in its letter dated November 3rd is curious to say the least. As much

  as the Agreement grants MG rights to the software and code powering the websites (which is not

  disputed), it does not in any way suggest the URLs, the subscriber data or the payment processing

  account belong to MG. Quite the contrary, Section 8.2 of the Agreement expressly provides for


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  
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  the payment processing account to be with CC. The Agreement also does not purport to make the

  subscribers of CC’s clients unknown to CC’s clients, which would be an absurd result. Under that

  position, CC would have turned over, to an independent contractor charged to develop and support

  websites, and without any express language to that effect, the sole ownership of the identity of its

  subscribers. The fact that MG unilaterally secured the domains, the payment processing account,

  and terms with subscribers, all in its own name instead of on behalf of CC, does not make its

  position less egregious.

         For the avoidance of doubt, MG’s proposed transition plan to shut down the websites on

  December 31st, 2020 is not the source of the present dispute, CC is not asking for the websites.

         A mediator should be helpful in bringing the parties to a quick resolution by pointing to

  the business advantages of a settlement over litigation and perhaps tampering MG’s exuberant and

  expansionist contractual views. But in the event no resolution is achieved, CC will pursue legal

  action for the damages caused by the wrongful withholding.

         CC reserves all rights, and this letter is without prejudice to any other rights, remedies or

  claims that it may have.

                                                                 Sincerely,




                                                                 Marc Duquette, Esq.
                                                                 Bailey Duquette P.C.
                                                                 Tel: +1 212.484.1946 Ext. 201
                                                                 Email: marc@baileyduquette.com


  Enclosures


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  List of Proposed Florida Mediators


  Francis Carter (https://www.flcarterpa.com/)

  Pamela Perry (https://pamperrylaw.com/service/mediation-arbitration/)

  Gill Freeman (https://www.jamsadr.com/freeman/)

  Sarah Clasby Engel (https://engel-firm.com/about-us/)

  Brian Spector (http://bspector.com/)

  Hon. Norman Gerstein (https://www.floridamediators.org/norman-gerstein)

  John Salmon (https://www.floridamediators.org/john-salmon)

  Rosa Rodriguez (https://sd-adr.com/attorney/rosa-i-rodriguez/)

  Manuel R. Morales (http://www.moraleslaw.com/)

  Diana Santa Maria (https://www.santamarialaw.net/diana-santa-maria-certified-by-florida-
  supreme-court-as-civil-me.html)

  Peggy Gehl (https://peggygehl.com/)

  Tom Lynch (https://www.tomlynchmediation.com/)

  Bill Hearon (http://www.hearonmediation.com/)




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           EXHIBIT – Q –
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                                   #:5035




                                                                      VIA EMAIL
                                   December 2, 2020


     Marc Duquette, Esq.
     Bailey Duquette P.C.
     104 Charlton Street, Suite 1W
     New York, NY 10014
     marc@baileyduquette.com

           Re:    Demand & Request for Mediation


     Mr. Duquette:
     We represent McCandless Group, LLC (“MG”) in connection with the
     discussion and possible dispute regarding The Coy Collective, Inc. (“CC”).

     MG disagrees with your characterization of its obligations and any assertions
     that it is not fully performing its obligations under the Agreement that have
     been made in your November 19, 2020 letter.

     Thus, we agree that a mediation may be necessary. However, there is no
     requirement that the mediator or mediation be in Florida. Our preference
     would be to both narrow and broaden the scope to JAMS mediators, an
     organization we trust, in California, New York, and Florida. Please let us
     know if this is acceptable to you, in which case, we propose an exchange of
     possible JAMS mediators by December 7. 2020.


     Sincerely,




     Tim Lamoureux, Esq.

     Gerard Fox Law P.C.
     (310) 441-0500
     tlamoureux@gerardfoxlaw.com
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                                   #:5036




           EXHIBIT – R –
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                                   #:5037




                                                                     VIA EMAIL
                                   January 5, 2021


     Jessica M. Bartlett
     550 N Figueroa St. #5027
     Los Angeles, CA 90012
     jbartlett@berkeley.edu

           Re:       Notice of Breach – Demand for Mediation


     Ms. Bartlett:

           I represent McCandless Group, LLC (“MG”) and am writing to you
     regarding your breach of the agreement with MG that you signed on October
     27, 2019 (“Agreement”). You agreed to a term of 12 months in the Agreement
     which would renew for another 12 months unless you provided written notice
     terminating the Agreement to MG with at least 90 days’ notice. You never
     gave such notice, so the Agreement renewed on October 27, 2020. Afterward,
     on December 19, 2020, you first communicated an intent to terminate the
     Agreement.

            On December 19, 2020 you texted MG stating that you intended to
     terminate the Agreement. Your statement in the text that you and MG, in
     discussion with Nick McCandless, agreed to terminate the Agreement on
     September 7, 2020 is, however, inaccurate. As Mr. McCandless’ email on
     August 8, 2020 indicated, the additional deal that was discussed was for Coy
     Collective Inc. (“Coy”) to be able to have business dealings with you and
     Cristina Dospassos in addition to the “current and active agreements” MG
     had with you. Afterward, business continued as normal and, in fact, ramped
     up for several months. It is thus clear that there was never any
     communication of your intent to terminate your Agreement, and no written
     emails or text subsequent to Mr. McCandless’ August 8, 2020 email indicate
     otherwise.

            Thus, to the extent you are choosing to terminate the Agreement, it is
     during a new 12-month term that commenced on October 27, 2020. Per
     Section 3.2 of the Agreement, any termination prior to October 27, 2021
     constitutes a material breach of the Agreement. As such, MG is entitled to
     actual damages resulting from this breach.
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            In addition, the Agreement sets forth several obligations in relation to
     the website for which MG has been providing you services (“MG Website”).
     Among them, you are obligated to include a link to the MG Website on your
     social media but have ceased doing so, and it is our understanding that you
     have also entirely ceased promoting the MG Website for at least one week.
     You have five days to cure this breach or you will also incur additional
     liquidated damages of, at minimum, $15,000, which can further increase
     through fact discovery and as your breaches multiply.

             You are in breach of the Agreement and MG is entitled to recovery on
     all of its damages arising from this breach. Per Section 12 of the Agreement,
     you have agreed to mediate any disputes with MG. By January 8, 2021,
     please let me know if you agree to a JAMS mediation to be conducted by the
     Los Angeles JAMS office, at such time I will circulate a list of JAMS
     mediators for your consideration and agreement. If you fail to expeditiously
     cooperate in a mediation, this can be considered another breach of the
     Agreement leading to greater damages, and MG will seek maximum recovery
     of any and all damages arising from all of your breaches of the Agreement.


     Sincerely,




     Tim Lamoureux, Esq.

     Gerard Fox Law P.C.
     (310) 441-0500
     tlamoureux@gerardfoxlaw.com
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            EXHIBIT – S –
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                                                     
  February2,2021
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  
  VIAEʉMAIL
  GerardFoxLawP.C.
  Attn:TimLamoureux,Esq.(tlamoureux@gerardfoxlaw.com)

        Re:    JessicaBartlett&CristinaDospassos/ResponsetoDemandforMediation

  DearMr.Lamoureux:

          WewriteinresponsetoyourlettersonbehalfofMcCandlessGroup,LLC(“MG”)dated
  January5,2021andJanuary7,2021,respectively(the“Letters”),requestingmediationwith
  our clients, Jessica Bartlett (“Ms. Bartlett”) and Cristina Dospassos (“Ms. Dospassos” and
  together our “Clients”). Both Letters containseveral incorrect factual assertions which
  ourClientswouldliketoaddressinturn.

          First, it is not accurate that the agreements our Clients signed with MG
  (“Agreement(s)”) autoʉrenewed. Quite the opposite, their nonʉrenewal was agreed in
  connectionwithaplannedwebsitemigration.Infact,additionalconsiderationwasagreedand
  paid by our Clients to MG in connection with the migration and nonʉrenewal as more fully
  describedbelow.

          BetweenApril2020andAugust6,2020,ourClientsworkedcloselywithMGtohashout
  thedetailsforacollaborativelaunchoftheirnewmodelwebsiteplatformundertheumbrella
  ofTheCoyCollectiveInc.(“Coy”),withMGcreatingandoperatingthewebsites.Itwasobvious
  thatthismigrationcamewiththenonʉrenewaloftheAgreements.

          Nevertheless,twodaysaftertheAugust6,2020agreementbetweenMGandCoywas
  achieved and the migration was now set to move forward,  Ms. Bartlett, on behalf of Ms.
  Dospassosandherself,discussedwithNickMcCandless(“Mr.McCandless”)howtohandlethe
  Agreementsinthecontextofthemigration.ThenonʉrenewaloftheAgreementswasagreedin
  exchange for guaranteed monthly payments for the months remaining on the term
  (“GuaranteedPayments”).WithouttheGuaranteedPayments,themonthlypaymentsunder
  theAgreementswereotherwisesettodropsignificantlybecauseofthemigration.Thegoalwas
  toachieveanorderlyendtotheAgreementsbyensuringthatMGwouldbemadewholeandnot
  loseanyrevenueforthefinalmonthsleftonourClients’Agreements.

          TheGuaranteedPaymentsforeachAgreementwerenegotiatedbyMs.Bartlettviatext
  messageandfinallyagreedwithMr.McCandlessonAugust9,2020.OurClientshaveshownus
  notes,invoicesandtextmessagessupportingthesameanddescribingtheagreeduponterms
  forthefinalmonthsoftheAgreements.ThatourClients’AgreementswithMGwouldexpireat
  theendofthetermwasclearandunambiguousbothduringthediscussionsaboutthemigration
  toCoyandtheiragreementtomakeGuaranteedPaymentsforthefewremainingmonthsunder
  theAgreements.


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                                                                                         
                                                      
          Thepartiesactedaccordingly;Ms.BartlettwasinvoicedbyandpaidMGGuaranteed
  Paymentsequalto$3,761.84/monthfortheremainingmonthsofthetermofherAgreement.
  Ms. Dospassos was similarly invoiced by and paid MG Guaranteed Payments equal to
  $3,563.59/monthfortheremainingmonthsonthetermofherAgreement.OurClientshaveMG
  invoicesandpaymentstubsconfirmingtheabove.What’smore,Ms.Bartlett’snegotiationswith
  Mr. McCandless regarding the appropriate Guaranteed Payment for each Agreement were
  cordial and in good faith ʉ given that they each had full intentions of continuing their
  relationshipsthroughCoy.Atonepointinthetextmessagediscussions,Mr.McCandlesseven
  specificallymentionsthatheis“onboardwith”thearrangementwithourClientsbut“wouldn’t
  beonboardwiththisbeingareoccurringsituationwithothermodelsIhaveonboard.”(SeeMr.
  McCandless’textmessagesdatedAugust9,2020).

          Second,yourdescriptionofMG’semaildatedSeptember7,2020(the“Email”)inyour
  Letter to Ms. Bartlett is inaccurate and misleading. We note here that your Letter makes
  referencetoanemailfromMGtoMs.BartlettdatedAugust8,2020whichourClientswere
  unabletolocatesowehaveassumedyoumeanttoreferenceMG’sEmailtoMs.Bartlettdated
  September7,2020instead.1TheEmailprovidesinrelevantpartasfollows:

           “Thepurposeofthisemailistoconfirmandreceiveacknowledgmentfromyouthatas
          ofSeptember1,2020anyandallfinancialresponsibilitiesthatMcCandlessGroup,LLC
          committedtoinourWebsiteDevelopmentAgreementarenolongertheresponsibilityof
          McCandless Group, LLC and all communication and obligations related to payments
          affiliatedwithJessicaMBartlett.comarenowhandledexclusivelybetweenyourselfand
          Coy Collective INC. Please confirm that the following information in this email
          notificationisaccurateandacknowledgethatyouarewaivinganyandalldistribution
          obligationsfromMcCandlessGroup,LLC.”

  ItisunambiguousfromtheabovelanguagethatthepurposeoftheEmailwasforMGtoconfirm
  to Ms. Bartlett that, in connection with the website migration, any and all financial
  responsibilities and obligations of MG pursuant to its Agreement with Ms. Bartlett were to
  become the responsibility of Coy, including all communications and obligations related to
  paymentsaffiliatedwithMs.Bartlett’swebsite.MG’spositioninitsLettertoMs.Bartlettthat
  “theadditionaldealthatwasdiscussed[priortotheEmail]wasfor[Coy]tobeabletohave
  business dealings with [Ms. Bartlett] and Cristina Dospassos in addition to the ‘current and
  activeagreements’[with]MG”doesnotholdwaterinlightoftheclearlanguageintheEmail.

           ItisunrealisticthatMGwouldhavesoughtconfirmationfromMs.Bartlettthatanyand
  allfinancialresponsibilitiesandobligationsofMGpursuanttoitsAgreementwithMs.Bartlett
  weretobecometheresponsibilityofCoyhadMGnotagreedthattheAgreementsweretoexpire,
  and the websites migrated to the Coy platform. Why else would MG have transferred all
  financial responsibility and obligations related to payments if MG was meant to continue
  operatingMs.Bartlett’swebsitepursuanttotheAgreementforanotheryearlongterm?Italso
  doesnotmakeanybusinesssenseforMs.Bartletttomaintaintwocompetingactivewebsites
                                   
  1
   IfanemaildatedAugust7,2020doesexist,pleaseforwardtous.Weseethatyoureferenceaquote
  “currentandactiveagreements”inyourLettertoMs.Bartlettbutwedonotseethatlanguageinthe
  Sept.7themail.


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  offeringexclusivecontenttohercustomers.TheonlyreasonableexplanationforMGandMs.
  Bartlett’sconductfollowingtheirAugust8thagreementnottorenewisthatthenonʉrenewal
  hadbeenagreedtobyMG.

        Wefeelthatthepositiontakenbyyourclientisinbadfaith;tryingtorenegeonhis
  agreement after having accepted guaranteed payments is particularly ignoble and we look
  forwardtoexposinghisbehaviortoamediatororarbitratorshouldweadvancedownthispath.

          IndependentlyofanydisputeovertherenewalornonʉrenewaloftheAgreements,our
  Clientsherebyexpresslyrevoketherighttousetheirnameandlikenessgrantedpursuantto
  the2257Releases,whichrightisrevocable.Failuretoimmediatelyceaseanddesistfromusing
  suchrightmayresultinMG’sinfringementofthefederalLanhamAct(15U.S.Code§1125)and
  exposeyourclienttostatutorydamages,trebledamages(whenappropriate)andattorney’sfees
  andcosts.YourclientmayalsoviolateCalifornia’sstatutoryRightofPublicityLaw(California
  CivilCode§3344)prohibitingtheunauthorizeduseormisappropriationofanotherperson’s
  name or likeness exposing your client toactual damages, profits attributable to the
  unauthorizeduse,punitivedamages(whenappropriate),andattorney’sfeesandcosts.IfMG
  failstoceaseuseofthenameandlikenessofourClients,wewilltakesuchactionasisnecessary
  toprotecttheirrights.    

        OurClientsreserveallrights,andthisletteriswithoutprejudicetoanyotherrights,
  remediesorclaimsthattheymayhave.

  YoursSincerely,
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  
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  AlexandreSauveplane,Esq.
  BaileyDuquetteP.C.
  Tel:+1212.484.1946
  Email:alex@baileyduquette.com
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           EXHIBIT – T –
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           EXHIBIT – U –
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  From: Jason Moskowitz jason@themccandlessgroup.com
Subject: Follow-up on Transition
   Date: November 16, 2020 at 11:33 AM
     To: jessica@thecoyco.com, nick@nickmccandless.com

      Jessica:

      Following up on our correspondence on November 9, 2020.

      As part of your elected transition, and referencing the letter attached that detailed the transition process, this is a courtesy reminder
      that the following sites will have their payment processing changed to OFF on November 30, 2020, and then taken down on
      December 31, 2020.

           Juju - http://SincerelyJuju.com
           Sabina Kontor - http://SabinaKontor.com
           Alexa Collins - http://TheAlexaCollins.com
           Vanessa Christine - http://VanessaChristineX.com
           Alissa Hale - http://AshayEHale.com
           Alexis Clark - http://TheAlexisClark.com
           Natalia Garibotto - http://NataGata.com

      If you'd like to speak to me about this email or the attached letter, I can send you my availability. Thank you.

      --




      Partner, Strategic Relations
      McCandless Group
              jason@themccandlessgroup.com

              www.themccandlessgroup.com




        CoyCo Letter
           2.pdf
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  Dear Jessica:

  Thank you for your kind text on 11/3/20 in response to our McCandless Group (“MG”) text plus
  letter sent two days earlier on 11/1/20.

  As you mentioned in your text, your response to our letter is that you are “taking the option in
  which sites are terminated on Dec. 31st.”

  This letter is to follow up on your decision by detailing out the transition process while noting
  some decisions to be made, ramifications of obligations and the future. If you believe anything,
  I have detailed below is inaccurate, please reply with comments and I will further review and
  respond. I am genuinely trying to stay factual and transparent as I understand everything.

  I must point out here clearly, this letter at this time is not an offer, a promise or a guarantee to
  do anything, and we reserve the right to change our minds about any item below. This entire
  letter at this time is for discussion purposes only and not a guarantee of anything of any kind.
  We will, however, be sending a final letter at some point in the future or perhaps in its place,
  some new agreement.

  Our thinking as to transition and the future is as follows and considers previously mutually
  agreed upon and fully executed agreements.

  1) Coy Collective client’s websites that have URL’s that are owned by MG:
        a) Payment processing on these websites will be changed to OFF on November 30, 2020.
        b) These websites will remain available for customer use through December 31, 2020 on
            which date they will be taken down.
                a. This is done to fulfill all customer’s 30-day billing cycles who have unfulfilled
                    paid subscriptions on November 30, 2020.
        c) As usual, the disposition of all chargebacks/refunds/voids on the site will be
            accounted for.
        d) List of the sites that have URL’s that are owned by MG
                      (i) Juju - http://SincerelyJuju.com
                      (ii) Sabina Kontor - http://SabinaKontor.com
                      (iii) Alexa Collins - http://TheAlexaCollins.com
                      (iv) Vanessa Christine - http://VanessaChristineX.com
                      (v) Alissa Hale - http://AshayEHale.com
                      (vi) Macy Mariano - http://MacyMariano.com
                      (vii) Dasha Mart – http://Dasha-Mart.com
        e) MG intends to retain ownership of these URLs, preserve MG’s rights and fully realize
        the value that MG has created, but is open to the idea of negotiating an alternate
        disposition of these valuable assets.

  2) Coy Collective client’s websites that have URL’s that are owned by the clients themselves:
        a) Payment processing on these websites will be changed to OFF on November 30, 2020.
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        b) These websites will remain available for customer use through December 31, 2020 on
           which date they will be taken down.
                a. This is done to fulfill all customer’s 30-day billing cycles who have unfulfilled
                    paid subscriptions on November 30, 2020.
        c) As usual, the disposition of all chargebacks/refunds/voids on the site will be
           accounted for.
        d) List of the sites that have URL’s that are owned by the clients themselves:
                     (i) Alexis Clark - http://TheAlexisClark.com
                     (ii) Natalia Garibotto - http://NataGata.com

  3) Coy Collective client’s websites that have not yet been launched and will not be launched,
  with URL’s are owned by MG:
                      (i) Mikayla Demaiter - https://mikaylademaiter.com
                      (ii) Meghan Mariie - https://loMeghanMariie.com
        a) MG intends to retain ownership of these URLs, preserve MG’s rights and fully realize
        the value that MG has created, but is open to the idea of negotiating an alternate
        disposition of these valuable assets.

   4) MG client’s websites that have URL’s that are owned by MG:
         a) The following sites have agreements in place with MG and the URLs are owned by
             MG. The expiration dates are noted below. MG has heavily invested into these
             agreements and will continue to honor these agreements and all of its terms, until
             they terminate.
                          i. Jessica Bartlett - http://JessicaMBartlett.com (expires 10/26/2021)
                         ii. Kiki Passo (aka “Cristina D Dospassos“) - http://KikiPasso.com (expires
                             12/25/2021)
         b) As a courtesy and with good reason, MG suggests reviewing those agreements and
             the obligations that are immortalized there; especially Sections 3.2, Sections 3.3,
             Section 5, Section 8 and the 2257 Compliant Form.
         c) MG intends to retain ownership of these URLs, preserve MG’s rights and fully realize
             the value that MG has created, but is open to the idea of negotiating an alternate
             disposition of these valuable assets.

  5) Mutual Confidentiality Agreements and Confidentiality Agreements
      a) MG has in its possession individual mutually agreed upon and fully executed Mutual
          Confidentiality Agreements (aka NDAs) with Jessica Bartlett, Corey Lewis, Joshua
          Cherry, Robert Hankins, and Thomas Drew; as well a Confidentiality Agreements
          (Section 5 of the Website Development Agreement) with Coy Collective, Jessica
          Bartlett and Kiki Passo; and encourages their immediate review.
      b) It is important to note that it is MG’s right to enforce these agreements in the past,
          now and in the future, and it is reasonable to assume that MG has every intention to
          do so should it come to our attention that any part of these agreements has been
          violated or breached. It is especially advisable to have your legal counsel review these
          agreements as you have noted your intention to possibly position yourself as a
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           competitor to MG and use your confidential knowledge of MG’s business and business
           practices as a foundation for your business. Further, it would be advisable to seek
           legal advice before using any of our confidential information in your business plans.
           Breaches of these agreements will be taken very seriously as they can be highly
           damaging to MG, and one intent of these mutually agreed upon and fully executed
           agreements was clearly to protect MG’s business from his type of breach and activity.

  6) Customer Privacy
         a) In your text dated 11/5/20, you mentioned “…to begin coordinating transferring
            ccBill information of our clients and their subscribers..” MG cannot give anyone
            customer names or customer data. All customers signed up to become MG
            customers as disclosed in the Terms of Service, Privacy Policy, etc. They did not
            agree to become customers of another third party so we can’t transfer confidential
            customer information outside of MG and we are bound to each customer to protect
            their privacy. In addition, all customer credit card information is exclusively retained
            by credit card company.
         b) Additionally, in your text dated 11/5/20, you introduce a concept “so as to transfer
            liability.” MG is uncertain as to what this means, and we are skeptical that this is
            legally possible as it relates to our legal, professional, moral and ethical obligations
            to protect our customer’s privacy.

  7) Commissions on Referrals
        a) At this time, MG will continue to offer you 5% commission on referrals for clients
           who fully execute pre-approved MG Website Development Agreements.


  Jessica, again MG would like to stress that this is very much NOT personal, we think only the
  best of you as we do all of our relationships. MG has created a highly valuable business and as
  would be expected, intends to do everything possible to enforce our rights, uphold our
  agreement’s obligations, realize value it creates and prevent the unauthorized use of our trade
  practices, confidential information and so on.

  I am available to walk through this point-by-point. Let’s schedule something if you like to do
  that.



  Kindly yours,

  Jason Moskowitz
  Partner – McCandless Group

  Cc: Nick McCandless/McCandless Group
